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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 RICHARD FRANCIS, WESLEY
 WON, DENNIS SPEERLY, JOSEPH                         CLASS ACTION
 SIERCHIO, MICHAEL PLAFKER,
 HOWARD YOUNG, and DARRIN                            CASE NO.
 DEGRAND, individually and on
 behalf of others similarly situated,

       Plaintiffs,

             v.

 GENERAL MOTORS, LLC,

       Defendant.

_______________________________________________________________/

    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiffs Richard Francis, Wesley Won, Dennis Speerly, Joseph Sierchio,

Michael Plafker, Howard Young, and Darrin Degrand, individually and on behalf

of all others similarly situated, hereby file suit against the Defendant listed above

and allege the following:

                                 INTRODUCTION

      1.     Plaintiffs and class members purchased or leased new and used

vehicles manufactured by General Motors, LLC (“GM”) between 2015 and 2019.

Each of these vehicles is equipped with one of two models of eight-speed




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automatic transmissions, both manufactured by GM: the GM 8L90 or the 8L45. 1

      2.       These transmissions have a common defect. Drivers attempting to

accelerate or decelerate their cars feel a hesitation, followed by a significant shake,

shudder, jerk, clunk, or “hard shift” when the vehicle’s automatic transmission

changes gears. Said shudder, shake and hesitation also occurs while the subject

vehicles are accelerating in a single gear, and not actively shifting gears. Drivers

have reported that the shift is sometimes so violent, they feel as though they have

been hit by another vehicle. In fact, one purchaser reported that the transmission

shifted from “reverse” to “drive” so harshly that he almost drove through his

garage door.

      3.       The problem (hereafter the “Transmission Defect”) does not merely

result in an uncomfortable driving condition. The shuddering, shaking, jerking and

hesitation is related to internal issues within the transmission and/or torque

converter causing undue friction upon surfaces, and causing hydraulic systems and

gears to not function properly, resulting in metal shavings being circulated

throughout the transmission. This damage to the transmission and torque converter

imposes escalating repairs to consumers, including flushing the transmission of




      1
        Vehicles equipped with one of these transmissions (the “Subject Vehicles”)
include the 2015-2019 Chevrolet Silverado; the 2017-2019 Chevrolet Colorado;
the 2015-2019 Chevrolet Corvette; the 2016-2019 Chevrolet Camaro; the 2015-
2017 Cadillac Escalade and Escalade ESV; the 2016-2019 Cadillac ATS, ATS-V,
CTS, CT6, and CTS-V; the 2015-2019 GMC Sierra, Yukon, and Yukon XL; the 2015-
2017 Yukon Denali and Denali XL; and the 2017-2019 GMC Canyon.
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metal shavings caused by the defective transmission operation. Based upon GM’s

inability to resolve the Defect so far, it appears all consumers will need

replacement of transmission components such as the torque converter, valve body,

or the entire transmission. As such, the Transmission Defect endangers the drivers

and passengers of the vehicles and diminishes the value of the vehicles. It creates

uncertainty for drivers of the Subject Vehicles, who cannot rely on their vehicles to

operate consistently, reliably, or safely. GM’s deliberate non-disclosure of these

defects artificially inflated the purchase and lease price for these vehicles.

      4.     GM has known about the Transmission Defect for years, since right

after introduction of the transmission. Since 2015, GM has issued thirteen versions

of a “technical service bulletin,” or “TSB,” related to this shifting issue alone. A

TSB is an alert to dealerships, informing them of a potential problem in a GM

product and advising them how to address the problem when customers complain

to GM dealerships. The TSBs related to the transmission issue have advised

dealerships to, among other things:

      •       Complete the “clutch drive learn procedure;”

      •       Replace the valve body;

      •      Flush the cooler lines and cooler;

      •      Flush the transmission

      •       Remove debris from and clean the transmission pan;

      •       Replace the transmission filter;

      •      replace the transmission fluid; and

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      •      Replace the entire transmission

      •      Nevertheless, GM has never notified consumers of the Transmission
             Defect.
      5.     While the problem is known, the cause of the Defect and the solution

to the problem are not. None of GM’s suggested repairs have remedied the

problem. Some recent repair orders found by Plaintiffs’ counsel note that “GM is

aware of concern and a release date of late January/February to correct issue.” One

Plaintiff’s repair order noted, “Advised customer GM is aware of concern and a

release date of late January/February to correct issue.” Another noted, “no repair

available until quarter 1 in 2019.” But current purchasers and lessees should not

have to cross their fingers for a fix, and prospective customers should be told of

GM’s awareness of a defect. Presently, it appears GM is merely biding time until

its warranty expires.

      6.     GM has not disclosed the Transmission Defect to purchasers or

lessees like Plaintiffs at the point of purchase or through advertisements. Such

disclosures would have impacted purchase decisions and purchase price. GM’s

omissions artificially inflated the market price for the Subject Vehicles equipped

with defective transmissions. GM could have and should have warned consumers

about the Transmission Defect through advertisements, on its website, and through

communications from its authorized dealers. However, GM failed to do so.

      7.     The GM 8L90 and GM 8L45 transmission defect is a latent defect that

presents a safety risk to riders, causes damage to components over time, and makes

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vehicles equipped with the defective transmissions dangerous and uncomfortable

to ride. It makes the Subject Vehicles unfit for their ordinary use of providing safe

and reliable transportation. As such, the Transmission Defect presents a breach of

the implied warranty of merchantability.

      8.     GM had knowledge of the Transmission Defect before it sold cars

equipped with GM 8L90 or GM 8L45 transmissions. Moreover, GM’s warranties

were adhesive, and did not permit negotiation, so Plaintiffs had no opportunity to

bargain. As such, GM’s durational and mileage limitations on its express warranty

and the implied warranty of merchantability are unconscionable.

      9.     Had GM been truthful with Plaintiffs that the Subject Transmissions

were unfixable, and that as a result, GM was not able to repair the Subject

Transmissions effectively under warranty, Plaintiffs would not have purchased

their vehicles, or would not have paid as much as they did.

      10.    Additionally, because GM concealed and failed to disclose the

Transmission Defect, and because GM affirmatively warranted and misrepresented

that the Subject Transmissions and their components were free of defects,

Plaintiffs did not and could not have discovered the Transmission Defect earlier

through reasonable diligence. As a result, Plaintiffs have suffered and continue to

suffer substantial damages and should be entitled to the benefits of all tolling and

estoppel doctrines.

      11.    GM’s decision to sell the Subject Vehicles without disclosing its


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specialized knowledge of the Transmission Defect violates state consumer

protection laws.

        12.   Plaintiffs seek six statewide classes, on behalf of purchasers and

lessees of GM vehicles equipped with GM 8L90 or GM 8L45 transmissions

purchased within the applicable statute of limitations of the respective state. These

states include California, Illinois, Michigan, New Jersey, New York, and Texas.

Plaintiffs bring claims under each state’s consumer protection statutes, and express

and implied warranty law of their respective states of purchase or lease.

                                      PARTIES

        13.   Plaintiff Richard Francis is a citizen and resident of Michigan, over

the age of eighteen years. Plaintiff Francis bought a new 2017 Yukon Denali,

manufactured by GM and containing an 8L90 transmission, in August 2017.

        14.   Plaintiff Wesley Won is a citizen and resident of California, over the

age of eighteen years. Plaintiff purchased a 2016 Cadillac Escalade, manufactured

by GM and containing an 8L90 transmission, on May 11, 2017.

        15.   Plaintiff Dennis Speerly is a citizen and resident of Illinois, over the

age of eighteen years. Plaintiff Speerly purchased a new 2017 GMC Canyon,

manufactured by GM and containing an 8L45 transmission, on or about April 14,

2017.

        16.   Plaintiff Joseph Sierchio is a citizen and resident of New Jersey, over

the age of eighteen years. Plaintiff Sierchio bought a new 2016 Chevrolet Camaro,


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manufactured by GM and containing an 8L90 transmission, in July 2016.

        17.   Plaintiff Michael Plafker is a citizen and resident of New York, over

the age of eighteen years. Plaintiff Plafker leased a 2017 GMC Sierra Denali,

manufactured by GM and containing an 8L90 transmission, on or about September

8, 2017.

        18.   Plaintiff Howard Young is a citizen and resident of Texas, over the

age of eighteen years. Plaintiff Young bought a new 2015 Chevrolet Corvette,

manufactured by GM and containing an 8L90 transmission, on or about May 12,

2015.

        19.   Plaintiff Darrin Degrand is a citizen and resident of Texas, over the

age of eighteen years. Plaintiff Degrand bought a 2018 GMC Canyon,

manufactured by GM and containing an 8L45 transmission, in July 2018.

        20.   Defendant General Motors LLC, (“GM”) is a citizen and resident of

Michigan which regularly does business in Florida and all over the United States.

GM is headquartered in Delaware, and its principal office is located at 300

Renaissance Center, Detroit, Michigan 48265.

                          JURISDICTION AND VENUE

        21.   This Court has jurisdiction for this case pursuant to 28 U.S.C. §

1332(d), as it is a class action for damages that exceed $5,000,000, exclusive of

interest and costs. Because named Plaintiffs are residents of six different states

(California, Illinois, Michigan, New Jersey, New York, and Texas), many


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members of the classes are from states different from Defendant, who is

incorporated in Delaware and headquartered in Michigan.

       22.       This Court has personal jurisdiction over Defendant because GM is

headquartered in Michigan.

       23.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to these claims occurred in

this district.

                              FACTUAL ALLEGATIONS

       A.        GM and the GM 8L45 and GM 8L90 Eight-Speed Automatic
                 Transmissions
       24.       GM is a designer, manufacturer, marketer, and distributer of cars,

trucks, and other passenger vehicles, as well as vehicle parts. GM is the largest

American automobile manufacturer and is the tenth largest United States

corporation by revenue. GM sells vehicles under a variety of brand names,

including Chevrolet, Buick, GMC, and Cadillac. GM sold approximately 9.6

million vehicles in 2017, earning $145.588 billion in revenue. GM has thousands

of official dealerships across the United States, all of which are under GM’s

control.

       25.       In late 2014, GM began advertising a new feature for certain models

of vehicle: the eight-speed automatic transmission.

       26.       A vehicle’s transmission is an integral component of a vehicle’s

driveline that channels power from the vehicle’s engine to its wheels, resulting in

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vehicle movement. It also controls the power distribution of the engine and

multiplies the torque of the vehicle’s engine across a range of gears. Without a

properly functioning transmission, a vehicle’s horsepower and torque cannot be

used effectively and efficiently to accelerate and stop the vehicle. Moreover,

without a properly functioning transmission, a vehicle cannot efficiently convert a

vehicle’s power into both forward and rearward movement. A transmission aids

the driver’s ability to adjust the vehicle’s speed and distributes power from the

engine to different sets of gears inside the transmission, each of which corresponds

to a different range of speed. For instance, a driver who wanted his vehicle to move

slowly would likely need the transmission to channel the engine’s power to a lower

set of gears within the transmission corresponding to a lower speed—such as first

or second gear. A driver who wanted her vehicle to move faster would need the

transmission to deliver more power from the engine to a set of gears corresponding

to a higher speed, such as fifth or sixth gear. Automatic transmissions, like the 8-

speed transmissions at issue in this case, are intended (and designed) to

automatically “change gears,” and/or determine which transmission gear receives

power from the engine, without input from the driver. Thus, by automatically

shifting gears, an automatic transmission allows a vehicle to accelerate, decelerate,

and remain at constant speeds depending upon throttle input from the driver, which

keeps the vehicle’s speed consistent and controllable.

      27.    The automatic transmissions at issue also use a torque converter,


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which is a fluid-filled coupler between the engine and transmission. The torque

converter multiplies the engine’s torque depending upon the rotational speed of the

engine. In theory, the more sets of gears that are available to receive power from

the engine, the more precisely and efficiently a transmission can convert engine

power into usable vehicle speed.

      28.    Prior to 2015, GM-brand vehicles were equipped with 6-speed

transmissions. When GM announced that it would begin manufacturing 8-speed

transmissions and installing them in GM-brand vehicles, GM advertised that the 8-

speed transmissions would be able to distribute power more efficiently than their

6-speed predecessors.

      29.    GM further touted the eight-speed transmissions’ reduced weight,

which, combined with the more efficient power distribution, promised to deliver

better fuel mileage for drivers.2 The eight-speed transmissions came in two models:

the GM 8L90 and the GM 8L45.

      30.    GM also marketed the transmissions to consumers. For example, in an

August 20, 2014 press release, GM wrote about the 8-speed transmissions:

             “GM’s new 8L90 eight-speed automatic represents a rare win-
             win-win scenario for customers,” said Kavoos Kaveh, global
             chief engineer for eight-speed automatic transmissions. “It
             offers greater performance and efficiency, while weighing less
             than the transmission it replaces. That’s a rare accomplishment
             in the industry today – and one for which GM has been

      2
        https://gmserviceinsights.com/2015/03/shifting-into-higher-gear-next-
generation-8-speed-automatic-transmissions-rolling-out-more-extensively-with-
2015-gm-model-year/.
                                         10
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                awarded more than two dozen patents.”

***

                “The Corvette’s new eight-speed automatic delivers the comfort
                and drivability of a true automatic transmission, as well as
                lightning-fast shifts and the manual control that enhance the
                performance-driving experience,” said Kaveh. “It was designed
                to enhance the driving experience, with performance on par
                with dual-clutch designs, but without sacrificing refinement.”

***
                Smaller steps between gears, compared to the previous six-
                speed automatic (see chart above), keep the engine within the
                sweet spot of the rpm band, making the most of its horsepower
                and torque to optimize performance and efficiency.
                Additionally, a torque converter design with a turbine damper
                complements performance with excellent refinement at low
                engine speeds.

      31.       Similarly, in a March 9, 2015 press release,3 GM wrote:

                The new-generation transmission delivers an optimal blend of
                efficiency, power, performance, durability and NVH
                suppression that’s never been offered, one uniquely suited to
                the engines and vehicles with which it will be paired and the
                demands of 21st-century drivers and advanced automotive
                engineering.
      The March 9, 2015 press release also showed an image of the 8L90

      transmission:




      3
          Id.
                                           11
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      32.   GM viewed the eight-speed automatic transmission as a selling point

to many consumers, as it promised more efficient power distribution and

manipulability.

      33.   In a July 27, 2017 press release, GM advertised that the 8L90

transmission had the following features:

      •     Increased efficiency, up to five percent, over the previous 6-speed
            model

      •     A lighter design that fits in the same physical space as a 6-speed

      •     Integral, die-cast aluminum bell housing for reduced NVH

      •     Rated turbine torque capacity of 1000 Nm (738 lb·ft)

      •     VFS control components to monitor clutch pressures with optimum
            accuracy, producing fast and precise shifts

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      •     Five clutch design that uses three at a time, leaving only two open
            clutches in each gear state

      •     A microcontroller that executes instructions at a rate of 120 million
            per second and wide-open-throttle upshifts up to eight-hundredths of a
            second quicker than those of the dual-clutch transmission offered in
            the Porsche 911.4

      34.   GM manufactured and sold several different models of cars and trucks

which came equipped with either the 8L90 or 8L45. These include: the 2015-2019

Chevrolet Silverado; the 2017-2019 Chevrolet Colorado; the 2015-2019 Chevrolet

Corvette; the 2016-2019 Chevrolet Camaro; the 2015-2019 Cadillac Escalade and

Escalade ESV; the 2016-2019 Cadillac ATS, ATS-V, CTS, CT6, and CTS-V; the

2015-2019 GMC Sierra, Yukon, and Yukon XL, and Yukon Denali XL; and the

2017-2019 GMC Canyon. GM has sold hundreds of thousands of these vehicles

throughout the United States.

      B.    Vehicles Equipped with 8L45 or 8L90 Transmissions Came With
            a GM Warranty
      35.   Each of the affected vehicles were and/or are covered by GM’s

Warranty (the “Warranty”), which GM provides directly to the consumer. Each

affected vehicle also came with a warranty booklet, explaining the terms of the

Warranty. The warranty booklet stated in pertinent parts:

            New Vehicle Limited Warranty

            Bumper-to-Bumper (Includes Tires).
            Coverage is for the first 3 years or 36,000 miles, whichever comes
            first.

      4
       https://gmserviceinsights.com/2017/07/gms-8l90-transmission-makes-
news-again-as-companys-first-8-speed-reman/
                                        13
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            What Is Covered
            Warranty Applies
            This warranty is for [GM] vehicles registered in the United States and
            normally operated in the United States, and is provided to the original
            and any subsequent owners of the vehicle during the warranty period.

            Repairs Covered
            The warranty covers repairs to correct any vehicle defect, not slight
            noise, vibrations, or other normal characteristics of the vehicle due to
            materials or workmanship occurring during the warranty period.
            Needed repairs will be performed using new, remanufactured, or
            refurbished parts.

            No Charge
            Warranty repairs, including towing, parts, and labor, will be made at
            no charge.

            Obtaining Repairs
            To obtain warranty repairs, take the vehicle to a Chevrolet dealer
            facility within the warranty period and request the needed repairs.
            Reasonable time must be allowed for the dealer to perform necessary
            repairs.

            Warranty Period
            The warranty period for all coverages begins on the date the vehicle is
            first delivered or put in use and ends at the expiration of the coverage
            period. Bumper-to-Bumper Coverage The complete vehicle is covered
            for 3 years or 36,000 miles, whichever comes first, except for other
            coverages listed here under “What Is Covered” and those items listed
            under “What Is Not Covered” later in this section.

            ***
            Powertrain Component Warranty Coverage.
            Coverage is provided for 5 years or 60,000 miles, whichever comes
            first.

            ***
            Transmission/Transaxle Coverage includes: All internally
            lubricated parts, case, torque converter, mounts, seals, and gaskets as
            well as any electrical components internal to the transmission/
            transaxle. Also covered are any actuators directly connected to the

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             transmission (slave cylinder, etc.). Exclusions: Excluded from the
             powertrain coverage are transmission cooling lines, hoses, radiator,
             sensors, wiring, and electrical connectors. Also excluded are the
             clutch and pressure plate as well as any Transmission Control Module
             and/or module programming.

             ***
             Other Terms: This warranty gives you specific legal rights and you
             may also have other rights which vary from state to state. GM does
             not authorize any person to create for it any other obligation or
             liability in connection with these vehicles. Any implied warranty of
             merchantability or fitness for a particular purpose applicable to this
             vehicle is limited in duration to the duration of this written warranty.
             Performance of repairs and needed adjustments is the exclusive
             remedy under this written warranty or any implied warranty. GM shall
             not be liable for incidental or consequential damages, such as, but not
             limited to, lost wages or vehicle rental expenses, resulting from breach
             of this written warranty. 5

      36.    These warranties and representations were and are material to

Plaintiffs, as they would not have purchased their vehicles, or would not have paid

as much as they did, if their transmissions were not covered by a full warranty.

      C.     GM 8L90 and GM 8L45 Eight-Speed Automatic Transmissions
             Suffer from a Common Defect that Causes Unsafe Driving
             Conditions and Damage to the Transmissions.

      37.    The Subject Vehicles have a Transmission Defect that endangers the

drivers and passengers of the vehicles that use them. Drivers attempting to

accelerate or decelerate their cars encounter a hesitation, followed by a significant

shake, shudder, jerk, clunk, or “hard shift” when the automatic transmission


      5
         See, e.g.,
https://www.chevrolet.com/content/dam/chevrolet/na/us/english/index/owners/war
ranty/02-pdfs/2018-chevrolet-limited-warranty-and-owner-assistance-
information.pdf, at 2, 3, 5, and 13.
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changes the vehicles’ gears.

      38.     Drivers have reported that the shift is sometimes so violent, they feel

as though they have been hit by another vehicle. Many drivers have reported that,

when they try to accelerate into traffic, their vehicles hesitate and then abruptly

jerk into gear, creating a traffic safety hazard. Other drivers have reported that the

transmission shifts gears so hard that it slams the car forward, leading drivers to

believe they have been rear-ended. At least one consumer has complained that the

transmission shifted from “reverse” to “drive” so harshly that he almost drove

through his garage door.

      39.      In addition to creating dangerous uncertainty for drivers, the hard-

shifting defect in the eight-speed transmissions wears away at the components of

the transmissions, wearing them out prematurely.

      D.      GM Was Aware of the Transmission Defect Through Extensive
              Customer Complaints on the National Highway Traffic Safety
              Administration Website

      40.     Besides whatever internal testing GM likely conducted, GM must

have learned of the Transmission Defect through customer complaints. These

include extensive complaints on the National Highway Traffic Safety

Administration (“NHTSA”) website.

      41.     NHTSA is the federal agency responsible for ensuring safe roadways

and enforcing federal motor vehicle safety standards.6 Consumers may file vehicle


      6
          https://www.nhtsa.gov/about-nhtsa, last accessed November 30, 2018.
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safety-related complaints through the NHTSA website, where they are logged and

published. They may be sorted by make, model, and year of vehicle. Upon

information and belief, GM and/or GM personnel would review NHTSA’s website

for complaints.

      42.     A search for “2015 Chevrolet Silverado” on the NHTSA website

yields a number of complaints from consumers experiencing the transmission

defect.7 For instance:

      A consumer in West Frankfort, IL wrote on November 20, 2015:

      TRANSMISSION CANNOT FIND GEARS WHEN COASTING OR
      SLOWING DOWN AND THEN HITTING ACCELERATOR. VERY
      DANGEROUS WHEN IT HESITATES FOR SECONDS BEFORE
      FINDING THE RIGHT GEAR AND GOING, OR IT STAYS IN TOO
      HIGH OF A GEAR INSTEAD OF DOWNSHIFTING TO ACCELERATE
      AND RATTLES. HAPPENS EVERY TIME I DRIVE THE TRUCK, AND
      MANY OTHER PEOPLE HAVE THE SAME ISSUE. GM DOESN'T
      CARE!

      43.     A search for “2017 Chevrolet Camaro” on the NHTSA website yields

a number of complaints from consumers experiencing the transmission defect.8 For

instance:

            a) A consumer in Ocala, FL wrote on November 1, 2018:

      MY CAR HAS BEEN HAVING A LOT OF VIBRATIONS,
      SPUTTERING, RUMBLING WHILE DRIVING. ESPECIALLY WHEN

      7

https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SILVERADO%2525202500/P
U%25252FCC/4WD#complaints, last accessed March 16, 2019.
      8

https://www.nhtsa.gov/vehicle/2017/CHEVROLET/CAMARO/2%252520DR/RW
D#complaints, last accessed March 16, 2019.
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      SPEEDING UP. IT HAPPENS WHILE IN CRUISE CONTROL ALSO. I
      TOOK IT TO BE SERVICED AND THEY SAID IT WAS THE TORQUE
      CONVERTER. THEY FLUSHED THE SYSTEM AND SAID IT SHOULD
      CLEAR UP AFTER 200 MILES WITH THE NEW FLUID THEY
      REPLACED. I TOOK IT BACK BECAUSE IT HAS BEEN OVER 500
      MILES AND IS STILL HAPPENING. I WAS TOLD ALL THEY CAN DO
      IS REPLACE THE FLUID AGAIN FOR NOW UNTIL THEY FIX THE
      PROBLEM. WHY ARE THEY NOT ABLE TO REPLACE THE TORQUE
      CONVERTER NOW BEFORE IT CAUSES MORE INTENSIVE
      DAMAGE? I AM AFRAID AS IT GETS WORSE I WILL BE BROKEN
      DOWN ON THE SIDE OF THE ROAD WITH A CAR THAT IS IN
      WORSE REPAIR THAN IT SHOULD BE.

            b) A consumer in Halton City, TX wrote on February 2, 2019:

      HARD SHIFTS BETWEEN 1ST & 2ND GEAR VIBRATION BETWEEN
      1500 & 1800 RPM. THIS CAR HAS ACTIVE FUEL MANAGEMENT
      VIBRATION SEEMS TO HAPPEN WORSE WHEN IN 4 CYLINDER
      MODE. GM IS AWARE OF THE ISSUE AND KEEPS PROMISING A
      FIX WHICH HAS YET TO BE RELEASED. BLAME IT ON FLUID IN
      TRANSMISSION.

      44.     A search for “2017 Yukon Denali” on the NHTSA website yields

complaints from consumers experiencing the transmission defect.9 For instance:

            a) A consumer in Newport Coast, CA wrote on September 22, 2018:

      SHUDDER UNDER LIGHT, CONSTANT ACCELERATION AT 35MPH
      TO 55MPH, RPM UNDER 1,500. UPHILL GRADE IT IS
      ACCENTUATED. SHUDDER OCCURS FOR 1 SECOND ACROSS
      WHOLE VEHICLE, REOCCURS EVERY FEW SECONDS AT A
      CONSTANT INTERVAL. SEEMS TO BE SAME ISSUE WITH ALL
      8L90 TRANSMISSIONS FROM GM/CHEVY/CADI.

      45.     A search for “2016 Cadillac Escalade” on the NHTSA website yields



      9

https://www.nhtsa.gov/vehicle/2017/GMC/YUKON%252520DENALI/SUV/RWD
, last accessed April 1, 2019.
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a number of complaints from consumers experiencing the transmission defect.10

For instance:

           a) A consumer in Milford, CT wrote on June 27, 2016:

      VEHICLE EXHIBITS A CONSTANT VIBRATION AT SPEEDS
      BETWEEN 35 MPH AND 75 MPH. VIBRATION IS NOT ROAD
      RELATED, IT IS A CONSTANT, STEADY VIBRATION REGARDLESS
      OF ROAD CONDITIONS, BEST DESCRIBED AS IF THE VEHICLE
      WAS DRIVING OVER CORDUROY. THERE IS ALSO A STEADY
      "BUFFETING" NOISE COMING FROM THE CABIN OF THE VEHICLE
      AT SPEEDS BETWEEN 55 MPH AND 70MPH.

      VEHICLE WAS BROUGHT TO INDEPENDENT TIRE SHOP (BY ME)
      TO HAVE WHEELS AND TIRES ROAD FORCE BALANCED. REPORT
      WAS PROVIDED, ALL IN SPEC AND VIBRATION IS STILL
      PRESENT.

      CURRENTLY, THERE IS A "OPEN TICKET" ON THE VEHICLE AT
      THE CADILLAC DEALERSHIP AWAITING A "GM ENGINEER" TO
      VERIFY THE VIBRATION. AS A RESULT, I DO NOT HAVE A COPY
      OF THE LATEST INVOICE VERIFYING THE SERVICE VISIT. THE
      VEHICLE CURRENTLY HAS 2000 MILES ON IT, THE VIBRATIONS
      WERE PRESENT SINE NEW AND SEEM TO BE GETTING WORSE.

           b) A consumer in Laredo, TX wrote on February 25, 2017:

      THE GEARS SHIFT ABRUPTLY. WHEN TAKING OFF THE GEARS
      WILL SHIFT HARD THAT IT FEELS AS IF SOMETHING HEAVY IS
      DROPPING IN THE ENGINE. TOOK VEHICLE TO DEALERSHIP
      THREE TIMES WITH SAME PROBLEM. TOMORROW WILL BE
      FOURTH TIME WITH SAME ABRUPT SHIFTING PROBLEM FOR A
      TOTAL OF 4 TIMES. AFTER DEALERSHIP TRIES TO FIX IT IT
      OPERATES WELL FOR ABOUT TWO TO THREE MONTHS AND
      THEN THE PROBLEM STARTS AGAIN. ALSO, THE VEHICLE HAS
      LOST ALL POWER TWICE NOW, BATTERY DEAD, DEAD, DEAD.
      WHEN ATTEMPTING TO TURN ON THE LIGHTS BLINK QUICKLY,

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https://www.nhtsa.gov/vehicle/2017/GMC/YUKON%252520DENALI/SUV/RWD
, last accessed April 1, 2019.
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      MULTIPLE TIMES BUT IT DOES NOT HAVE ENOUGH POWER TO
      TURN ON. THIS ESCALADE WAS 94,000 TOTAL AND IT IS NOT A
      QUALITY VEHICLE! ROUGH RIDE WITH TRANSMISSION KICKING
      IN SO ROUGH!!!

         c) A consumer in Lexington, MA wrote on September 13, 2018:

      KNOWN TRANSMISSION ISSUE WHICH CAUSES THE VEHICLE TO
      TO BUCK AND SURGE WHEN YOU PULL UP TO TA STOP LIGHT,
      STOP SIGN, ON HIGHWAY,OR IN TRAFFIC. EXTREMELY
      DANGEROUS. DEALER STATES THAT THIS IS A KNOWN
      CONDITION WITH NO FIX. DEALER DESCRIBES ISSUES WITH
      SOME VEHICLES WORSE THAN OTHERS. GENERAL MANAGER OF
      COLONIAL CADILLAC WOBURN MA 781-935-7000 (BRET
      DOUGLAS) STATES THAT HE HAS DRIVEN VEHICLES WITH SAME
      ISSUES AND THERE IS NO FIX. IT WAS CORRECTED IN THE 2018
      VEHICLES BY GOING TO A 10 SPEED TRANSMISSION. OUR
      VEHICLE HAS BEEN IN FOR SERVICE MULTIPLE TIMES WITHOUT
      ANY SUCCESS IN A REPAIR. WE ARE AFRAID TO DRIVE THE
      VEHICLE AS IT SURGES FORWARD AT ANY GIVEN MOMENT.
      CONTACTED CADILLAC AND THEY ARE UNWILLING TO DO
      ANYTHING TO HELP WITH THE ISSUE. THEY ARE CONCERNED
      THAT THIS WOULD START THEM DOWN A SLIPPERY SLOPE FOR
      REPAIRING MANY 2015,16,17'S THAT HAVE THE SAME ISSUE.
      YOU ONLY HAVE TO GOOGLE THE ISSUE TO SEE THAT MANY
      GM OWNERS ARE DEALING WITH THIS SAME ISSUE. THIS IS A
      SAFETY ISSUE THAT NEEDS TO HAVE A RESOLUTION. SOMEONE
      IS GOING TO GET SERIOUSLY INJURED OR KILLED AS A RESULT
      OF THIS TRANSMISSION ISSUE. PLEASE HELP

         d) A consumer in Jasper, GA wrote on September 27, 2018:

      FROM A COLD START, WHEN TAKING VEHICLE OUT OF PARK
      AND INTO REVERSE, THE VEHICLE WILL SURGE OR BUCK PRIOR
      TO APPLYING THE ACCELERATOR. THIS HAPPENS ABOUT 1/4 OF
      THE DRIVE TIME. WHEN ACCELERATING AND THEN COMING TO
      A COAST AND BACK TO ACCELERATING, THE CAR WILL BUCK.
      THIS HAPPENS ABOUT 1/2 OF THE DRIVE TIME. FROM A COLD
      START, REVERSE, DRIVE, ACCELERATE TO 1MPH WHILE
      MAKING A SLIGHT RIGHT TURN OUT OF MY DRIVEWAY, THE
      VEHICLE BUCKS. THIS HAPPENS ABOUT 3/4 OF THE DRIVE TIME.


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            e) A consumer in Brunswick, MD wrote on October 5, 2018:

      SHUDDER / VIBRATION BETWEEN 45 - 65 MPH. CAUSE WAS
      TORQUE CONVERTER. 85 - 90% OF VIBRATION WAS MITIGATED.
      CONTINUE TO HAVE STEADY VIBRATIONS 65 -70MPH AND
      ABOVE. DEALER ALSO INSTALLED NEW TIRES / WHEELS AND I
      HAVE HAD A ROAD FORCE BALANCE.

            f) A consumer in Arlington, VA wrote on February 9, 2019:

      TRANSMISSION STARTED SLIPPING AT 50K MILES.

      SINCE I AM IN THE TRANSPORTATION SERVICE INDUSTRY, I
      KNOW MANY PEOPLE THAT HAVE TRANSMISSION ISSUES ON
      ESCALADES.


      46.     A search for “2017 GMC Canyon” on the NHTSA website yields a

number of complaints from consumers experiencing the transmission defect.11 For

instance:

            a) A consumer in Norman, OK wrote on February 5, 2018:

      THE GMC 2017 CANYON VIBRATES AT HIGHWAY SPEED 60MPH
      TO 70MPH. THE 2ND DAY AFTER I BOUGHT IT TOOK IT ON LONG
      TRIP FOUND IT HAD VIBRATION PROBLEMS. AFTER TAKING IT
      TO THE DEALERSHIP FOR TIRE BALANCE TWICE REPLACED
      FRONT WHEEL BEARING THEN TRANSMISSION FLUSH. THEN
      AFTER TRANSMISSION FLUSH HAD VIBRATION BETWEEN 40-45
      THEY SAID IT WAS NORMAL THAT THERE WAS NOTHING ELSE
      THEY COULD DO. DUE TO VIBRATIONS OVER TIME THIS
      CONCERNS ME. FOR BEING STRANDED OR WORSE CAUSING AN
      ACCIDENT FROM SOMETHING COMING LOOSE. I`VE ALREADY
      HAD TO TIGHTEN UP MY SPARE TIRE. I BOUGHT THIS PICKUP
      FOR LONG TRIPS SINCE I`VE RETIRED. LIKE THE ONE MY WIFE
      AND I ARE GOING ON IN JUNE OF THIS YEAR. I ALSO FEEL IF

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https://www.nhtsa.gov/vehicle/2017/GMC/CANYON/PU%25252FEC/4WD, last
accessed March 12, 2019.
                                       21
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      THERE GOING TO SELL CRAP LIKE THIS THEY NEED TO PUT THE
      VIBRATION ISSUES ON THE ACCESSORY `LIST SO BUYERS WILL
      HAVE THE OPTION WHETHER TO BUY OR NOT. I WOULD HAVE
      NOT BOUGHT A $40,000.00 VIBRATOR!!

            b) Another consumer wrote on August 1, 2018:

      TRANSMISSION BEGAN SHIFTING HARD. BEFORE LONG WHOLE
      TRUCK RATTLED WHEN SHIFTING. ALMOST A GRINDING
      SOUND. CHEVY DIAGNOSED TORQUE CONVERTER HAS GONE
      BAD. BACK ORDERED FOR 2 WEEKS.

      A consumer in Vero Beach, FL wrote on December 31, 2018:

      TORQUE CONVERTER FAILS AT 12000 MILES FOR MANY. THERE
      IS A GMC NOTICE OUT SINCE 2016. MINE FAILED AT 16000 MILES
      AND THE ONE THEY REPLACED WILL LIKELY FAIL AGAIN IN
      ANOTHER 16K MILES. THIS IS BAD. I NOTICED IT WHEN I
      PRESSED ON THE ACCELERATOR AND AS I INCREASED SPEED
      UP TO 45 MPH. IT RATTLED AND ROCKED BADLY. THE GMC
      REPAIRMAN SAID, "YEAP.....EVER SINCE 2016 ALL THESE DAMN
      TORQUE CONVERTERS HAVE BEEN FAILING IN THE CANYONS
      AND COLORADOS BECAUSE GM AND CHEVY CHANGED THE
      SIZE AND STRENGTH OF THE METAL USED IN ORDER TO
      REDUCE THE WEIGHT OF TRHE VEHICLE. WE WILL REPLACE IT,
      BUT I CAN ASSURE YOU IT WILL FAIL AGAIN AND YOU'LL HAVE
      TO BRING IT BACK TO USE FOR CHANGE OUT AGAIN."
      WOW....WHAT A BUNCH OF CRAP.

      47.     A search for “2016 Chevrolet Camaro” on the NHTSA website yields

a number of complaints from consumers experiencing the transmission defect.12

For instance:

            a) A consumer in Pelham, AL wrote on February 27, 2019:

      WHEN DRIVING, THE VEHICLE WILL VIBRATE/SHUDDER
      PERIODICALLY. WHEN PULLING INTO TRAFFIC,

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         https://www.nhtsa.gov/vehicle/2016/CHEVROLET/CAMARO/C/RWD,
last accessed March 12, 2019.
                                        22
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      SOMETIMES IT DOES NOT SHIFT PROPERLY AND PRESENTS
      A DANGER. THE DEALER FLUSHED THE TRANSMISSION
      FLUID RECENTLY, BUT IT IS STARTING TO HAPPEN AGAIN.

            b) A consumer in Hendersonville, NC wrote on January 17,
               2019:

      ISSUE 1 - 8 SPEED AUTOMATIC TRANSMISION IS SHIFTING
      HARD BETWEEN GEARS AND ALSO HAS A SHUTTER AT
      LOW ENGINE RPM BETWEEN 1200 TO 1500 RPM. THE
      SHUTTER WILL OCCUR IN MOST GEARS. ESPECIALLY
      NOTICEABLE WHEN USING CRUISE CONTROL. IT HAPPENS
      IN ALL ROADS IN ALL CONDITIONS AND AT VARIOUS
      SPEEDS + GEAR...

            c) A consumer in Windsor Locks, CT wrote on November 20,
               2018:

      THE 8 SPEED AUTOMATIC TRANSMISSION HAS A SHUTTER
      AT LOW ENGINE RPM BETWEEN 1200 TO 1500 RPM. THE
      SHUTTER WILL OCCUR IN 2ND, 3RD, 4TH, 5TH, AND 6TH
      GEAR WHEN ENGINE RPM IS 1200 TO 1500. THE VEHICLE
      HAS 10,000 MILES ON IT. THIS HAPPENS ON OPEN ROADS IN
      ALL CONDITIONS AND AT VARIOUS SPEEDS + GEAR.

            d) A consumer in Anderson, SC wrote on August 25, 2018:

      WHEN YOU GOING DOWN THE ROAD TRANSMISSION 7/8
      GEAR SHUTTERS LIKE IT'S SLIPPING

            e) A consumer in Temple Hills, MD wrote on March 19, 2018:

      I BOUGHT MY CAR IN SEPT. 2016 AFTER THE FIRST COUPLE
      OF MONTHS AT RANDOM TIMES THE TRANSMISSION
      MAKES A BOOM SOUND WHEN SLOWING DOWN FROM
      SPEEDS OVER 55 MPH OR DURING ACCELERATION FROM
      STOP AND GO RUSH HOUR TRAFFIC IT'S AS IF THE
      TRANSMISSION HAS TO CATCH UP WITH THE
      ACCELERATOR. I GET MONTHLY DIAGNOSTICS AND
      NOTHING SHOWS UP AS AN ISSUE.

      48.     A search for “2017 Chevrolet Silverado” on the NHTSA website

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yields a significant number of complaints from consumers experiencing the

transmission defect.13 For instance:

           a) A consumer in Elk River, MN wrote on July 20, 2018:

      8 SPEED TRANSMISSION CLUNKS WHEN SHIFTING INTO 2
      GEAR AND AT TIMES FEELS LIKE YOU GOT REAR ENDED.
      WHEN IT DOWN SHIFTS INTO THE LOWER GEARS ITS ALSO
      CLUNKS AND IS NOT SMOOTH. THIS IS HAPPENING WHEN
      GOING AT SLOW SPEEDS AND IS WORSE AFTER A COLD
      START. THE VEHICLE SHIFTS FINE AT HWY SPEEDS. I HAVE
      ALREADY BROUGHT IT TO THE DEALERSHIP TWICE AND
      PROBLEM IS STILL THERE. TALKING TO OTHER PEOPLE
      WITH GM 8 SPEED TRANSMISSION AND THEY ARE HAVING
      THE SAME ISSUE. 8 SPEED TRANSMISSION NEEDS
      RECALL.POSSIBLY TORQUE CONVERTER.

           b) A consumer in Coalton, WV wrote on July 18, 2018:

      ENGINE HESITATION, OR MISFIRING. JERKING, OR
      TRANSMISSION SHUTTERING WHEN ENGINE IS AT LOW
      RPM AND ON INCLINE. (I.E. WHEN TRAVELING ABOUT
      45MPH AND START UP A HILL, THE RPM'S ARE ABOUT 1300
      AND THE TRANSMISSION DOESN'T GEAR DOWN, SO IT
      STARTS SHUTTERING UNTIL YOU GIVE IT MORE
      ACCELERATION THAN USUAL.) AFTER DEALING WITH
      THIS ISSUE FOR NEARLY 8 MONTHS AND 15K MILES, I
      BELIEVE THIS SAFETY ISSUE SHOULD BE RECALLED.
      DEALER ORIGINALLY ACKNOWLEDGE THE PROBLEM BUT
      WAS UNSURE OF THE CAUSE. AFTER 5 REPAIR ATTEMPTS
      THE DEALER SAY THEY CAN'T DUPLICATE AND THE
      VEHICLE PERFORMS AS DESIGNED.

           c) A consumer in Clovis, CA wrote on May 9, 2018:

      TRANSMISSION ABRUPTLY SHIFTING. FEEL LIKE THE
      TRUCK IS BEING HIT BY ANOTHER VEHICLE. I DON'T

      13

https://www.nhtsa.gov/vehicle/2017/CHEVROLET/SILVERADO%2525201500/P
U%25252FCC/4WD, last accessed November 30, 2018.
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      KNOW WHEN IT'S GONNA DO IT BUT WHEN IT DOES, ITS
      SCARY. THE OTHER DAY WHILE TRYING TO BACK UP INTO
      MY DRIVE WAY, THE WOULD NOT MOVE WHEN I PUSHED
      ON THE PEDAL. THEN ON IT’S OWN, THE TRUCK BURNED
      RUBBER BACKWARDS WHEN I TOOK MY FOOT OFF OF THE
      GAS PEDAL. I ALMOST DROVE INTO MY GARAGE! THIS
      TRUCK IS NOT SAFE AND NEEDS TO BE REMOVED FROM
      SERVICE! THIS IS AN ONGOING PROBLEM THAT YOU
      NEVER KNOW WHEN IT'S GOING TO HAPPEN DURING YOU
      DRIVE.

         d) A consumer in Morgantown, PA wrote on March 27, 2018:

      VEHICLE HESITATION AND SURGES IN ACCELERATION.
      THIS CONDITION IS A SAFETY ISSUE AS IT HESISTATES
      PULLING INTO TRAFFIC, SURGES IN ACCELERATION HAVE
      CAUSED LOSS OF TIRE TRACTION ON ICE COVERED
      ROADWAYS NEARLY RESULTING IN A COLLISION.
      DEALERS HAVE ACKNOWLEDGED AN ISSUE BUT ADVISE
      THEY ARE STILL WAITING ON A FIX FROM GM.

         e) A consumer in Sophia, NC wrote on March 22, 2018:

      PURCHASED MY 17 CHEVROLET SILVERADO 1500 ON
      11/28/17 AND RETURNED IT TO THE DEALERSHIP ON 12/1/17.
      THIS WAS DUE TO A SEVERE SHUDDERING & SHIFTING IN
      THE TRANSMISSION & SEVERE SHAKE IN THE FRONT END
      AT 70-90MPH. THEY BALANCED & ROTATED THE TIRES,
      SAYING THE ISSUE WAS FIXED, I PICKED THE VEHICLE
      BACK UP ON 12/4/17 BUT THE ISSUE WAS NOT FIXED & AN
      ELECTRICAL ISSUE HAD ALSO OCCURRED. I TOOK THE
      VEHICLE BACK ON 12/7 /18 WITH THE SAME COMPLAINTS
      REGARDING THE TRANSMISSION & SHAKING IN THE
      FRONT END, AS WELL AS THE ELECTRICAL ISSUE. THE
      DEALERSHIP CALLED ME ON 12/8/17, TOLD ME THEY HAD
      BEEN UNABLE TO DUPLICATE THE ISSUES, FINDING
      NOTHING WRONG. I LEFT IT OVER THE WEEKEND, WENT
      IN MONDAY MORNING & SPOKE TO THE SERVICE
      MANAGER DIRECTLY. HE TOLD ME HE HAD PURCHASED
      THE SAME VEHICLE WITH THE SAME TRANSMISSION
      ISSUES. SAID THERE WAS A POSSIBLE FIX BY
      EXCHANGING THE TRANSMISSION FLUID & THEY WOULD

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      USE A NEW MACHINE PICO TO CHECK IT OUT. THEY HAD
      TO REPLACE THE TORQUE CONVERTER DUE TO
      MALFUNCTIONING & PERFORM A PROGRAMMING
      MODULE UPDATE ON RADIO, I PICKED IT UP ON 12/22/17,
      ISSUE WITH THE TRANSMISSION WAS STILL NOT
      RESOLVED. I TOOK IT TO A DIFFERENT DEALERSHIP FOR
      TRANSMISSION SHUDDER, SHIFT & SHAKE ISSUE MOST
      NOTICEABLE AT 70-90MPH, & RADIO ISSUE. THEY WERE
      ADVISED TO PERFORM A MODULE UPDATE ON THE
      TRANSMISSION & GIVEN 2 OPTIONS ON THE RADIO, THEY
      CHOSE TO REPLACE THE SCREEN. I TOOK IT BACK TO
      THAT SAME DEALERSHIP, MODULE UPDATE MADE
      TRANSMISSION/FRONT END ISSUE WORSE, ESPECIALLY
      COMING OUT OF A CURVE. THEY'VE REPLACED MY 2 BACK
      TIRES SAID THEY WERE BAD & SHOULD FIX THE SHAKING
      ISSUE IN THE FRONT END. UNABLE TO DUPLICATE
      TRANSMISSION ISSUES THUS THEY CANNOT REPAIR IT.
      OWNERS WITH THE SAME ISSUES ARE BEING TOLD GM
      KNOWS BUT CAN'T FIX TRANSMISSION ISSUE.

         f) A consumer in Parker, CO wrote on February 27, 2018:

      TRUCK EXHIBITS A ROUGH IDLE AFTER TRUCK IS DRIVEN
      AND WARM. IDLE CAUSES TEH TRUCK TO SHAKE AND
      FEELS LIKE IT WILL DIE AT STOPS. RPM DROPS BELOW 300
      RPM THEN GOES BACK TO 490 RPM. IN ADDITION THE
      TRUCK WILL START TO SHAKE AND VIBRATE AT
      HIGHWAY SPEEDS OF 75-80 MPH. GMC SERVICE
      PERFORMED TSB CHANGING OUR ENGINE MOUNTS BUT
      THAT HAS NOT FIXED THE ISSUE. THIS IS A KNOWN ISSUE
      ON SILVERADOS AND NO FIX IN SITE. CONCERNED WITH
      SEAT VIBRATION THIS IS A SAFETY ISSUE DUE TO
      POTENTIAL DRIVE TRAIN PART FAILURE.

         g) A consumer in Edmond, OK wrote on February 26, 2018:

      8 SPEED TRANSMISSION SHIFT VERY ROUGH FROM 1-2
      AND 2-1 GEARS, FREQUENTLY HESITATES, MAKES
      CLUNKING SOUND. HAVE TAKEN IT TO GM DEALER AND
      AM INFORMED THAT YES, THAT'S THE WAY THE 8 SPEEDS
      ARE. THIS IS A $50K+ TRUCK. THIS TRANSMISSION ISSUE


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      CAUSES AND CAN CAUSE HESITATION WHEN NEEDING TO
      ACCELERATE, THUS CREATING A SAFETY HAZARD.

         h) A consumer in Suwanee, GA, wrote on February 13, 2018:

      TRANSMISSION SHIFTS HARD AND VEHICLE SURGES AT
      LOW SPEED WITH ACCOMPANING "CLUNK". PROBLEM
      OCCURS IN BOTH UPSHIFT AND DOWN SHIFT. DEALER
      INFORMS ME THAT IS A “LEARNING” CURVE FOR VEHICLE
      TO UNDERSTAND MY DRIVING HABITS. HOWEVER I SEE
      ON SEVERAL AUTOMOTIVE FORUMS THAT THIS HAS BEEN
      AN ISSUE FOR SOME TIME AND HAS YET TO BE RESOLVED.

         i) A consumer in Iron Mountain, MI wrote on February 1,
            2018:

      THE CONTACT OWNS A 2017 CHEVROLET SILVERADO 1500.
      WHILE DRIVING 25 MPH, THE VEHICLE SHIFTED HARD
      FROM FIRST TO SECOND GEAR. THE FAILURE OCCURRED
      EVERYDAY SINCE THE VEHICLE WAS PURCHASED IN
      APRIL OF 2017. THE VEHICLE WAS TAKEN TO O'REILLY
      CHEVROLET (6160 E BROADWAY BLVD, TUCSON, AZ 85711)
      WHERE IT WAS DIAGNOSED THAT THE TRANSMISSION
      CONTROL MODULE FAILED. THE DEALER
      REPROGRAMMED THE TRANSMISSION, WHICH FAILED TO
      REMEDY THE FAILURE. THE VEHICLE WAS BROUGHT
      BACK TO THE DEALER AND THE VALVE BODY FOR THE
      TRANSMISSION WAS REPLACED AND THE TRANSMISSION
      FLUID WAS CHANGED. THE FAILURE RECURRED. THE
      MANUFACTURER WAS NOTIFIED OF THE FAILURES. THE
      FAILURE MILEAGE WAS 16,000.

         j) A consumer in Temple Hills, MD wrote on January 6, 2018:

      NOTICED AFTER PURCHASE THAT THERE IS VIBRATION
      LIKE A BAD TIRE 35-42 MPH.

      VIBRATION FELT IN SEAT, CONSOLE AND STEERING
      WHEEL 58-65 MPH. TRANSMISSION DOWN SHIFTS HARD
      SOMETIMES FEELS LIKE BEING BUMPED FROM BEHIND, IT
      ALSO HESITATES AND JERKS AFTER LETTING OFF THE


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      ACCELERATOR AND ACCELERATING AGAIN BETWEEN 25-
      45 MPH.

      WHEN ACCELERATING IT SURGES, JERKS AND STUMBLES.
      SOMETIMES WHEN ACCELERATING THE TRANSMISSION
      DOWNSHIFTS AND HANGS IN THAT GEAR UNTIL YOU LET
      OFF THE ACCELERATOR.

      UNDER HEAVY ACCELERATION THERE IS VIBRATION IN
      THE POWER TRAIN AND THE TRANSMISSION SEEM NOISY.
      AT 25 MPH IT SHUTTERS LIKE THE TRANSMISSION IS IN TO
      HIGH OF A GEAR UNDER LIGHT ACCELERATION.

      RETURNED TO WALDORF CHEVROLET WHERE I
      PURCHASED IT AND WAS TOLD THEY BALANCED 2 TIRES
      AND RESET THE ROAD FORCE.SCANNED TRANSMISSION
      NO CODES TRANSMISSION OK AFTER SHOP FOREMAN
      ROAD TESTED FOR 21 MILES NO OTHER REPAIRS NEEDED.

      PICKED IT UP DRIVING HOME NOTICED ALL THE
      PROBLEMS WERE STILL THERE AND AFTER INSPECTION OF
      MY WHEELS NOTICED THAT THE WHEELS WERE
      BALANCED STILL HAD THE OLD WEIGHTS STILL ON THE
      WHEELS WITH NEW WEIGHTS ALSO.

      MADE ANOTHER APPOINTMENT THIS TIME TO HAVE SHOP
      FOREMAN (RICK) RIDE WITH ME TO SHOW HIM WHAT IT
      WAS DOING WHICH WE DID AND LEFT MY TRUCK AGAIN.

      AFTER 8 DAYS I AM TOLD IT WAS READY I WAS TOLD
      THEY DID A PICO SCOPE TEST AND THE DRIVESHAFT WAS
      BEING REPLACED THEN ONLY TESTED IT WAS OK.
      CHECKED RUN OUT ON FLANGES ALL WITHIN SPECS.
      FOUND THE RIGHT REAR TIRE BAD. THEY PUT STEEL
      WHEEL FROM ANOTHER TRUCK ON AND ROAD TESTED
      WITH NO CHANGE. THEY DROVE ANOTHER TRUCK AND IT
      RIDES THE SAME. EVEN HAS THE SHUTTERS ON HARD
      ACCELERATION. SAID THEY CALLED GM TAC BACK AND
      THEY DONT SEE A PROBLEM WITH THIS.

      WRITTEN DOCUMENTS BE SENT VIA MAIL.


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      MADE ANOTHER APPOINTMENT

            k) A consumer in Kerman, CA wrote on October 27, 2017:

      TRANSMISSION ON MY NEW 2016 Z71 LT 4X4 JUMPS INTO
      LOW GEAR WHEN SLOWING DOWN. I TOOK IT TO THE
      DEALERSHIP MULTIPLE TIMES, BUT KEEP GETTING TOLD
      IT SHIFTS FINE. TOOK IT AGAIN AND HAD A MANAGER
      DRIVE THE TRUCK WITH ME INSIDE AND AGREED THE
      TRANSMISSION WAS NOT GETTIN INTO GEAR IN A
      NORMAL WAY. TOON IT BACK TO GET IT FIXED AND WAS
      TOLD TRANSMISSION IS FINE. I NEED THIS FIXED OR I
      WILL BE RETURNING HE TRUCK AS A LEMON TITLE.

            l) A consumer in Moultonboro, NH wrote on April 5, 2017:

      THE CONTACT OWNS A 2017 CHEVROLET SILVERADO 1500.
      WHILE DRIVING 45 MPH, THE TRANSMISSION FAILED TO
      SHIFT PROPERLY AND MADE A CLUNKING SOUND. THE
      FAILURE RECURRED MULTIPLE TIMES. THE VEHICLE WAS
      TAKEN TO A DEALER WHERE IT WAS DIAGNOSED THAT
      THE TRANSMISSION FAILED AND NEEDED TO BE
      REPROGRAMMED. THE VEHICLE WAS REPAIRED, BUT THE
      FAILURE RECURRED. THE MANUFACTURER WAS MADE
      AWARE OF THE ISSUE. THE APPROXIMATE FAILURE
      MILEAGE WAS 30.

      49.     A search for “2016 GMC Sierra” on the NHTSA website also yields a

significant number of complaints from consumers experiencing the transmission

defect.14 For instance:

            a) A consumer in Kingston, MA wrote on November 6, 2018:

      THE CONTACT OWNS A 2016 GMC SIERRA 1500. WHILE
      DRIVING 65 MPH IN STOP AND GO TRAFFIC, THE CONTACT
      DETECTED A SHUTTER AND HEARD AN ABNORMAL NOISE

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https://www.nhtsa.gov/vehicle/2016/GMC/SIERRA%2525201500/PU%25252FR
C/4WD, last accessed November 30, 2018.
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      WHEN SHIFTING GEARS. THE VEHICLE WAS TAKEN TO
      MARTY'S BUICK GMC … WHERE THE TRANSMISSION WAS
      REPROGRAMMED AND FLUSHED. THE VEHICLE WAS THEN
      TAKEN TO BEST CHEVROLET . . . WHERE THE CONTACT
      WAS INFORMED THAT THE CAUSE OF THE FAILURE COULD
      NOT BE DETERMINED. THE VEHICLE WAS NOT REPAIRED.
      THE MANUFACTURER WAS MADE AWARE OF THE
      FAILURE. THE FAILURE MILEAGE WAS 96,794.

         b) A consumer in Franklin, TN wrote on October 27, 2018:

      TRANSMISSION SHIFTS ABRUPTLY AND TORQUE
      CONVERTER CAUSES SHUDDER AT HIGHWAY SPEEDS.
      TRUCK HAS BEEN SERVICED TWICE FOR THE SAME ISSUE
      BY DEALER AND DEALER RECENTLY TOLD ME PROBLEM
      IS UNRESOLVABLE.

         c) A consumer in San Jose, CA wrote on September 21, 2018:

      TRANSMISSION - WHEN DRIVING THE VEHICLE IT DOES A
      HARD SHIFT WHEN ACCELERATING AND DECELERATING. I
      HAVE TAKEN THE VEHICLE INTO THE DEALER TWICE.
      THEY ARE SAYING THAT IS A “STATE OF THE ART”
      COMPUTER THAT NEEDS TO BE RESET!!! I AM TAKING IT
      BACK IN FOR A 3RD TIME. THE CARE IS 2 YEARS OLD WITH
      31 K MILES.

         d) A consumer in Middleville, MI wrote on August 8, 2018:

      8 SPEED TRANSMISSION BUCKS, HESITATES, LURCHES
      FORWARD, CLUNKS, WHILE STARTUNG ACCELERATION
      OR COMING TO A STOP. I TRY TO KEEP A BIG GAP
      BETWEEN MY TRUCK AND CARS IN FRONT OF ME AT STOP
      SIGNS BECAUSE IT RANDOMLY LURCHES FORWARD AND I
      ALMOST HAVE BUMPED CARS IN FRONT OF ME. I HAVE
      HAD THE TRUCK INTO THE DEALER SO MANU TIMES TO
      FIX THE VIBRATION ISSUES AS WELL, THEY SAID 3 TIRES
      THAT CAME IN THE BRAND NEW TRUCK WERE DEFECTIVE
      SO I HAD TO REPLACE THEM ALL AND THE SHAKE IS STILL
      THERE, THE BALANCED, REBALANCED, ROAD FORCE
      BALANCE AND NOTHING WORKS. LAST TIME AT THE
      DEALER SAID IT IS PROBABLY THE TIRES, HE SAID DON’T

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      ROTATE THEM AGAIN AND WHEN THEY WEAR OUT HE
      WILL PUT ME IN A BETTER TIRE. I AM PAST MY
      WARRANTY SO THE DEALER SAYS ANY COSTS ARE MY
      RESPONSIBILITT, IF THE NHTSA COULD PLEASE STEP IN TO
      ASSIST US TO MAKE GM FIC THEAE VEHICLES WHICH ARE
      A SAFETY HAZARD.

         e) A consumer in Bradley, IL wrote on July 30, 2018:

      TRUCK SHIFTS REALLY HARD AND IS UNPREDICTABLE. I
      ALMOST DROVE THROUGH MY GARAGE DOOR THE OTHER
      DAY SHIFTING TO DRIVE FROM REVERSE. TRUCK WILL
      LUNGE FORWARD OR DELAY IN SHIFTING. THERE HAVE
      BEEN A FEW TIMES IVE HAD TO SLAM ON THE BRAKES
      BEFORE I BACKED INTO SOMETHING. I HAVE BROUGHT IT
      IN 3-4 TIMES FOR THE ISSUE AND GMC WONT REMEDY THE
      PROBLEM.

         f) A consumer in Litchfield, IL wrote on March 20, 2018:

      PLEASE MAKE GM RESOLVE THE ISSUES WITH THE 8
      SPEED TRANSMISSIONS IN THE TRUCKS. 2016 SL T Z71. I
      PURCHASED THE TRUCK NEW. IT'S NEVER SHIFTED
      PROPERLY. HESITATIONS, CLUNKING, JERKING, SHUTTER,
      HARD DOWN SHIFTS .... EVERYTIME I TAKE IT IN, THEY
      SAY IT'S DUE FOR AN UPDATE. THE TRUCK HAS HAD 4
      UPDATES AND NONE OF THEM HAVE FIXED A THING. I
      HAD IT IN BEFORE THE 36,000 MILE BUMPER TO BUMPER
      WARRANTY WAS UP AND WAS TOLD IT WAS UP TO DATE.
      THEN LAST WEEK, I TOOK IT IN AND WAS TOLD IT WAS
      "SEVERAL UPDATES BEHIND." (54,XXX) MILES. TO TOP IT
      OFF, GENERAL MOTORS WOULDN'T PAY FOR THE $400
      UPDATE, WHICH DIDN'T FIX ANYTHING AT ALL!!! THE
      TRUCK JERKED BEFORE WE GOT A BLOCK FROM THE
      DEALERSHIP. GM SAYS THAT EVEN THOUGH THE TRUCK
      IS STILL UNDER A FACTORY 60,000 MILE POWERTRAIN
      WARRANTY, TRANSMISSION UPDATES ARENT COVERED.
      THE 120,000 EXTENDED WARRANTY WOULDN'T COVER IT
      BECAUSE THEY SAY IT SHOULD BE COVERED UNDER THE
      FACTORY POWERTRAIN WARRANTY! I ABSOLUTELY LOVE
      THE TRUCK OTHER THAN THE JUNK TRANSMISSION IN IT. I
      DON'T THINK IT'S SAFE OR MUCH FUN HAVING A VEHICLE

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      THAT STARTS TO GO THEN FALLS FLAT ON ITS FACE FOR
      A FEW SECONDS BEFORE SLAMMING INTO THE NEXT
      GEAR. THIS IS A MAJOR PROBLEM WITH A HUGE NUMBER
      OF TRUCKS. DON'T BELIEVE ME? GOOGLE “2016 SIERRA
      TRANSMISSION ISSUE” OR ANYTHING OF THE SORT.
      YOU'LL SEE. l'M REALLY NOT ASKING FOR MUCH. I DIDN'T
      WANT TO PUT MY FAMILY IN A POTENTIALLY UNSAFE
      VEHICLE ..... YET HERE WE ARE. LIKE I SAID, l'M NOT
      ASKING FOR MUCH. ALL I WANT IS FOR MY TRUCK TO
      SHIFT NORMAL. TO GO WHEN IT NEEDS OR HAS TO. MY
      TRUCK HAS HAD 4 UPDATES AND WAS SEVERAL UPDATES
      BEHIND LAST TIME, THAT'S ROUGHLY AN UPDATE EVERY
      10,000 MILES AND NOW THEY'RE NOT COVERED? ON TWO
      SEPARATE OCCASIONS, IT'S SHIFTED SO HARD THAT IT
      JARRED MY NECK AND MADE IT SORE FOR A FEW DAYS
      IVE EVEN PULLED OVER ON THE SIDE OF THE ROAD
      THINKING WE WERE REAR-ENDED. SO HAS MY WIFE. NOT
      SAFE-NOT NECESSARY!

         g) A consumer in White House, TN wrote on September 15,
            2017:

      THIS ISSUE STARTED A FEW MONTHS AFTER I PURCHASED
      THE TRUCK TOOK IT TO TWO DEALERS THEY SAY ITS
      NORMAL. CALLED GMC & THEY HAVE NO RECALL. WHEN
      DRIVING THE TRUCK & HAVE TO SLOW DOWN IN TRAFFIC
      THE AUTOMATIC TRANSMISSION DOWN SHIFTS & HAS A
      VERY NOTICABLE JERK. WILL ACTUALLY JERK THE HOLE
      TRUCK. PEOPLE WHO HAVE RODE WITH ME TELL ME I
      HAVE A TRANSMISSION PROBLEM. WHAT CAN I DO

         h) A consumer in Dayton, OH wrote on May 4, 2017:

      8 SPEED TRANSMISSION BUCKS, HESITATES, LURCHES
      FORWARD, CLUNKS, WHILE IN DRIVE. THE CONTINENTAL
      TIRES ARE CUPPING, WHICH GM SAYS IS CHARACTERISTIC
      OF THE BRAND. THE TRUCK VIBRATES WHILE AT 25MPH,
      AROUND 50MPHM AND 65-75MPH. WHILE IN AWD/4WD AT
      30 AND 50MPH, THE DRIVELINE MAKES A WHINING NOISE
      AND VIBRATES SOMETIMES.

         i) A consumer in Grovetown, GA wrote on May 3, 2017:

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      GM 8 SPEED TRANSMISSION IS FULL OF PROBLEM. IT
      CONSTANTLY HESITATES, HANG GEARS, BUCKS, AND
      POSES VARIOUS SAFETY CONCERNS. FOR INSTANCE IF
      MERGING ONTO THE HIGHWAY THE TRANSMISSION WILL
      HESITATE AND THE TRUCK WILL BE UNRESPONSIVE TO
      GAS PEDAL INPUT FOR A PERIOD OF TIME SOMETIMES UP
      TO 12 SECS. THIS HESITATION CAUSES A SAFETY CONCERN
      WHEN ATTEMPTING TO MERGE INTO TRAFFIC. GM
      ACKNOWLEDGES THESE CONCERNS BUT STATES THAT IT
      IS OPERATING AS DESIGNED BUT ARE WORKING ON
      SOFTWARE UPDATES TO IMPROVE TRANSMISSION
      PERFORMANCE. THIS HAS BEEN A CONSTANT ISSUE SINCE
      I PURCHASED THE TRUCK.

      50.      A search for “2017 GMC Sierra” on the NHTSA website also yields a

significant number of complaints from consumers experiencing the transmission

defect.15 For instance:

            a) A consumer in Davie, FL wrote on April 15, 2017:

      HEAVY VIBRATION BETWEEN 1200 RPM AND 1500 RPM
      ANYWHERE BELOW 45 MPH AND ABOVE 70 MPH

            b) A consumer in Streator, IL wrote on July 20, 2017:

      TL* THE CONTACT OWNS A 2017 GMC SIERRA 1500. WHILE
      DRIVING 30 MPH, THE TRANSMISSION FAILED AFTER A
      COMPLETE STOP. WHEN THE ACCELERATOR PEDAL WAS
      DEPRESSED, THE RPMS INCREASED. WHEN SHIFTING FROM
      SECOND TO FIRST GEAR, THE TRANSMISSION SHIFTED INTO
      FIRST GEAR WITH EXTREME FORCE AND CAUSED THE VEHICLE
      TO ABRUPTLY ACCELERATE. THE CONTACT HAD TO ENGAGE
      THE BRAKE PEDAL WITH FORCE TO AVOID A CRASH. THE
      FAILURE WAS EXPERIENCED NUMEROUS TIMES. THE VEHICLE
      WAS TAKEN TO WALSH CHEVY BUICK GMC (2330 NORTH

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https://www.nhtsa.gov/vehicle/2017/GMC/SIERRA%2525201500/PU%25252FR
C/4WD#complaints, last accessed March 16, 2019.
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      BLOOMINGTON STREET, STREATOR, IL, 61364 815-673-4333)
      WHERE THE TRANSMISSION SYSTEM WAS REPROGRAMMED
      TWICE AND THE ELECTRONIC CONTROL MODULE WAS
      REPLACED. HOWEVER, THE FAILURE WAS NOT CORRECTED.
      THE MANUFACTURER WAS NOTIFIED. THE FAILURE MILEAGE
      WAS 112. UPDATED 08/30/17*LJ

         c) A consumer in Warren, MI wrote on July 27, 2017:

      TL* THE CONTACT OWNS A 2017 GMC SIERRA. WHILE DRIVING
      APPROXIMATELY 5 MPH, THE VEHICLE FAILED TO SHIFT OUT OF
      GEAR AND THERE WAS A DELAY OF THREE TO FOUR SECONDS
      BEFORE SHIFTING INTO SECOND GEAR. THE FAILURE
      RECURRED EVERY MORNING. THE VEHICLE WAS TAKEN TO THE
      DEALER (JIM CAUSLEY, LOCATED AT 38111 GRATIOT AVE,
      CLINTON TOWNSHIP, MI 48036) WHERE IT WAS CONFIRMED
      THAT GM WAS AWARE OF THE ISSUE. THE VEHICLE WAS NOT
      DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
      NOTIFIED OF THE FAILURE AND INFORMED THE CONTACT THAT
      THERE WAS NO RECALL ON HIS VIN. NO FURTHER ASSISTANCE
      WAS OFFERED. THE APPROXIMATE FAILURE MILEAGE WAS
      4,500. UPDATED 11/13/17 *BF

         d) A consumer in Pembroke, MA wrote on October 17, 2017:

      UNINTENDED ACCELERATION – WHEN SLOWING DOWN TO
      COME TO A STOP THE VEHICLE WILL OCCASIONALLY ENGAGE
      A LOWER GEAR VERY SUDDENLY AND LURCH FORWARD. THE
      RESULTING FORCE IS ENOUGH TO OVERPOWER THE BRAKING
      EFFORT BEING PROVIDED BY THE DRIVER AND THE VEHICLE
      WILL MOVE FORWARD SEVERAL FEET BEFORE THE DRIVER
      CAN REACT AND APPLY MORE BRAKING FORCE TO STOP THE
      VEHICLE. THE ISSUE OCCURS RANDOMLY AND INFREQUENTLY
      AT VERY SLOW SPEEDS (5-10MPH). THERE HAVE BEEN SEVERAL
      OCCASIONS WHERE I’VE BEEN BRAKING TO STOP AT A STOP
      LIGHT AND BEEN FORCED INTO THE MIDDLE OF AN
      INTERSECTION. I’M CONCERNED THE ISSUE COULD CAUSE THE
      VEHICLE TO STRIKE THE CAR IN FRONT OF IT OR A PEDESTRIAN
      CROSSING IN FRONT OF THE VEHICLE AS IT STOPS FOR A
      CROSSWALK. MULTIPLE UNSUCCESSFUL REPAIR ATTEMPTS
      HAVE BEEN MADE BY THE DEALER. I ATTEMPTED TO FORCE
      THE MANUFACTURER TO BUY THE VEHICLE BACK FROM ME

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      THROUGH THE MASSACHUSETTS LEMON LAW AND SINCE THAT
      TIME THEY HAVE DENIED THE EXISTENCE OF A PROBLEM. I
      HAVE SEEN SEVERAL INSTANCES ONLINE WHERE CONSUMERS
      WITH THE IDENTICAL VEHICLE (ALL WITH THE 8 SPEED
      TRANSMISSION) COMPLAINED OF THE SAME PROBLEM.

         e) A consumer in Trussville, AL wrote on October 25, 2017:

      VIBRATION 65+ MPH, FELT IN STEERING WHEEL AND SEAT.

      STEERING WHEELS QUIVERS AT 65+ MPH.

      TRUCK FEELS VERY UNSTABLE AT HIGHWAY SPEEDS.

      DEALER STATES IT'S NORMAL.

         f) A consumer in Charlotte, NC wrote on February 23, 2018:

      TRANSMISSION HARSH 1-2 SHIFT WHEN IT IS UNDER LIGHT
      THROTTLE AND SOMETIME DOES NOT SHIFT OR MAKE NOSE.
      GMC DEALER ARE AWARE ABOUT THIS ISSUES ON ALL GM
      TRUCK MODEL OF 2015 TO 2017 WITH 8SPED TRANSMISSION
      SINCE APRIL 2017. I HAVE ATTACHED DOCUMENTS GIVEN BY
      DEALER.

         g) A consumer in Dayton, OH wrote on June 1, 2018:

      WHEN DRIVING AT SLOW PARKING LOT SPEEDS OR WHEN
      COMING TO A COMPLETE STOP THE VEHICLE INTERMITTENTLY
      LUNGES, SURGES OR JOLTS, CAUSING THE VEHICLE TO MOVE
      FORWARD OR BACKWARDS UNANTICIPATED. SOMETIMES THE
      JOLT FEELS LIKE ANOTHER VEHICLE HAS HIT THIS VEHICLE
      FROM THE REAR, AGAIN CAUSING IT TO LUNGE FORWARD.

         h) A consumer in Germantown, MD wrote on June 15, 2018:

      I BOUGHT THIS TRUCK USED WITH 12,918 MILES ON IT, APRIL
      2018. WHEN DRIVING(ESPECIALLY ON HIGHWAY), AND
      CHANGING SPEEDS, TRANSMISSION CLUNKS AND LURCHES-
      AUTOMATIC TRANSMISSION. IT SOUNDS AND FEELS AS IF
      DRIVE TRAIN WILL FALL OUT. I HAVE TAKEN IT TO DEALER
      TWICE. THE FIRST TIME, THEY KEPT IT FOR 3 DAYS, THE

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      SECOND TIME, FOR ONE. THE MECHANIC IS ABLE TO REPLICATE
      THE NOISE/LURCHING, BUT THEY ARE UNABLE TO FIND A
      CAUSE OR CORRECTION. THEY TELL ME IT IS NOT DANGEROUS,
      BUT I AM CONCERNED THAT THE NOISE/MOVEMENT, COULD
      CAUSE MYSELF OR ANOTHER FAMILY MEMBER TO SWERVE OR
      BRAKE HARD AND CAUSE AN ACCIDENT. THE MECHANIC HAS
      TRIED "UPDATING THE SOFTWARE" BUT THAT DID NOT FIX IT.
      SEVERAL OTHER GMC SIERRA OWNERS TELL ME THEY HAVE
      HAD SAME PROBLEM.

         i) A consumer in Barto, PA wrote on August 28, 2018:

      THE "CHEVY SAKE". AT SPEEDS OVER 70MPH EXCESSIVE
      VIBRATION INSIDE THE VEHICLE. THIS IS WELL DOCUMENTED
      ON-LINE, PARTICULARLY VARIOUS GM FORUMS AND YOU TUBE
      VIDEOS. IT IS MY UNDERSTANDING THAT GM DENIES IT IS A
      PROBLEM, BUT THEY HAVE BEEN DOING SOME BUY BACKS
      AND IF YOU READ SOME OF THE DEALER BLOGS IT IS EVIDENT
      THAT GM KNOWS IT IS A PROBLEM.

         j) A consumer in Modesto, CA wrote on December 6, 2018:

      1. THE TRANSMISSION SHIFTS EXTREMELY ROUGH FROM 1ST
      TO 2ND GEAR IN PARKING LOTS AT A SLOW SPEED AND ON
      NORMAL HIGHWAY OR STREET DRIVING AND EXPERIENCES
      THE SAME THING WHILE SLOWING DOWN TO STOP 2. THE
      ENGINE HAS RECENTLY BEEN HAVING A AWKWARD SHAKE TO
      IT WHILE IN IDEAL AFTER IT HAS BEEN RUNNING AND WARM 3.
      WHILE BACKING UP AND TURNING THE WHEEL, THE FRONT
      SUSPENSION WILL LET OUT A LOUD CLUNK SOUND AND THE
      SOUND WILL RETURN WHEN TURNING THE WHEELS BACK
      FORWARD AFTER PUTTING IT INTO DRIVE.

         k) A consumer in Cheyenne, WY wrote on December 18, 2018:

      I HAVE HAD SEVERAL INSTANCES WHERE YOU PUSH THE
      ACCELERATOR AND YOU START TO GO AND THEN IT JUST
      STOPS MOVING LIKE THE TRANSMISSION HAS DISENGAGED.
      STARTED TO TURN INTO ONCOMING TRAFFIC THIS MORNING
      AND HAD TO STOP AS AS IT DID THIS AND I WAS GOING TO GET
      HIT!!! IT DOES IT A LOT, FIRST TIME I WOULD HAVE BEEN HIT!!!


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      GM SAYS THEY KNOW IT'S A PROBLEM, AT SHOP NOW AGAIN
      FOR IT! GOING TO GET SOMEONE KILLED!!!!

            l) A consumer in Selma, AL wrote on January 10, 2019:

      TRANSMISSION HAS SURGING AND HESITATION. DEALER
      CANNOT FIX.

            m) A consumer in Wausau, WI wrote on February 4, 2019:

      TRUCK LAGS POWER WHEN PRESSING THE GAS PEDAL AT
      TIMES AFTER PUTTING TRANSMISSION INTO DRIVE FROM
      REVERSE. TRANSMISSION SHIFTS HARD INTO AND OUT OF
      FIRST GEAR AND AT TIMES FEELS LIKE IT IS SKIPPING 2ND
      GEAR DURING A DOWNSHIFT.

            n) A consumer in Danville, CA wrote on March 12, 2019:

      TRANSMISSION SHIFT FROM 1ST GEAR. THERE IS A PROBLEM IN
      THE GEAR SHIFT FROM 1ST TO 2ND IT SLAMS THE
      TRANSMISSION WHEN YOU STOP AND START. THERE IS A
      HEATER IN THE TRANSMISSION THAT PUTS EXTRA
      DEGRADATION ON THE OIL CAUSING IT TO NEED
      REPLACEMENT VERY EARLY. DEALER KNOWS OF THE ISSUE
      BUT HAS NO FIX FOR IT ONLY STATED THEY NOTED THE FILE IN
      CASE IT FAILS. UNACCEPATABLE FOR A 55,000. PLEASE LOOK
      INTO THIS.

      51.     A search for “2018 GMC Canyon” on the NHTSA website also yields

a significant number of complaints from consumers experiencing the transmission

defect.16 For instance:

            a) A consumer in Louisville, KY wrote on August 28, 2018:

      TRANSMISSION JERKS FROM 4TH TO 5TH. SOMETIMES FEELS
      LIKE SOMEONE HIT YOU IN THE REAR ENDED.

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https://www.nhtsa.gov/vehicle/2018/GMC/CANYON/PU%25252FEC/4WD#com
plaints, last accessed March 16, 2019.
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            b) A consumer in Louisville, KY wrote on September 7, 2018:

      TRANSMISSION CLUNKS FEELS LIKE YOUR HIT IN THE REAR
      END. I THOUGHT I WAS REAR ENDED 3 TIMES SO FAR. MY
      TRANSMISSION SURGES FORWARD FROM 4TH TO 5TH GEAR.
      VERY DANGEROUS TO WEAR I DON’T WANT TO DRIVE THE
      TRUCK.

            c) A consumer in Glasgow, KY wrote on September 7, 2018:

      THE AUTOMATIC TRANSMISSION SHIFTS AGGRESSIVELY THE
      FIRST GEARS FROM A COLD STARTED ENGINE AFTER
      ENGAGING FROM PARK TO DRIVE. SLUGGISH SHIFTING AND
      ACCELERATION.

            d) A consumer in New Hill, NC wrote on December 14, 2018:

      RUMBLING OF TRANSMISSION. CLUCKY START. GM DEALER
      ACKNOWLEDGES THE PROBLEM AND HAS TRIED TO REPAIR
      VEHICLE. GM SAYS AT THIS TIME THE TRUCK 8 SPEED
      TRANSMISSIONS ARE NOT FIXABLE.

      52.     A search for “2017 Chevrolet Colorado” on the NHTSA website also

yields a significant number of complaints from consumers experiencing the

transmission defect.17 For instance:

            a) A consumer in Pensacola, FL wrote on April 30, 2018:

      8-SPEED AUTOMATIC TRANSMISSION IN INDECISIVE
      WHEN IT COMES TO SHIFTING BETWEEN LOWER GEARS
      WHILE DRIVING. TRANSMISSION MAKING CLUNKING
      "THUD" SOUND WHEN SHIFTING OUT OF PARK AND
      INTO REVERSE. GEAR HUNTING EXPERIENCED AT
      LOWER SPEEDS AND GEARS WHILE VEHICLE
      ATTEMPTS SHIFTING.

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https://www.nhtsa.gov/vehicle/2017/CHEVROLET/COLORADO/PU%25252FCC
/RWD#complaints last accessed March 16, 2019.
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         b) A consumer in Severna Park, MD wrote on June 21, 2018:

      8 SPEED TRANSMISSION HAS HARD SHIFT WHEN AT
      LOW SPEEDS AND WHEN GOING INTO REVERSE

         c) A consumer in Fort Lauderdale, FL wrote on June 19, 2018:

      WHEN DRIVING AT LOW SPEEDS MY 8 SPEED AUTO
      TRANSMISSION - CLUNKS OR THUDS - SPECIALLY FROM
      1ST - 2ND - ITS SOUNDS LIKE A BANG - TOOK IT TO DEALER
      - SAID CHEVY KNOWS ABOUT IT - BUT THERE IS NO FIX
      YET.....GREAT!

         d) A consumer in Nixa, MO wrote on June 30, 2018:

      WHEN AUTOMATIC TRANSMISSION DOWNSHIFTS INTO 1ST
      GEAR COMING TO A STOP, IT DOES SO HARSHLY AND
      LUNGES FORWARD. WHEN NOSING INTO A PARKING
      SPACE WITH A CONCRETE WALL AT THE FRONT OF THE
      PARKING SPACE, IF I HAD NOT ALLOWED ENOUGH SPACE
      FOR THE LUNGE, THE VEHICLE WOULD HAVE IMPACTED
      THE WALL. THIS CONDITION, ALONG WITH OTHER
      TRANSMISSION SHIFT IRREGULARITIES, HAPPENS
      PERIODICALLY AND I MUST REMAIN AWARE, ESPECIALLY
      COMING TO A STOP NEAR A CROSS WALK.

         e) A consumer in Wilmington, NC wrote on April 9, 2018:

      8 SPEED AUTOMATIC TRANSMISSION - ROUGH
      SHIFTING, USUALLY WHEN DRIVING BETWEEN 40 AND
      60 MILES PER HOUR. TRUCK INTERMITTENTLY FEELS
      LIKE IT IS RIDING OVER RUMBLE STRIPS.
      TRANSMISSION SEEMS TO BE HUNTING. POSSIBLE
      ISSUE WITH
      TORQUE CONVERTER.

         f) A consumer in Hood River, OR wrote on July 7, 2018:

      EXPERIENCING ELECTRICAL PROBLEMS CAUSING
      STARTING ISSUES, WHILE DRIVING FAILURES IN DASH
      INDICATOR LIGHS, SPEEDOMETER, TACHOMETER,

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      SHIFT CONTROL INDICATOR LIGHTS, AND
      TRANSMISSION CONTROL. LOSS OF POWER TO THE
      POINT TRUCK ALMOST COMES TO A STOP AND THEN
      SURGES, TWICE IT HAS ACCELERATED TRAVELING UP
      TO 50FT ESTIMATED.

         g) A consumer in San Jose, CA wrote on September 13,
            2017:

      THE CONTACT OWNS A 2017 CHEVROLET COLORADO.
      WHILE DRIVING AT AN UNKNOWN SPEED, THE VEHICLE
      ACCELERATED AND JERKED. ADDITIONALLY, THE
      BRAKES WERE APPLIED, BUT FAILED TO RESPOND AND
      THE BRAKE PEDAL TRAVELED TO THE FLOORBOARD. IN
      ADDITION, THE CONTACT HEARD AN ABNORMAL
      SCRATCHING NOISE. THERE WERE NO WARNING
      INDICATORS ILLUMINATED. THE VEHICLE WAS TAKEN
      SEVERAL TIMES TO GILROY CHEVROLET (6720 AUTOMALL
      CT, GILROY, CA 95020, 408-842-9301), BUT THEY WERE
      UNABLE TO DUPLICATE THE BRAKE FAILURE. THE
      DEALER DIAGNOSED THE ACCELERATION FAILURE AS
      THE FOUR WHEEL DRIVE BEING ENGAGED. THE VEHICLE
      WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED
      AND PROVIDED CASE NUMBER: 8-4000-730943. NO FURTHER
      ASSISTANCE WAS PROVIDED. THE FAILURE MILEAGE WAS
      APPROXIMATELY 17,759.

         h) A consumer in Columbia, SC wrote on August 19, 2018:

      THE VEHICLE HAS A SHUDDER IN THE TRANSMISSION
      UNDER LIGHT THROTTLE ACCELERATION BETWEEN
      ABOUT 50 AND 80 MPH ON THE HIGHWAY. IT FEELS AS IF
      I'M DRIVING OVER RUMBLE STRIPS ON THE ROAD FOR
      ABOUT A SECOND. THEN IT WILL STOP FOR A SECOND OR
      TWO, AND THEN SHAKE AGAIN FOR A SECOND. WITHOUT
      THROTTLE, NO SHAKING OCCURS. THIS HAS BEEN
      OCCURRING FOR ABOUT TWO WEEKS, OR PERHAPS THE
      LAST 500 MILES. IT MIGHT BE DESCRIBED BY BULLETIN 18-
      NA-177.

         i) A consumer in Bellflower, CA wrote on September 1, 2017:


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      AIR CONDITIONING IS INTERMITTENT/BLOWS
      WARM/EMITS FOG FROM VENTS. THE DEALER SAYS NO
      FIX AVAILABLE YET CITES PER DOC ID:5125499.SAYS
      ENGINEERING IS STUDYING PROBLEM. MINE STOPS
      WORKING-BLOWS WARM WITH IN 1/2 HOUR. ALSO IN
      STOP/GO TRAFFIC THE TRANSMISSION DOWNSHIFTS
      ABRUPTLY AND CAUSES TRUCK TO ACCELERATE
      FORWARD-HAVE TO APPLY BRAKES HARD TO AVOID
      COLLISION. DEALER SAYS CAN NOT REPEAT BUT SHIFTING
      IS CONSISTENTLY ABRUPT AND I HAVE ASKED ABOUT
      SOFTWARE UPDATES TO ALLIEVIATE THIS SAFTY
      CONCERN TO NO AVAIL

         j) A consumer in Parsonsburg, MD wrote on May 15, 2018:

      I HAVE HAD REPEATED ISSUES WITH THE TRANSMISSION
      AND THE TRANSMISSION WILL NOT SHIFT OUT OF 5TH
      GEAR WHEN IN TOW MODE AND WHEN TOWING LOAD
      UNDER SPECIFICATIONS. I HAVE STARTED THE LEMON
      LAW PROCESS BUT THE MANUFACTURER HAS
      DENIED MY CLAIM AS OF TODAY.

         k) A consumer in Palermo, ME wrote on November 1, 2017:

      WHEN AUTOMATIC TRANSMISSION DOWNSHIFTS INTO 1ST
      GEAR COMING TO A STOP, IT LUNGES FORWARD. IF WHEN
      NOSING INTO A PARKING SPACE WITH ANY KIND OF POLE
      OR VEHICLE DIRECTLY IN FRONT OF MY TRUCK, NOT
      LEAVING ENOUGH SPACE MY TRUCK WOULD HIT
      WHATEVER. WHEN DRIVING SLOWLY WITH MY 8 SPEED
      AUTOMATIC TRANSMISSION SOMETIMES IT RATTLES AS IF
      I AM ON A RUMBLE STRIP AND SOMETIMES IT JUST
      CLUNKS OR THUDS. THIS AND OTHER SHIFT ISSUES MAKE
      ME EVEN MORE HYPER VIGILANT WHEN DRIVING. 6
      MONTHS AFTER I PURCHASED MY BRAND NEW 2017
      COLORADO, DURING A SPELL OF NEGATIVE DEGREE
      WEATHER I LOST THE FOLLOWING: MY CRUISE CONTROL,
      TRACTION CONTROL, FOUR-WHEEL DRIVE; MY ENGINE
      LIGHT CAME, OIL LIGHT ALL LIGHTS CAME ON AND MY
      RADIO STOPPED WORKING. I WAS TOLD BY MY CHEVY
      DEALER THAT THIS WAS NORMAL IN COLD WEATHER.
      NEXT, I WAS INFORMED IT MUST BE BECAUSE I WASHED

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      MY VEHICLE THE DAY BEFORE. THIS WENT ON FOR A FEW
      MONTHS, WITH ME SHOWING THEM VIDEOS AND THEM
      TELLING ME THEY COULD NOT DUPLICATE THE ISSUE.
      OCTOBER OF 2018 THEY REPLACED MY RADIO BECAUSE
      EVIDENTLY THE RADIO HAD A BULLETIN THAT SHOWED
      ALL OF THE THINGS I HAD COMPLAINED ABOUT. I WANT
      TO SAY THIS HAPPENED IN EXCESS OF 10 OR MORE TIMES.
      DRIVING TO MY MOTHERS ONE EVENING IN THE DARK MY
      DASH LIGHTS WERE NOT DIMMING CORRECTLY AND
      THEN WENT OUT. AS I GOT TO A FOUR WAY
      INTERSECTION WITH CARS COMING THEY CAME ON SO
      BRIGHTLY I ALMOST GOT IN AN ACCIDENT WHICH
      PROMPTED ME TO MAKE AN APPOINTMENT AND I WASN'T
      WILLING TO HEAR SILLY EXCUSES.


         l) A consumer in Gadsden, AL wrote on October 25, 2018:

      TRANSMISSION SHUDDER. FELLS LIKE DRIVING OVER
      RUMBLE STRIPS. GM KNOWS OF THIS ISSUE BUT KEEPS
      PUTTING THESE 8 SPEED TRANSMISSIONS ON THE ROAD.

         m) A consumer in Port Charlotte, FL wrote on May 15, 2018:

      AT 21000 MILES FELT LIKE DRIVING OVER RUMBLE STRIPS
      AND TACH WOULD MOVE IN CRUISE. DEALER FLUSHED
      TRANS. 4 MONTHS LATER AT 29000 MILES SAME PROBLEM
      BUT NOW SHIFTING HARD NOTICED DURING
      ACCELERATION AND DECELERATION. CHANGED OUT
      CONVERTER AND FLUSH. NOW 3 MONTHS LATER AND
      ONLY 2500 MILES LATER IT HAS STARTED ALL OVER
      AGAIN. SO BACK TO THE DEALER I WILL GO. AM
      STARTING TO REGRET BUYING A CHEVY INSTEAD OF
      STAYING WITH MY TRUSTY FORD

         n) A consumer in Jackson, WI wrote on January 5, 2019:

      THE CONTACT OWNS A 2017 CHEVROLET COLORADO.
      WHILE DRIVING HIGHWAY SPEEDS, THE CONTACT
      NOTICED THAT THE TACHOMETER FLUCTUATED AND THE
      TRANSMISSION SHUDDERED. THE VEHICLE WAS TAKEN
      TO AN UNKNOWN DEALER WHERE IT WAS DIAGNOSED

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      THAT THE TRANSMISSION TORQUE CONVERTER FAILED.
      THE DEALER REPLACED THE TORQUE CONVERTER AND
      THE TRANSMISSION WAS FLUSHED. THE DEALER ALSO
      REPROGRAMMED THE TRANSMISSION COMPUTER. THE
      MANUFACTURER WAS CONTACTED AND PROVIDED CASE
      NUMBER: 94982753540. THE MANUFACTURER ISSUED
      TECHNICAL SERVICE BULLETIN NUMBER: 4942742 PIE0405C
      (ENGINEERING INFORMATION TORQUE CONVERTER
      SHUDDER). THE APPROXIMATE FAILURE MILEAGE WAS
      13,500.

         o) A consumer in Mount Vernon, OH wrote on July 11, 2018:

      TRUCK BOGS DOWN, LOOSES POWER WHEN TAKING OFF
      FROM A STOP. FRONT TIRES FEEL LIKE THEY ARE
      SKIPPING EVEN THOUGH TRUCK IS IN 2 WHEEL DRIVE
      ESPECIALLY UP HILL. ONCE TRUCK GETS GOING IT
      RUMBLES AND VIBRATES SO MUCH IT BOTHERS YOUR
      EARS, CONSTANTLY LOOSING POWER AND SPEED AS
      YOUR DRIVING. WAS TOLD IT WAS THE TORQUE
      CONVERTER AND IT WAS REPLACED. TRUCK CONTINUED
      TO HAVE SAME ISSUE. TRUCK THEN “BLEW UP”
      (DEALERSHIP WORDS) WHILE I WAS DRIVING 75 MPH
      DOWN THE HIGHWAY. DEALERSHIP STATED “IT WAS LIKE
      YOUR TRUCK WENT INTO LOW GEAR WHILE YOU WERE
      DRIVING AND IT SHOULD NEVER BE ABLE TO DO THAT”.
      HAD FLUID FLUSH AND REPLACED AGAIN AND RUMBLING
      AND POWER LOSE STILL OCCURRING.

         p) A consumer in Bullard, TX wrote on January 17, 2019:

      AT SPEEDS 45 MPH TRANSMISSION MAKES A LOAD
      THUMBING SOUND AND START SWITCHING BACK AND
      FORTH FOR GEAR. AT SPEEDS 60 UP TO 70 MPH A
      SHUDDERING STARTS MOSTLY UP GRADES AND DOWN
      GRADES. FROM REVIEW THERE IS A BULLETIN GM 16-NA-
      175. FROM WHAT I READ THIS DOESN'T FIX THE PROBLEM.
      THERE ARE NUMEROUS OF COMPLAINTS.

         q) A consumer in Kitty Hawk, NC wrote on September 18,
            2018:


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      SEPT 2018 HAVE NOTICED THAT TRUCK SEEMS TO
      VIBRATE, SHUDDER AT 50-60MPH. VIBRATION,
      SHUDDERING GOT WORSE, EVEN AT 25MPT. OCTOBER, I
      CONTACT SERVICE ADVISOR WHO BELIEVES MIGHT BE
      TORQUE CONVERTER NEED APPT TO VERIFY NOVEMBER
      FINALLY GOT APPT WITH SERVICE DEPT. THEY VERIFY IT
      IS TORQUE CONVERTOR AND ORDER PARTS. DECEMBER
      PARTS IN & TRUCK IN FOR 3 DAYS AS PARTS INSTALLED.
      TOLD THIS SHOULD SOLVE ISSUE, BUT CHEVROLET
      WORKING OF ANOTHER FIX FOR 1ST QUARTER OF 2019. TO
      DATE, I HAVE NOT NOTICED ANY ISSUES OF
      VIBRATION.DATE.

            r) A consumer in Port St. Lucie, FL wrote on November 1,
               2018:

      TL THE CONTACT OWNS A 2017 CHEVROLET COLORADO.
      WHILE DRIVING AT HIGH SPEEDS, THE VEHICLE STARTED
      TO VIOLENTLY VIBRATE. THE FAILURE ALSO OCCURRED
      WHEN ACCELERATING FROM A STOP. THE VEHICLE WAS
      TAKEN TO DYER CHEVROLET FORT PIERCE (4200 US
      HIGHWAY 1, FORT PIERCE, FL 34982, (772) 242-3116)
      MULTIPLE TIMES FOR THE FAILURE WHERE THE
      TRANSMISSION WAS SERVICED AND FLUSHED; HOWEVER,
      THE FAILURE RECURRED. THE VEHICLE WAS NOT
      REPAIRED. THE MANUFACTURER WAS MADE AWARE OF
      THE FAILURE AND THE CONTACT RECEIVED A CASE
      NUMBER. THE FAILURE MILEAGE WAS 17,000.

      53.     A search for “2018 Chevrolet Colorado” on the NHTSA website also

yields a significant number of complaints from consumers experiencing the

transmission defect.18 For instance:

            a) A consumer in Hammond, LA wrote on September 17, 2018:

      CHEVY COLORADO A BAD VIBRATION IN DRIVETRAIN. TOOK

      18

https://www.nhtsa.gov/vehicle/2018/CHEVROLET/COLORADO/PU%25252FEC
/RWD#complaints, last accessed March 16, 2019.
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      TRUCK TO DEALER WHO SAID IT WAS TORQUE CONVERTER
      PROBLEM. IT HAS BEEN AT DEALER FOR 9 DAYS BECAUSE THEY
      ARE DOING 9 VEHICLES A DAY FOR THIS PROBLEM.
      SUPPOSEDLY THEY ARE GOING TO CHANGE TORQUE
      CONVERTOR, OTHERS THEY JUST CHANGE THE OIL IN TORQUE
      CONVERTOR. THIS IS DONE APPROXMATELY 9 TIMES A WEEK
      AT THIS ONE DEALER, ROSS DOWNING IN HAMMOND, LA. THIS
      IS THE 8SP TRANS. THAT IS USED IN SEVERAL GM REAR DRIVE
      CARS AND TRUCKS. MY TRUCK ONLY HAS 6300 MILES ON IT.
      WHEN TRYING TO PASS VEHICLES ON INTERSTATE IT VIBRATES
      SO BAD OVER 70 MPH I AM AFRAID TO WRECK. OTHERS I HAVE
      TALKED TO AT DEALERSHIP CLAIM THERE VEHICLE VIBRATES
      AT LOWER SPEEDS, SURGES AND MAKING NOISE. THIS
      DEALERSHIP DOING 9 A WEEK, THAT PROBABLY IS SEVERAL
      THOUSAND A WEEK STATEWIDE. THIS IS A TERRIBLE PROBLEM
      THAT NEEDS FIXIN. MANY THANKS.

         b) A consumer in Dade City, FL wrote on October 3, 2018:

      MY VEHICLE SHAKES AND SHUTTERS WHEN ACCELERATING. I
      HAVE BROUGHT IT TO CHEVROLET OF WESLEY CHAPEL FL 3
      TIMES FOR THE SAME PROBLEM. THE PROCEEDED TO DO A
      "FLUSH" AND HAVE REPLACED THE TORQUE CONVERTER.

         c) A consumer in West Mansfield, OH wrote on November 16, 2018:

      I HAVE A 2018 CHEVROLET COLORADO LT 4WD CREW CAB.
      MULTIPLE TIMES ON A COLD START THE ENGINE IS MISFIRING.
      THE CHECK ENGINE LIKE COMES ON, THE VSA, AND T/C LIGHTS
      ALL COME ON AND A NOTIFICATION ON THE DASH SAYING
      STABILITRAK IS DISABLED. THE VEHICLE SHAKES TERRIBLY.
      THE CHECK ENGINE LIGHT WILL FLASH AND THEN GO SOLID. I
      AM AN AUTOMOTIVE TECHNICIAN. I KNOW THAT A MISFIRE
      SHOULD SET A HARD DTC. WHEN THE VEHICLE IS TURNED OFF
      AND STARTED SEVERAL HOURS LATER THERE IS NO CHECK
      ENGINE LIGHT OR ANY OTHER LIGHT ON. THE DEALERSHIP IN
      MARYSVILLE, OH HAD MY TRUCK FOR 3 DAYS AND TOLD ME
      THEY CLEANED A BUNCH OF TERMINALS AT SEVERAL
      CONNECTORS. WHATEVER THAT IS SUPPOSED TO DO. THEY
      SAID THEY STARTED THE VEHICLE SEVERAL TIMES AFTER AND
      EVERYTHING WAS GOOD. THE NEXT DAY AFTER I PICKED THE
      TRUCK UP, IT DID THE SAME EXACT THING! EXTREMELY

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      FRUSTRATING! I KNOW A CONTINUOUS MISFIRE LET'S
      UNBURNED FUEL INTO THE CATALYTIC CONVERTER WHICH
      LEADS TO PREMATURE BREAKDOWN OF THE CATALYST. SO MY
      QUESTION IS WHAT IS BEING DONE ABOUT THESE ISSUES?
      ANOTHER ISSUE IS WITH THE TRANSMISSION. ON A COLD
      START THERE IS A CLUNK NOISE. THEN WHEN YOU ARE
      DRIVING AT
      CRUISING SPEED AND YOU LET OFF THE THROTTLE AND
      DEPRESS THROTTLE AGAIN THERE IS A SHUDDER. ALSO, WHEN
      YOU COME TO A COMPLETE STOP THE VEHICLE TRIES TO JOLT
      FORWARD. THIS IS EXTREMELY CONCERNING ESPECIALLY ON
      A VEHICLE WITH ROUGHLY 18,000 MILES ON IT. THIS NEEDS TO
      BE ADDRESSED PROMPTLY!!

         d) A consumer in Clearwater, FL wrote on January 28, 2019:

      NOTICED A "SHUDDERING" IN THE TRANSMISSION DURING
      LIGHT ACCELERATION BETWEEN 40-60MPH AROUND 1500RPM.
      WHOLE TRUCK VIBRATES LIKE YOU ARE DRIVING OVER
      RUMBLE STRIPS. ONLY 4150 MILES ON THE TRUCK!

         e) A consumer in Longmont, CO wrote on April 27, 2018:

      IN MAY 2018 I PURCHASED A NEW CHEVY SILVERADO LT Z71
      PU. I LIVE IN COLORADO AND WHEN I DRIVE THE TRUCK DOWN
      THE I-70 MOUNTAIN PASS THE TRANSMISSION IS DOWNSHIFTED
      BEYOND WHAT IO WOULD CALL A SAFE DOWN SHIFT. IM
      TRAVELING DOWN THE PASS, JUST COASTING, DOWN HILL
      ASSIST MODE IS OFF @ ROUGHLY 55 MPH THE TRANSMISSION
      DOWN SHIFT HARD. THE RPM GOES FROM ~1850 TO ~3800 RPM.
      THE ENGINE AND TRANSMISSION AND ENGINE BOTH MAKE A
      LOT OF NOISE WHEN THIS HAPPENS. I TRAVELED THE PASS
      ABOUT 8 TIME NOW AND THE TRUCK DOES THIS FUNNY SHIFT
      EVERYTIME AND I HAVE PICTURE SHOWING 4 EVENTS. I'VE
      TAKING THE DRIVE INTO THE DEALER AND SINCE THE
      COMPUTER DOESN'T LOG A ERROR CODE THE DEALER DOESN'T
      KNOW WHAT TO DO. THIS PAST WEEK THEY GAVE ANOTHER
      2018 P/U WITH THE SAME TRANNY AND ENGINE AND THAT
      TRUCK DID NOT DO THE SAME DOWNSHIFT. I BELIEVE THERE IS
      SOMETHING WRONG WITH MY TRUCK AND ALSO IF THIS EVENT
      HAPPENED IN THE WINTER ON A SNOWY ROAD THE TRUCK
      WOULD SPIN OUT OF CONTROL AND CAUSE A ACCIDENT AND IS

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      A HUGE SAFETY CONCERN. I ALSO FILED A COMPLAINT WITH
      GM BUT THEY ARE REALLY NOT HELP TO RESOLVE THIS
      PROBLEM. THE DEALER LOOKED AT THE TRUCK AGAIN TODAY,
      NO CODES RECORDED, THE RESET THE TRANSMISSION
      MEMORY TODAY TO TRY AND SATISFY MY NEED TO DO
      SOMETHING. I NOW WAITING TO HEAR BACK FROM THE
      DEALER ON THE NEXT STEPS. I WILL ALSO CALL GM AGAIN TO
      GIVE THEM THIS INFORMATION. I AM ATTACHING PICTURE
      THAT CLEARLY SHOW THIS PROBLEM. I ALSO GIVEN THE
      DEALER THE SAME PICTURES.

         f) A consumer in Miami, FL wrote on July 27, 2018:

      CONSTANT VIBRATION/SHAKE COMING FROM THE VEHICLE AT
      ANY SPEED ABOVE 65 MPH. THE TRUCK HAS BEEN LIKE THIS
      SINCE THE DAY IT LEFT THE DEALERSHIP. WHEN ON HIGHWAY
      AND VIBRATION IS FELT, PUTTING THE TRUCK IN NEUTRAL
      DOES NOT CHANGE THE VIBRATION, SLOWING DOWN MAKES IT
      SLIGHTLY WORSE, SPEEDING IT MAKES IT SLIGHTLY BETTER.
      FEELS LIKE THERE IS SOMETHING SERIOUSLY WRONG WITH
      THE GEOMETRY OF THE TRUCK MAKING IT UNSAFE TO DRIVE
      AT HIGHWAY SPEEDS. ROAD FORCE BALANCE WAS ALREADY
      DONE AND THE PROBLEM PERSISTS ON A BRAND NEW TRUCK.

         g) A consumer in Highland, NY wrote on October 3, 2018:

      SEVERAL TIMES, WHILE DRIVING RIGHT AROUND 55 MPH, THE
      TRANSMISSION DOWNSHIFTED FOR NO REASON ON THRUWAY
      CONDITIONS. WHEN THIS HAPPENED, IT WAS ALMOST LIKE
      SLAMMING ON THE BRAKES QUICKLY. ON ALL OCCASIONS, MY
      BODY LURCHED FORWARD. IF SOMEONE WAS BEHIND ME, I
      PROBABLY WOULD HAVE BEEN REAR ENDED. ON ANOTHER
      OCCASION, WITH MY SON IN THE TRUCK, WE STOPPED AT A
      RED LIGHT AND THE TRANSMISSION CLUNKED SO VIOLENTLY,
      THAT WE BOTH THOUGHT WE WERE REAR ENDED AT FIRST. I
      DESCRIBED THE ISSUE TO MY GM SERVICE SHOP WHO SAID
      THAT THEY COULDN'T FIND AN ISSUE AND THAT THE CODES
      WERE ALL NORMAL. I WAS ADVISED THAT THE CLUNK AT THE
      RED LIGHT WAS COMMON, AS THE TRANSMISSION HAS TO
      RELIEVE PRESSURE. NO WAY IS THIS NORMAL! I GOT ON LINE
      TO REVIEW FORUMS AND IT APPEARS THIS IS A VERY
      PREVALENT ISSUE. YESTERDAY, I LOST MY TRANSMISSION

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      COMPLETELY ON A THRUWAY. I HEARD A LOUD CLUNK AND
      THE RPMS SPIKED. I LEFT THE HIGHWAY ASAP BUT COULD NOT
      GO OVER 30 MPH OR THE RPMS WOULD JUST SPIKE WITHOUT
      MOTION RESPONSE. EXITING THE THRUWAY AT THIS SPEED
      WAS VERY DANGEROUS! EVEN WITH HAZARDS ON, DRIVERS
      SELDOM SLOW DOWN OR MOVE OVER, ESPECIALLY 18
      WHEELERS. THESE TRANSMISSIONS ARE CLEARLY A SAFETY
      HAZARD.

         h) A consumer in Columbia, SC wrote on November 2, 2018:

      THE EIGHT SPEED AUTOMATIC TRANSMISSION STUTTERS AND
      ACTS LIKE IT DOESN'T KNOW WHAT GEAR TO GO INTO UNDER
      LIGHT TO NORMAL ACCELERATION. THIS OCCURS WHILE COLD
      AND DURING THE WARMING PERIOD, (NORMALLY UP TO
      AROUND 180 DEGREES), BUT TENDS TO RESOLVE AFTER THE
      ENGINE IS COMPLETELY WARMED UP. THIS TRANSMISSION
      PROBLEM IS CONTINUOUS AND HAPPENS EVERY TIME AFTER
      THE VEHICLE SITS ALL NIGHT OR IF IT HAS SIMPLY SIT FOR A
      FEW HOURS. IT IS VERY APPARENT, OTHER PASSENGERS ASK
      WHAT IS WRONG WITH THE VEHICLE WHEN THEY RIDE IN IT. I
      BOUGHT THE VEHICLE NEW, BUT WHEN I TOOK THE TEST
      DRIVE IT WAS ALREADY WARMED UP. THEREFORE I WAS
      UNAWARE OF THE ISSUES PRESENT. I WENT BACK TO THE
      SALESMAN TO DESCRIBE THE PROBLEM AND WAS INFORMED
      THIS HAPPENS WITH ALL THE 2018 EIGHT SPEED SILVERADO'S
      HE HAS DRIVEN ON THEIR LOT. I LOOKED ON THE INTERNET
      AND FOUND THESE TRANSMISSIONS HAVE A LEARN CYCLE, SO
      I DECIDED TO GIVE IT SOME TIME TO SEE IF WAS A LEARNING
      CURVE WITH THE COMPUTER. IT NEVER CLEARED UP. I LATER
      BROUGHT THE VEHICLE INTO THE DEALERSHIP FOR THE
      INITIAL SERVICE AND DESCRIBED WHAT HAD BEEN HAPPENING
      WITH IT TO THE SERVICE DEPARTMENT. I LEFT THE
      VEHICLE OVERNIGHT SO THE TECHNICIAN COULD DRIVE FIRST
      THING IN THE MORNING AND PERFORM AN SERVICES. THE
      NEXT DAY I WAS CALLED AND TOLD MY VEHICLE WAS READY.
      UPON ARRIVAL I WAS INFORMED THE TECHNICIAN WAS ABLE
      TO DUPLICATE THE PROBLEMS I DESCRIBED, BUT IT WAS
      NORMAL FOR THE EIGHT SPEED TRANSMISSION. HOWEVER, IT
      BECOMES WORSE TO BRING IT BACK IN FOR FURTHER
      DIAGNOSIS. I CALLED GM, THEY ALSO LOOKED INTO THE CASE
      FOR ABOUT A WEEK, THEN CALLED BACK AND STATED THAT IS

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      NORMAL FOR THE TRANSMISSION. I BOUGHT THE VEHICLE
      NEW WITH ABOUT 2,500 MILES ON IT, (DEMO), AND HAVE HAD
      IT ONLY A FEW MONTHS. IT CURRENTLY HAS LESS THAN 10,000
      MILES ON IT.

            i) A consumer in Boynton Beach, FL wrote on October 1, 2018:

      VEHICLE DEVELOPED A VIBRATION AT 80MPH WHICH FADES IN
      AND OUT. TIRES WERE ROAD FORCED BALANCED, AND
      ALIGNMENT WAS DONE. TRANSMISSION FLUID WAS CHANGED.
      THE SHACKING AT 80MPH CONTINUED. ON A 30 MILE COMMUTE
      AT 80MPH THE VIBRATION IS EXTREME 25% OF THE TIME (LIKE
      DRIVING OVER A RUMBLE STRIP), MODERATE ANOTHER 25% OF
      THE TIME, AND THE OTHER 50% THE VIBRATION IS NOT
      NOTICEABLE.

      E.      GM Was Aware of the Transmission Defect Through Extensive
              Customer Complaints on GM-Related Websites and Online
              Discussion Boards

      54.     Consumers have posted extensively on websites dedicated to

discussions of GM vehicles regarding the transmission defect in vehicles equipped

with the 8L90 and 8L45 8-speed transmissions.19 Upon information and belief, GM

employees have seen these complaints. For example, Brendan of New Hampshire

posted an initial complaint on gm-trucks.com, and followed up with several

updates. Brendan wrote:

      On Mar. 1, 2016

      I wanted to post up my own experience with my 8 speed
      transmission in my 2015 SILVERADO HIGH COUNTRY 6.2L 8
      SPEED 8L90

      I bought the truck brand new in July 2015. Manufactured date of April

      19
       https://www.gm-trucks.com/forums/topic/184117-my-own-8-speed-
problems-resolution/, last accessed November 28, 2018.
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      2015. I purchased it from a dealer in NH and they have been great to
      deal with.

      So here is the story-->

      July 2015 --> At first the truck was flawless. It shifted butter smooth
      and on a very rare occasion (once a week maybe) it would clunk
      slightly when downshifting. It was totally negligible.

      ***As time went on and the mileage increased it got worse. Here is a
      list and description of what it was doing once I hit about 3500~ miles.
      It didn't clunk and act sloppy all the time. HOWEVER, there is a good
      65% chance the truck was going to shift poorly.
      • It clunks (HARD) into lower gears when slowing
          down/downshifting. This is the biggest issue and has continued to
          happen up to now.
      • Taking off from a stop with smooth, consistent acceleration, it has
          trouble deciding the correct gear and vibrates.
      • Same scenario as above, the rpm’s fluctuate.
      • It makes clicking noises constantly when shifting. If you manually
          shift it, you can hear clicks in almost every gear.
      • I can MAKE it clunk hard if I coast in gear 7 and manually shift it
          into gear 6. NO RELATION TO AFM/DoD WITH THIS.
      • For some reason, turning into another road or turning in a slight
          corner and accelerating will make it downshift and clunk hard.
      • Going from Park to Reverse either cold or after driving it would
          slight clunk, then engage a second or two after the initial clunk is
          heard/felt.

      December 2015 --> I took it to my dealer at the 5000 mile oil
      change/scheduled maintenance and I had the service manager ride
      with me to hear the clunking. The truck was really acting up that day,
      and it was clunking like crazy. The service manager said he heard the
      noises clear as day. He told me the 8 speeds have some clunks, and
      because they are so new people need to get used to them. He gave me
      the whole they need to learn and EPA demands greater fuel mileage
      talk. I disagreed with him and we had a long conversation. I
      mentioned to him when the truck was new it did not do this.

      When we returned to the dealership, this is exactly what he told me:
      "this is normal operation, we are not going to do anything about this
      issue"
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      I asked him to at least check for updates and go over the truck top to
      toe and check motor mounts, transmission mounts, spring shackles,
      etc. Just to rule out any possible ‘looseness’ that could cause the
      clunks. The work order said they checked for updates and looked the
      truck over. They found nothing out of place and no updates available.

      Around two weeks later, with 7200~ miles on the truck, I was talking
      to my uncle about the transmission issues and he called his local
      Chevy dealer on my behalf. The service manager said the 8 speeds
      have a couple updates available, and to bring my truck up to see if
      they apply to it. He said the update had really helped a couple 8
      speeds they had recently sold. So I drove up to their dealer (an hour in
      the opposite direction of MY dealer) and they hooked my truck up. I
      figured MY dealer had done the updates, but there was an available
      update. They updated it and it really didn't help much. It seemed to
      make the truck hold a little higher RPM cruising, but I didn't notice
      anything besides that.

      March 2016 --> Just yesterday I dropped my truck off at my
      purchasing dealership with 9800~ miles. I asked them to do the
      scheduled maintenance, and look into the transmission one more time.
      Especially considering it hasn't gotten better, it got worse. I
      specifically asked them to drop the pan and look at the fluid, valve
      body, etc. They called me Monday afternoon and told me they took an
      extensive look at my transmission and they are going to put a new
      transmission in it. They said after driving it/taking a look that it is “A
      GM candidate for a new transmission” because of the “symptoms it
      exhibits”

      In 5-8 days the transmission will arrive from Detroit and then they
      will put in a new transmission.

      I will keep you all posted on the results and we will see if over the
      next 10k miles the new transmission stays smooth.
      …
      I am giving GM a chance to fix the problem. Out of all the 8 speeds
      they have manufactured, they can’t ALL be bad.

      If this doesn't fix it I will ask them to buy it back. If they wont buy it
      back, then I will trade it in. Lesson learned.


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      On March 22, 2016

      I just dropped the truck off at the dealer this evening. I just hit 10000
      miles. The tech wanted to hear it. I drove, and I got it clunking quite a
      bit. He told me the way my transmission was clunking was NOT
      normal. He also said they have had a lot of concerns with 8 speeds. He
      said most of the 8 speeds have slight clunking that is due to
      tolerances/backlash which is understandable. He also mentioned the
      torque converters have been known to 'shred' themselves and create a
      lot of debris. Either way the 8 speed is not doing so hot. GM is
      working on it a permanent fix, but no absolute fix yet.

      I can’t say enough good things about my dealer though. They told me
      if it can't be fixed, or it comes back from GM I ‘have to live with the
      clunk’ that they will help with either trade assistance or buy it back. I
      really hope they can figure out a fix. It’s a damn nice truck.

      To those of you having any kind of doubt, bring it in to the dealer and
      at least have them document it. I live an hour away from the dealer, so
      I know how much of a pain it is going to the dealer. These trucks cost
      too much to settle for these transmission issues.

      On March 24, 2016

      [In response to the question “Are people with 2016 models and the 8
      speed transmission having the same issues?”] Not sure if the 2016 8
      Speeds are quite as bad. The tech told me the transmissions currently
      being put into the trucks have an updated torque converter. That was
      one problem. My tech was very friendly and did say they have had a
      ‘slew’ of problems with the 8 Speed.

      HERE IS ANOTHER UPDATE:

      I picked the truck up last night after a 24hr turn around from my
      dealership. They took the truck for a four hour drive as they called it
      and did the relearn adapt while driving around. They had one guy
      drive, and another with the computer monitoring the transmission.

      ***

      The drive home seemed to be much smoother. I will let you all know
      how it goes. I have spoken with the service manager, my sales man,

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      and the manager of my dealer and if this doesn't meet my satisfaction
      they have agreed to buy it back. I have been ultra patient with this
      whole thing, and they have been more than willing to help me this. At
      least there are some dealers out there that care about the customer.
      Believe me, I have had my fair share of different dealerships treat you
      like crap.

      I hope this fixes it because I do enjoy driving this truck around.

      On April 12, 2016

      Alright everybody. Here is the verdict.

      I have an appointment tomorrow morning to bring the truck back to
      my dealer. The ‘reprogram’ did not help at all. They told me to drive
      500 miles after the program to help it ‘learn’ further. I drove it 1000
      and it still does the same clunks. All low speed clunks. I know exactly
      when it will clunk now, so riding with my dealer should show them
      my issues.

      At this point I am planning on getting rid of the truck. I tried multiple
      times to have GM fix this damn 8 speed/clunk fiasco and they have
      failed so far. Really disappointing as this was my first new truck.

      I know I am not the only one with this issue, and I know not every
      truck built has this issue. I wish all of you luck with your trucks
      moving forward.

      55.     Others on the gm-trucks.com forum complained about the same

problem. For instance:

            a) Matt of Texas on March 14, 2016

      I’m having problems with my 8 speed as well. Tranny doesn’t engage
      well especially going from park to reverse and if you give it gas
      before it’s ready, it will hammer into reverse and jerk the whole truck
      violently. Makes you look like an idiot driver when it happens. Truck
      just lurches backwards. Also clunks when stopping or starting from
      stop. Also clanks between most shifts. This tranny was definitely not
      ready for prime time. If it had done this when I test drove it.. I would
      not have bought the truck.

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          b) Robert of Pensacola, FL on April 16, 2016, and April 20,
             2016

      Well I'm another victim of GM’s great 8sp. trans. Actually mine
      wasn't really giving me too much trouble until I took it in for the TCS
      update and my truck went crazy. I think they corrupted my computer.
      Drivers assist back up and all went bad. My RPM's were jumping
      1500 to 2000 rpms at 45 mph with the cruise. Not 5 miles down the
      road it shuttered so bad it jerked the steering wheel out of my hand.
      Now my truck has been in the shop all week with no reply except they
      tried to blame it on me for putting Denali 22in wheels on the truck.
      Said it would change the dynamics of the transmission. Needless to
      say my words weren’t that great. Its a 4 wheel drive what the hell has
      happened. Wanted to know if I had a programmer for changing the
      tire size. I know what they are trying too pull on me, and told them so.
      They are really reaching for any excuse.
      I could be another lemon victim. Really sucks I love the truck. I have
      a 30ft off shore racing boat and the 6.2 pulls it with ease.
      I know now my truck will never be the same. I'm getting too old for
      this crap.
      Also heard the Dodge 8sp was having issues also. An older gentleman
      I work with told me they are cramming too many gears in a small case
      and it won't work. Kinda makes since. I will keep updates if or when I
      get my $60,000 rolling turd back.

      …

      Lets face it all lie’s and deception. My dealer is trying everything in
      the book to blame me. Its really pathetic they would stoop so low for
      GM.
      They still have my truck, this is week 2. So lets think about that, truly
      how long does it take to program the computer. That just tells me that
      there is NOT a cure for our transmissions. It's going to take us the
      consumer to stand up for our rights and make GM figure something
      out. I smell a recall but the only one's suffering is us. Who knows how
      long it will take. Folks don't settle push it to the end, they expect us to
      give up and walk away. Lets face it the easy solution is to trade it in
      on something else but that's not the cure. I will ride my dealers ass till
      something is done. I don't give up.
      I have no clue when I'm getting my truck back, but I told the service
      manager I want my truck shifting like it was right off the lot, that's

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      what I paid for not a test machine. I'm 6' 6" and they gave me a
      regular cab with no gas at all. I'm so glad their on my side. The 2016
      truck I'm driving around in shutters, not sure the tranny size but its a
      v6. So that tells me there's no fix in sight. My dealer says its a
      software problem and not the trans. Humm!!!!!!
      I will let everyone know what happens if I ever get my truck back.

         c) “wetcoaster” on May 13, 2016

      I’m taking my truck in for the second time with 8 speed transmission
      issues. I took it in about 2 weeks ago and the performed all of the TSB
      updates for the programming and it shifted worse than ever. Clunking
      on upshifts like it was a 1980 Camaro with a stage
      25,839,874,329,876,443 shift kit.

      The last straw which made me call in for a second service
      appointment was me starting from a stop on a 3% decline at less than
      5mph it felt like I was rear ended hard. I looked back behind me and
      there was no car. I'm guessing there was no pre-load on the pinion
      gear and it was between shifts when I started to roll forward and then
      locked up with some backlash. This is strike #2. If I get it back next
      Tuesday and I have one more tranny fart, I'm going to be looking to
      do the same as the OP.

         d) Tom of New York, on November 2, 2016

      2016 gmc sierra 6.2 8 speed. I too am big gm fan. Have had many.
      This truck with the exception to the power of 6.2 is a p.o.s ...
      transmission is garbage. Engine is very noisy and idles like it wants to
      stall. Rides like a hosre. All for almost 60 grand. I'm sure it's not all of
      them but too many where there is a big problem here. On my second
      converter. Many relearns. I too would rather drive my old car than this
      new one. Headed for lemon law. Gm has had their shot.

         e) Eric Ward of Texas, on July 25, 2017

      OK truck has been at dealership (not from where truck was
      purchased) for about a week now because of steering wheel vibration
      and clunky transmission and also when left over night you start up in
      the morning it takes a few seconds for the reverse to grab. The
      dealership allowed me to drive a brand spanking new Tahoe Platinum
      so guess I cant complain. So the first time me and service personal

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      talked he said the Torque Converter would be replaced and that GM
      wanted them to empty out the transmission fluid and refill with
      different type. I will let him know about the 16-NA-014 Bulletin. I am
      sure he knows about it. Since I'm not going to mention the dealership
      at this point the technician told me they were have alot of issues with
      the 8 speeds. I love my truck and the power of the 6.2.

            f) “hotrdlx” on September 1, 2017

      I just had my torque converter replaced for shutter for the 2nd time.
      Both time they lasted roughly 16k miles. Does anyone have high
      miles on their 8sp as i am very concerned about long term reliability. I
      see now why they decreased the powertrain warranty.


            g) “MD11G200” on October 20, 2017

      My 2017 GMC sierra 1500 6.2/ 8 speed with 4k miles just had TSB
      done on relearn of C3 return spring, i took it in because of the clunky
      noise on downshifts when coming to a stop. At first i thought it was
      fixed only to discover it wasn't, still clunky. It seems to downshift
      normally half the time and clunky the other half UNDER THE SAME
      EXACT DRIVING CONDITIONS. Also took in for rough idle, they
      adjusted the motor mounts then replaced them, no fix either, giving
      the truck some more time then I'm trading it in and never buying a
      GM truck again, what a damn joke this is for the amount i paid for this
      truck. Also forgot to mention they had my truck 14 days, i got lucky
      and they gave me a little Buick car for loaner, talked with others who
      had to endure longer times without getting a loaner. i hope eventually
      a class action lawsuit against GM is created for this transmission mess
      and the way they are handling it.

      56.     On a different gm-trucks.com thread, consumers complained about the

same problem.20 For instance:

            a) Ron of Northeast Connecticut, on June 27, 2018

      Anyone have 8 speed transmission issues?

      20
        https://www.gm-trucks.com/forums/topic/213033-2017-canyon-8-speed-
absolutely-horrible, last accessed March 13, 2019.
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      It shifts way to quick into high gears, press on the gas its like you have a
      standard trans and forgot to down shift, its starts doing the chug a lug.

      Press a little more and you get the dreaded torque convertor shudder. Press a
      little more on throttle and it drops 3 or 4 gears and is screaming!

      Then there is the slow reverse engagement in the morning after it sits over
      night. And the next reverse engagement is so hard it shakes the whole
      drivetrain! I bought a new truck so I wouldn't have any issues. I dread going
      to the dealer for transmission issues at 7 thousand miles. I would trade it but
      ill loose thousands. I am really amazed GM would let this transmission out
      the door with all these problems.There are a few bulletins out with the issues
      I have. Anyone have any fixes done that solved the problem? One of the
      bulletins involves a transmission flush with mobil 1 trans fluid,im not
      buying that. The shudder is slowly getting worse,has to be wrecking the
      torque convertor clutch!

         b) Mark of Flint, Michigan, on June 27, 2018

      Welcome to the 8 speed world. It's the land of confusion for sure. No one
      knows how to fix them and if you're lucky enough to get one issue fixed
      another pops up.
      When it works right it's a great transmission...or so I hear.


         c) Mike of Long Island, on June 27, 2018

      No one can fix it because it is a pisspoor design that should never have been
      released to the public in the condition it was. Rushed out to keep up with
      other 8 speeds out there already. I am the guy who gets to try and fix the
      unfixable. I am the transmission guy at a GMC Buick dealer and I can tell
      you from experience in dealing with this piece of shit since 2014- cut your
      losses and get rid of it now.You will never be happy with it. Fast adapts,
      calibration update after update, valve body replacements and the triple flush
      on Canyon and Colorado and the one time flush on everything else.Band aid
      at best.Hopefully the ten speeds will be better. Haven't had one complaint
      yet and they have been out for a while now and the eight speeds were bad
      from day one.

         d) “CanyonHypermiler” on July 19, 2018


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      Gary, lots of the same issues in the forum with the 8 spd. My 'shudder' issues
      started around 8 thousand miles and got worse up until they found the
      technical service bulletin detailing the trans flush. The flush fixes the
      shudder, temporarily. My shudder is back with a vengeance at 23K miles.
      Taking it in again for an oil change and the transmission issue will be
      brought up again. It's under warranty.. yeah... but like you, I think there is
      probably some long term damage being done to the transmission and torque
      converter. I'll address that in my next visit with the service manager. All
      the other issues you listed with the transmisison... lazy gear changes, quick
      to find the top gear, slow to downshift when you need power are all
      characteristics of a transmission built to get high mileage at the expense of
      performance. All cars and trucks are going that way I think. That's the
      world we live in. You're on the right track knowing about the TSB on the
      trans flush. Let us know how your service visit turns out. Good luck.

         e) Phillip of California, on March 12, 2019

      It is well known, and even acknowledged by GM, that the problems with this
      transmission cannot be fixed. Therefore, as soon as possible and with as few
      miles on the vehicle as possible, take it back to a dealer and request the
      defect be repaired. Do this several times, keeping all records of when,
      where, action taken (even if none), any advice or comments made by dealer
      persons, and if possible, record everything on video with sound. Remember
      it's not the dealers fault you bought a vehicle with a problem that cannot be
      fixed by any means, but the dealer is the one that's stuck with trying to fix it.
      Obtain all the information you can find on this problem, and even similar
      problems in other models (because the same transmission is used in
      multiple other vehicles), obtain all applicable GM TCB's (such as TCB 18-
      NA-177 and TCB 18-NA-355) that have any bearing on the problem, and
      then after a "reasonable number" of repair attempts apply for Arbitration
      according to the requirements applicable in your state. In Arbitration, which
      is free to the vehicle purchaser, present all evidence regarding nature of the
      problem, past history and the manufacturers inability to correct these serious
      defects, evidence that the issue exists in the vehicle you purchased, and the
      history of repeated attempts by dealer(s) to fix the problem but that the
      problem still exists. When is all is said and done, you may be given a refund
      of the vehicle purchase price, a replacement vehicle having the same
      configuration and options, a decision to return to a dealer for further repair
      attempts, or no other action or remedy. In the case of the 8L45 / 8L90
      transmission issues, arbitration in many states has already ordered refunds
      and replacement vehicles, as the problems with this model transmission have
      been around for so long and are so well documented. In any event, Good

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      Luck.

      57.     On a different gm-trucks.com thread, consumers complained about the

same problem.21 For instance:

      Robert of Georgia, on May 10, 2018

      I have a 2015 6.2 with the 8 speed with 58k miles I have had a new
      transmission put in then a stator shaft recall done then a new torque
      converter and now once again the shutter is coming back seams like they just
      throw parts at it until the warranty runs out. Also wen the engine is in V4
      mode around 40 mph the valves sound like there about to come apart but no
      problems yet with that. Has anyone had this much trouble and any luck with
      a fix I read on another form that they went to a mobile 1 fluid and it helped a
      lot. I wonder what a new converter and flush is going to cost me after the
      warranty runs out?

      58.     Consumers also posted on cadillacforums.com.22 In a thread dedicated

to “GM's 8L45 Cadillac Automatic Transmission:”

            a) Consumer “NewYorkBill” posted on June 19, 2017:

      GM’s 8L45 Eight-Speed Cadillac CT6 Automatic Transmission: Recall,
      Replace, Re-tune or Deny

       GM’s 8L45 Eight Automatic Transmission is a clunker. GM’s customer
      assistance center acknowledges that the reviews are ‘mixed’ and one service
      bulletin has been issued. The ‘mixed’ aspect of the feedback shows that this
      8L45 works normally for a while for some owners. Internet forums are
      heating up with discussions about otherwise fine cars cursed with this crude,
      confused and embarrassingly bad 8 speed lemon.

      General Motors has managed to take its customers back several decades to
      an unpleasant time in the early development of the automatic transmission.
      The GM 8L45 Hydramatic Transmission is part of the powertrain in the

      21
          https://www.gm-trucks.com/forums/topic/211930-8l90-can-it-ever-be-
fixed/, last accessed March 15, 2019.
      22
         https://www.cadillacforums.com/forums/cadillac-forum/t-974121.html,
last accessed November 29, 2018.
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      Cadillac CT6, CTS, ATS, Chevrolet Camaro and perhaps more vehicles
      under a different name. This questionable feat of backwards design and
      engineering was accomplished with variable force solenoid technology,
      speed sensors and a processor executing hundreds of calculations and
      commands every 6.25 milliseconds. Clearly, this is not often enough, as
      evidenced by the ride experience inflicted on the driver and passengers when
      the thing desperately hunts for the proper gear and any gear will do … to
      lurch forward. With all that technology it performs far worse than the bands
      and torque converters of that our grandparents enjoyed in the 1960’s and
      later. In 2016, General Motors was simply not ready to evolve past the 6
      speed transmission but that didn’t stop it from going ahead and cursing
      entire fleets of its new vehicles with the crudest powertrain component in its
      history. And yes indeed, it weighs over 30 lbs. less than its predecessor (one
      that actually works, though evidently grossly overweight). Perhaps the
      elusive 2nd, 3rd and 4th gears each weigh 10 lbs., accounting for both the
      weight loss and crude performance.

      The 8L45 is a mess. Its crude state of performance sometimes rears its ugly
      head on a new GM vehicle on its way home from the dealership, or lurks
      deep inside its innards for a later outbreak of hard shifts, flares, thunks, and
      head jerking downshifts at random times in the early lives of the fleet. GM’s
      confidence with this clunker drove it to install it in the Cadillac CT6, CTS
      and ATS models. Dealerships are forced to appease customers with such
      phrases as ‘performs as designed’ and ‘performed adaptive fast learn’ as a
      way to force owners to get used to it. The other line of defense is that the
      transmission is learning and adapting to the driver’s style. Enduring the
      explanations and excuses of GM service technicians and service managers
      can be tiring. Confidentially, they’ll admit that the thing is a disaster.

          *          *            *
       The owner of a vehicle cursed with this clunker will know there’s a problem
      when passengers ask why the brakes are being pumped when coasting to a
      stop. That’s the 8L45’s attempt at downshifting. When the driver gingerly
      feathers the accelerator to coax the thing into gear after an auto-stop
      shutdown it may skip several gears and slam into 4th or 5th with a violent
      shutter. The driver and passengers all feel it as the entire vehicle shutters. At
      times it may seem like the driveshaft is going to come up through the
      cupholder and cellphone battery charger. Its performance is indefensible. If
      it’s shifting like an average GM vehicle and it hasn’t yet slipped into this
      confused state, it soon will. No amount of learning, adaptive fast learns or
      software tunes can apparently help it find the right gears, other than reverse
      or park, which, luckily seem to work. Dealer lots are filling up with unsold

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      inventory and returned vehicles, many with less than 2000 troubled miles on
      the odometer. Apparently, frustrated owners were not able to adapt and learn
      along with the car’s stuttering, clunking, and confused transmission.
       So, what is the future of the 8L45? Maybe a software tune can bring it under
      control. If this is not possible, and clearly, GM is in no hurry to resolve this
      issue, the fate of the 8L45 has these possible futures:

      1. It will quietly disappear in 2018, leaving the current fleet in an abyss
      of wildly unpopular clunkers. The CT6 is becoming known as the
      shimmying, stuttering, lurching flagship that looks nice.

       2. It can finally break in at 40,000 miles or so and can then find the
      correct gears at appropriate times after a few years of learning and
      adapting.

       3. Third party after-market companies will offer a way to replace and
      retrofit it with a nicely functioning transmission, like the 6L45, thus
      salvaging the resale value of the CT6 and others.

       Corporate denial doesn’t help the brand. Blaming the customer for
      expecting better shifting insults the brand loyalists. It’s clear that the 8L45
      was rushed into production without quality engineering and design.
      Hopefully, GM and its Cadillac division can conjure up a solution that can
      make its attractive CT6 flagship drive as nicely as it looks parked.

         b) Consumer “Maxplot” responded on June 21, 2017:

      The 8L90 is not any better. My 8L90 in my CT6 with turbo 3.0 is terrible.
      Worst transmission I have ever had. The 1-2 shift is hard. It also depends on
      outside temperature whether it acts up to a greater extent. I think the 8L90
      could use better fluid or better pressure sensors. []

         c) Consumer “NewYorkBill” added on June 25, 2017:

      To be clear, my article is not about those barely perceptible quivers and shift
      sequences experienced with most of the 8 speed transmissions in the market.
      What I am addressing are the violent shifts, head lurching downshifts and
      abysmal performance of GM’s 8L45 transmission that is the curse of the
      Cadillac CT6.

      The perspective formed, as presented in my post is based on two 8L45’s,
      one exhibiting all of its faults on the day of delivery and the second one

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      performing relatively normally until mile number 2435, when all hell broke
      loose. Again, this pertains to the 8L45 in two Cadillac CT6’s that I have
      owned. Additionally, an internet search of other GM discussion forums
      brings up similar complaints wherever the same transmission is part of the
      powertrain. Following through with Cadillac customer support and GM
      corporate discussions it’s clear that the customer base is not universally
      pleased with this crude transmission. As one would expect, the people in
      these two GM areas are very polite, helpful and proactive and admit there
      are concerns. It’s not about customers who not quite ready for fuel saving
      technology that needs to shift constantly. My issue with GM is its slowness
      in dealing with the CT6’s problems and the pompous pre-sale promotion of
      a transmission that ‘makes the driver unaware that it’s shifting.’ Believe me,
      when your CT6 issues loud thunks, can barely get through a busy
      intersection after an auto start/stop lurch as it searches for a gear, you’ll want
      to get rid of the thing. The CT6, with its eye-catching edgy design, can be an
      extremely unpleasant car to drive when its transmission can’t shift correctly,
      in a violent fashion.
       The notion that these things are highly sophisticated and require a long
      break-in period is silly. Some arrive from the factory in a confused state
      while others don’t lapse into their failure mode until much later. And again,
      it’s not about those common 8 speed transmissions’ slight quivers and
      shakes. Apparently 8, 9 and 10 speed transmission technology is driven by
      fuel economy and acceptable performance from a piddly little 4 or 6 cylinder
      engine. I realize that the current fleet of Cadillacs are budget luxury cars and
      expectations have to be adjusted to these price points, but can you imagine
      telling this to customers in the real luxury car market? ‘Get used to it! or
      You're not driving it right’, ‘Performs as designed’ or ‘You're expecting too
      much’ and other arguments would not set well with affluent owners.
      []

         d) Consumer Eric Kline commented on June 27, 2017:

      My 2016 CTS now has 20K miles on it, and the transmission is totally
      unpredictable. At times, especially first thing in the morning, the car drives
      great - quick smooth shifts and excellent acceleration. However, after the car
      sits for a few hours, most of the time the transmission is terrible. Harsh shifts
      and a bogged down feeling like the car is in too high of a gear. Give it some
      gas, and it lurches forward to the point that the car is hard to control. Usually
      I will then put the car in manual mode and use the shift paddles, and this
      helps a bit. I recently drove 2 Malibus with the 2.0L turbo and 9 speed
      transmission, and these cars drove MUCH better than the CTS (with a


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      sticker price of $20K less). I will never buy a GM vehicle with the 8 speed
      again...

      In response to the question “So at this time there has not been a complete
      resolution to this problem?” “NewYorkBill” further posted on October
      15, 2017:
      Well, GM is still in the 'Deny' stage. There's no word on any recalls, unit re-
      design, or retuning. This poorly designed cheap piece of crap called a
      transmission is providing headaches for service departments and owners.
      I've been told that service departments are giving up on the ‘performs as
      designed’ excuse, along with the 'relearning shift adapts' attempts and
      complete fluid changes. The current solution is a complete transmission
      replacement, which is an extensive gut of these relatively new vehicles. It's a
      $4,300 (dealer cost) warranty claim. The problem is that when the trauma is
      complete, this otherwise nice vehicle is cursed with another 8L45
      transmission. I have now owned three (yes, 3) of these transmissions over
      the past 10 months and the most recent replacement is shifting the best it
      can. Transmissions #1 and #2 failed at 1480 and 2500 miles respectively,
      with harsh flares, clunky 1-2 upshifts and NO gear after coasting through
      turns and intersections. When in that state, it’s an unsafe vehicle.
      []

         e) Consumer MHT posted on April 1, 2018 and July 4, 2018:
      Today the shift was so hard I actually thought I had been rear ended. This is
      the first time that I have ever experience the shift being this hard and yes it
      was so rough that it jerked my body. Cadillac really needs to address this
      issue in the 8L45 8 Speed before they venture off into a 10 Speed as my
      guess is at this rate it will be no better.
      …
      [W]hat may come back to haunt GM/Cadillac is how this transmission was
      promoted and advertised. There are also Cadillac models that cost less than
      the CT6 whose transmission to not exhibit this sometimes harsh shift issue.
      The last word I received from the Cadillac Customer service rep is that
      Cadillac Quality Brand is pursuing this issue and something still may yet get
      done.
      My advice to all who are reporting this issue is to keep the pressure on and
      do not back off. IMO Cadillac/GM needs to find a permanent fix, replace
      with a better transmission or consider financial compensation, to do other
      wise IMO is not acceptable

      59.   Other consumers posted their complaints about the transmission


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defect in vehicles equipped with the 8L90 and 8L45 8-speed transmissions on

carcomplaints.com.23 In a thread dedicated to the 2015 Chevrolet Corvette,

consumers posted complaints including:

      a)     8 speed automatic transmission down shifts at a stop with such force it
      feels as you have been hit from behind by another car while coming to a
      stop. Transmission also will not always engage properly and will over rev
      and slam into gear possibly causing an accident. Transmission at times will
      disengage while going forward then slam into gear with great force. I was
      told by a GM insider that GM is aware some transmissions are defective and
      is working on a kit to fix the fluid starvation problem internally but has done
      nothing to inform owners of the potential dangers of erratic shifting that it's
      causing while driving. This also causes the transmission to over heat and to
      illuminate a warning lamp.
      - Downers Grove, IL, USA

      b)     8-speed automatic transmission always shifts erratically when starting
      out cold (lazy shift, slow shift, etc.) and occasionally does not downshift
      when car comes to a stop, only to slam hard into 1st when gas pedal is
      pressed to resume travel. Dealer says GM claims this is "normal, " but no car
      I've ever owned behaves like this. Appears to be fluid starvation internally.
      Any fix/replacement would be costly for GM, so given their history w/faulty
      ignition switches, not surprised they're trying to avoid it. Transmission is
      definitely not normal and behavior is unpredictable + unacceptable --
      especially at this price. When car is moving & transmission is in drive and
      trying to lazily shift gears, you temporarily lose ability to apply power,
      which is both dangerous and unnerving. Clearly, this transmission was put
      into production w/inadequate testing & development. A recall is necessary to
      fix properly.

      - Kansas City, MO, USA

      c)    Automatic 8 speed transmission had to be replaced at 2000 miles on
      the odometer due to hard shifts and shifting automatically to low gear at
      highway speeds nearly bringing the car to a stop in interstate traffic, now
      700 miles and 4 months later the transmission is stuck in second gear and

      23

https://www.carcomplaints.com/Chevrolet/Corvette/2015/drivetrain/power_train.sh
tml, last accessed November 29, 2018.
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      you cant drive fast enough to get out of the way of traffic. And I know of
      several other cars like it that have similar problems. This is a real safety
      problem and GM seems to ignore it, probably until someone gets hurt or
      killed.

      - Lexington, KY, USA

      d)     The A8 automatic transmission in the 2015 Corvette is prone to
      occasional hard downshifts from 2nd to 1st gear when driving at slow speeds
      (less than 10 mph). Sometimes the downshifts are so violent that the car
      jerks forward several feet. The first time it happened I thought I had been
      rear ended by another car. The unpredictable behavior of the transmission is
      especially dangerous in proximity to pedestrians or other vehicles.

      - Salado, TX, USA

      e)     Automatic A8 transmission has the following issues: 1) morning shift
      from reverse to drive severely delayed, bangs in eventually. 2) erratic
      shifting in normal traffic 3) the 2-1 downshift when coming to a stop results
      in severe bang, lurches forward and is very unsafe in a parking lot situation.
      Also in stop and go traffic, same lurching forward. Feels as if someone hit
      you from behind 4) torque converter lockup in 5th and 6th gear. Dealer tore
      apart the car to replace the stator, performed software update - neither
      solution worked.

      -Murphy, TX, USA

      f)     I had my vehicle serviced at dan vaden Chevrolet in savannah, ga on
      16 Oct 2017 at (12,200 miles). My main concern was a shudder and jerky
      motion the car starts demonstrating while in motion, accompanied by
      fluctuating engine rpms. After researching on the internet there are 1000's of
      issues with these torque converters and who knows what accidents these
      failures have caused. There should be a total recall on these transmissions. A
      service department technician test drove my vehicle and confirmed and
      documented my concerns and stated it was okay to drive ? I am scheduling
      another service at (13000 miles). A search of the internet will fill you full of
      facts on these failures. Problems with the torque converters with these high
      end vehicles are well on the way to become another Corvette issue of
      epidemic proportions. Please assist.

      - Hinesville, GA, USA


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      g)      2015 Corvette stingray Z51 - 8 speed automatic transmission torque
      converter. With only 7,500 miles on the car it started to run jerky and rpms
      would fluctuate for no reason (especially at highway speeds when fully
      warmed up). Often felt like driving on a washboard dirt road. After a cold
      start, there was a delay after shifting into drive. When it engaged after
      several seconds it would do so violently, lurching the car forward suddenly.
      Dealer diagnosed faulty torque converter as defective and a known problem
      with these transmissions. After less than 2,000 miles the symptoms returned
      and the dealer again replaced the torque converter. So now I'm on my 3rd
      defective tc. After 1,700 miles, symptoms returned again! dealer said that
      Chevrolet and GM have ordered a stop on replacing the tc's since no fix was
      available. GM advised to drain and flush tranny, refilling with mobil1
      transmission fluid. This seemed to work (only for a little longer) but is
      worrisome because in the future service, a technician will likely refill with
      GM fluid, not mobil1. Especially if a second owner. Now at 16,100 miles
      the symptoms are returning! jerkiness, slamming into gear after a delay on
      cold starts. GM seems to have turned their back on stingray owners by
      kicking the can down the road beyond warrantee (with the mobil1 "band-aid
      fix"). on the forums there are so many owner complaining about this same
      issue. I am amazed that there is no official investigation resulting in a recall.
      This Z51 LT3 stingray was $75,000 otd! for this cost we should be able to
      expect a quality vehicle and a motor company that stands behind it! can
      somebody please help us with this serious and potentially dangerious
      problem?

      - Wellington, FL, USA

      60.   In a thread dedicated to the 2015 Chevrolet Silverado24, consumers

posted complaints including:

      I’ve been researching hoping to find a solution to the 8 speed transmission in
      my 2015 Silverado LTZ Custom Sport Z71 with 6.2 l. It does the same as
      many others have described on here. The shifting is horrible, feels like its
      going to rip the drive line out at times. I've taken it back to the dealer at least
      5-6 times, I've been told it needed to be reprogrammed, that it needs to get
      used to the way I drive, and poor gas. Finally the dealership replaced the
      transmission and this was great, my truck was driving and shifting like it

      24

https://www.carcomplaints.com/Chevrolet/Silverado_1500/2015/transmission/tran
smission_shifts_poorly.shtml
                                          66
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      should and then after a couple of months it went right back to doing the
      same thing, it even surges at times when you first put it in gear so you best
      have a good foot on the brake.

      I'm at a loss now, I don't know what to do. I got a price to trade it in but it
      was going to cost me a great deal more and I honestly don't see why I should
      have to spend more to get a vehicle that is mechanically sound when my
      truck only has 15,000 miles on it. I love my truck, the 6.2 has excellent
      power but what happens when my warranty runs out.

      I've watched and hoped someone would start a class action lawsuit against
      GM for knowingly selling vehicles with problems. Or have they fix the
      problem in the 2017's. I know some of the corvettes have the 6.2 motor do
      they have the 8 speed transmission also? If so do they have the same
      problems?

      As for the lemon law, I'm in Louisiana and honestly not sure if that would
      work here. I just know when you pay 56,000 dollars for a vehicle you expect
      to have zero trouble out of it.

      If anyone finds a solution please post it here for us all to see.

      - Lando S., Anacoco, LA, USA

      61.   In a thread dedicated to the 2017 Chevrolet Silverado25, consumers

posted complaints including:

      a)      My problem is like a lot of the other complaints that I've been reading.
      I purchased my 2017 LTZ Z71 with a 5.3 and 8 speed transmission in late
      2016 and after driving it for a month or so I really started to notice surges
      and jerks mostly at low speeds and sometimes slowing down coming to a
      stop. The jerks sometimes feels like I got hit from behind. After several
      visits to the dealer and long discussions with service management, I was first
      told it had to learn my driving habits. Then I was told it is a characteristic of
      the transmission. I recently took it back and they replaced the transmission
      fluid and told me they were going to replace the torque converter early next


      25

https://www.carcomplaints.com/Chevrolet/Silverado_1500/2017/transmission/surg
es_and_jerks.shtml
                                          67
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      year when the new design came out. So I guess have to just put up with it, I
      just don't know for how long.

      - Rudy D., Corpus Christi, US

      b)     Purchased 2017 Silverado 5.3 w/8 speed auto on Dec 20 2017. At
      approx 535 miles, transmission began shifting hard at speed under 15 miles
      per hour, included a "clunk" similar to a universal joint going bad. Problem
      exists with both up shift and down shift. At 2066 miles truck started to surge
      as I slowed to stop. A heavy clunk and surge gave me the impression I was
      hit from behind. I stopped at selling dealer and service advisor assured me
      that this transmission had a "learning" curve that adjusted to my driving
      habits and i should drive for 10,000 miles to allow the system to "learn" my
      habits. Deciding that sounded like a great story I Googled for Silverado's
      with 8 speed transmission issues and found more than I cared to.

      I have seen all the complaints and concerns but no solution from GM. I fear
      I have invested a bunch of money into a disaster. Having owned over 7 GM
      products over 57 years I am disappointed with this one.That said I'm heading
      back to dealer today.

      Any GM service people monitoring this or anyone that has a definitive
      solution I'd appreciate a reply.

      - Gary L., Cumming, US

      c)     $62,000.00 truck including the new CORSA 3.5" exhaust and COLD
      AIR INDUCTIONS sealed cold air intake box. This truck shifts horribly
      throughout the 1-2 shift and especially the 2-3 shift. How can these 8 speed
      transmissions function this poorly. I had a 2012 AUDI Q7 S-LINE with over
      110K miles on it. The 8 speed transmission worked flawlessly the entire
      time I owned it. Every single shift whether flooring it or accelerating as
      slowly as humanly possible, were seamless and exuded quality engineering
      and workmanship. How can this transmission shift as poorly as it does with
      only 4637 miles on my truck. GM big wigs need to start taking some pride
      and responsibility in their most profitable and best selling vehicle that they
      sell.

      - 98supra6spd, YPSILANTI, Michigan, United States




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        62.   In a thread dedicated to the 2017 Sierra Denali26, consumers posted

complaints including:

        When going slow it will shift hard and clunks sometime worse then others
        when shifting from 1st to 2nd and other times it works right. I have had it to
        the dealer at least 3 times. 1st time they said it was too new and had to learn
        my driving habits. At about 3500 miles they did a adaptive relearn. The third
        time they found an update and did a relearn, no change. Now there is around
        7500 miles on it and I was told there is nothing else they can do and this
        normal for this 8 speed transmission. At 58000 dollars it is ridiculous to
        think this is OK. They need to come up with a fix for this. I'm not the only
        one with this problem go on GMC trucks.com. There are 9 pages of
        complaints for this problem. I would be afraid to buy the new 2019 truck
        coming out, as they can't even get the current model right.
        - Rich M., Westville, NJ, US

        63.   Consumers have posted very similar complaints on

gmauthority.com.27 For instance, consumer “padrino14” posted on February 1,

2016:

        a)     I took delivery of a 2016 Sierra Denali (5.3 V8, 8-Spd, 3.42) in
        November and had to take it into the dealer a week later for a transmission
        issue (coming to a stop the truck would shudder as though the transmission
        was shifting hard into first gear or as though the engine was about to stall). 3
        weeks after taking it into the shop, GMC engineers determined that there
        was a torque converter problem that was staying engaged too long causing
        the engine to nearly stalling out when coming to a stop. They okay’d
        replacing the entire transmission for a new one. I finally got the truck back
        (a MONTH after first taking it into the shop – and yes, the truck spent 30
        days of its first 39 days of ownership in the hands of my dealer) and figured
        that would be the last of my problems. Since then, I’ve noticed that when
        yielding – or in traffic/congestion – when I’m slowing down almost to a stop
        (around 5 mph or lower), then stepping on the accelerator, there will be a

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https://www.carcomplaints.com/GMC/Sierra_1500/2017/transmission/hard_shift_i
n_and_out_of_first_gear.shtml,last accessed March 13, 2019.
        27
      http://gmauthority.com/blog/topic/2016-sierra-8-spd-issue/, last accessed
November 29, 2018.
                                           69
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      long (1 to 2 seconds) delay between me stepping on the accelerator to move
      and the truck shifting into first and beginning to accelerate. I took it to the
      dealer again, and they claimed the delay and even “hard” little shifts are
      normal for this transmission because it is “adaptive” and constantly
      learning… What? I at first bought it (they are the pros), but I’m beginning to
      hate not having the confidence of pulling out of a driveway, side street, etc.
      and being able to immediately get the power and acceleration I need to get
      out of the way (or better yet to get on my way). Is anyone else here having
      similar issues with their new GM 8-spd?

         b) Consumer rham22 posted on February 11, 2016:

      First post. Hate to see you are having problems. Thought I might be the only
      one after hearing what service department is telling me. I just bought a 2016
      Silverado LTZ with an eight speed and it shifts horrible. Love the truck but
      not fun to drive while taking off and stopping. Truck has 1400 miles on it
      because according to service department I have to get my truck to learn my
      driving habits. I am either a bad driver or have a truck with a learning
      disability. When truck sits over night or going home from work it always
      jerks a couple times taking off. Never fails. When I first bought, every time I
      would stop it would do something that felt like it was still shifting down
      when I should be stopped and actually feel like a double stop or surge
      forward. May sound crazy but really is the only way I can explain. There has
      been a couple times when I pulled into a parking spot to where it felt like I
      hit a curb because of the way it would stop. I have never experienced
      anything like this with any vehicle I have ever had. Seems like the computer
      is not in sync with the transmission at all. I will make turns and vehicle don’t
      seem to downshift when it should. I truly feel like I am driving a manual
      shift truck without using clutch. Love the truck and hope enough people
      speak up so this problem can be fixed. According to my service department
      vehicle runs as it should. If this is the case I wish I would have kept my
      perfect running 2013 Ford F-150 4×4.

         c) Consumer Dirktotten posted on November 15, 2016:

      I purchased a 2015 Sierra SLT with 6.2l and 8 Speed in August 2015 and
      when it is cold meaning its been setting a day or so, you will almost always
      get a slip in the transmission causing a several second delay. I had went to a
      show for my company in Atlanta GA and almost got hit because, I backed
      out onto the street and when I put it in forward it would not go for several
      seconds because it just revs up the stairs shudders going forward. I have
      taken it back to my dealer twice and they cannot recreate the problem so,

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      they have done nothing. I ran into a man at my dealership who was in the
      process of describing the exact same problem and gave him my business
      card to see if they fixed his issue. The dealership told him the same thing
      and he called me yesterday to let me know he and his wife got hit in the
      Highland NC because, he backed out and could not go forward just like I do
      weekly in mine. I now have a couple phone videos of mine doing it to show
      my dealer again but, I am wondering what to do as they have not done
      anything yet.

         d) Consumer mholden17 posted on December 5, 2016:

      I just bought a 2017 silverado ltz 6.2/8-speed and I’m experiencing similar
      issues! If I’m driving 35-55mph every once in a while I get a shudder in the
      wheel for a brief 1-3sec on and off while I’m at these speeds it’s so
      frustrating!! The truck has 500 miles on it and my old 1995 silverado with
      185k drove with no shudder or vibration issues.

         e) Consumer baurejim posted on December 5, 2016:

      I purchased a 2017 GMC Sierra 5.3 with the 8 speed transmission two weeks
      ago. (This is my 5th GMC truck) no previous problems.
      I now have 1000 miles on this truck.
      I noticed the truck shudders and seems to have a hesitation between gears,
      especially at low end. I went in on Dec 2nd 2016 and talked with the dealer
      who said it takes a while for the transmission to learn my driving habits.
      What? . It also clunks when taking off. Was told the clunk is normal. This
      morning Dec 5th i warmed the truck up for ten minutes put it in reverse and
      the truck would not move. just revved up. 10 seconds later it slowly starts to
      back up onto the street. I put it in drive and it still won’t go ,just reeves up
      for another 10 seconds before it finally jumps into gear. Made an
      appointment to bring it back to the dealer.
      This can not be normal for a commercial grade pickup.

         f) Consumer jimbo posted on December 19, 2016:

      I bought it brand new Dec 2015 (2015 High Country 4×4, 6.2ltr V-8) with
      the new eight-speed Hydra-Matic 8L90 transmission. So I’ve had it a year
      now and have put 19k + miles it. I noticed about a month ago when the
      engine was cold and I went from park to drive it felt as if I was parked on a
      hill and the trans was in a bind, taken 1-2 seconds before roughly engaging
      in gear. Then it started doing it more often even when the transmission fluid
      temp was above 130. Well last week it began to shudder almost like driving

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      over road strips before a stop sign. I also noticed that if I had it on cruise
      control between 40-60mph the tachometer would rev up every time it
      shuttered/vibrated. It took it back to the dealership as it is still under
      warranty and had the mechanic ride with me so he could see for himself
      what my Chevrolet was doing. He knew immediately as to what he thought
      was causing the vibration…torque converter he says! So as of right now it is
      in the shop to replace the torque converter with an upgraded one per this
      bulletin 15389 which provides a service procedure to reprogram the
      transmission control module (TCM) on certain 2015 model year Cadillac
      Escalade, Escalade ESV, Chevrolet Silverado, GMC Sierra, Yukon Denali
      and Yukon Denali XL vehicles equipped with an 8L90 8-Speed (M5U)
      transmission and 6.2L (L86) engine. These vehicles may have a condition in
      which transmission calibration allows a higher than target energy input to
      the torque converter clutch (TCC) under certain conditions. This may lead to
      faster than expected torque converter clutch material wear, and a shudder
      feeling.

         g) Consumer PissedOffGMOwner posted on November 15, 2017:

      Good day to you all. I have a 2016 Sierra with the 8 speed transmission. At
      18300 miles I took the local dealer because of a vibration at low RPM
      throughout the gear range; rough idle; and jerking gear changes from 1st to
      2nd at low speeds.
      The dealer had the truck for 5 days. They had to await the back-ordered
      tranny flush juice. They did the “triple flush” of the tranny and also replaced
      all 4 engine mounts. They claimed they updated the software on the truck
      engine management control and they also updated the software on the
      infotainment system.
      I now have 19300 miles on the truck, and it is now going back for the exact
      same reasons – rough idle (not as bad as the first time), and the start of the
      vibrations.
      I expect them to keep the truck for a week, as I dont wish to continue going
      back there every 6-8 weeks.
      I was advised that they are short handed WRT transmission specialists. This
      is a common excuse in Fort Lauderdale, with at least 5 dealers all “sharing”
      the same transmission specialists.
      My humble advise is to have them do the tranny flush and confirm there is a
      warranty on these services. I assume the flush is good for +- 1500 miles
      MAXIMUM.
      As soon as I have my truck back, i shall report the dealers explanation.

         h) Consumer t.johnson086 posted on December 12, 2017:

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      I bought a 17 Denali 6.2 w/ 8-spd in march of 17. I finally got around to
      taking to the dealer for a shifting issue from first to second gear (19k miles).
      If I was accelerating slowly it would shift very hard into second. It appeared
      as though the RPMs would go too high before shifting, then slam in to
      second. They replaced my transmission, and now I have a whole new set of
      problems. Its sluggish and hesitant between gear 1-3 or maybe 1-4 when
      accelerating, and sometimes clunks into first coming from second upon
      stopping. Needless to say I’m on the verge of trading it in.

         i) Consumer johnspd posted on August 16, 2018:

      I purchased a pre-owned 2017 GMC Z71 with the 6.2 and 8spd in April this
      year. It had 10,500 miles on it at the time and I really like/liked the truck.
      Great power, fuel economy and very comfortable. Last moth while traveling
      on the interstate (on vacation 250 miles from home) it started exhibiting the
      same problems mentioned above (like someone flipped a switch). At first I
      thought I was riding on rumble strips and tried swapping lanes, no change.
      Next I noticed the engine RPM’s were fluctuating and it felt like it was
      hunting for the right gear. It also exhibited the same problem mentioned in
      another post above when going uphill. We were not towing anything, the
      hitch had never been used when I purchased the truck and I have not pulled
      anything heavier then our 16ft boat. The truck had 16,700 miles on it when
      this started. Once we arrived at our vacation destination I did a search to see
      if other people had been experiencing problems with these transmissions and
      after viewing all the post I wished I had done more research before
      purchasing this truck.
      I was finally able to get it to the dealership and left it with them on August
      6th. They still have it and can not correct the problem. They did the flush
      and replaced the engine mounts. They also commented that they know there
      are problems with this transmission. I was told yesterday that they are trying
      to contact GM to see what to do next. I have purchased 6 new GM vehicles
      over the years and 7 pre-owned GM vehicles and never experienced
      anything like this before with them where the problem couldn’t be corrected.
      If they don’t get this corrected I will be done with GM.

         j) Consumer johnspd updated on August 21, 2018:

      The dealership called Friday (August 17th) and stated they had the problems
      resolved. I picked the truck up around noon and initially it performed great.
      After about 40 miles of driving I made a stop and upon starting the truck the
      shudder came back while idling as well as the rpm fluctuations. At highway
      speeds the shudder comes and goes and a couple of times it acted like it was

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      hunting for the right gear which was one of the problems it had before the
      repair attempt. I contacted the dealership and they stated they would look
      further into the issue. If the TCM is really “learning” my driving habits then
      I will have to agree with an earlier post that the computer has a learning
      disability.

      After a couple more days of driving the truck it is starting to look like all of
      the original issues may be returning.

      I will say the dealership has been very cooperative and wants to resolve the
      problem. They even picked up the extra cost of the rental beyond what GM
      covers.

      I have also contacted GM priority care. Below is their response and I will
      keep posting updates.

      “We understand how you like to have this issue resolved and we would like
      to work closely with you along with the GMC dealership in resolving this
      issue. Due to the nature of your concern we will endorse your case to a
      Senior Advisor who will continue to work directly with you and your
      dealership to review your vehicle and concerns. Please know that all the
      information you have provided will be available to both your dealer and
      Senior Advisor as well. We will forward your case to them and the Advisor
      and Dealer will review your case and vehicle details, and one of them will be
      in contact you within 2 business days to assist you further.”

      64.   Consumers also posted on gminsidenews.com.28

      Consumer johnnyo posted on September 12, 2017:

      2018 8 speed transmissions
      Does anybody know if the 2018 model GMC 1500 trucks have upgraded -
      improved the 8 speed transmissions? My 2016 has only 10000 miles and at
      the lower speeds it has always shifted funny and sometimes hard. Out on the
      highway it shifts good in the higher gears. I have to let it warm up alittle or it
      jumps into gear. I was going up the driveway the other day and the
      transmission just quit for a second and jumped back into gear. I have
      contacted the dealer but he says that all the 8 speed trans act that way. Wish
      now that I would have stayed with the 6 speed trans as my 2014 Tahoe has

      28
        https://www.gminsidenews.com/forums/f22/2018-8-speed-transmissions-
278401/, last accessed March 15, 2018.
                                          74
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      never given me a problem and shifts smooth.

      F.    GM Was Aware of the Transmission Defect Through Trade
            Publications

      65.   Trade publications also described the transmission defect in vehicles

equipped with the 8L90 and 8L45 8-speed transmissions in articles posted online.

For example, an article on motortrend.com reported:

      And now’s about the time we get to the part where I tell you why the
      Silverado could do with another 10 minutes in the oven, so to speak. Simply
      put, test numbers aside, we were unimpressed by how the Silverado’s
      volume 5.3-liter DFM V-8 and its eight-speed automatic performed. We’re
      disappointed to find that GM didn't fix the old 5.3’s biggest flaws: its sloppy
      throttle response at low speeds and its transmission’s over eagerness to get
      to its top gear. The truck feels powerful enough once it’s moving, but getting
      there is frustrating. “The engine has power, but it's being tag-teamed by the
      unholy GM duo of a lazy throttle pedal and a transmission that hates to
      downshift,” features editor Scott Evans said. “Every time you want to move,
      you've got to get deep into the throttle before anything useful happens. The
      shifts aren't as smooth as the 10-speed automatic, either, so you notice every
      time it’s forced to drop two gears to maintain speed up a hill.”

      The 6.2-liter V-8 and its 10-speed auto, which is only available as an option
      on the top-level Silverado LTZ and Silverado High Country, improves
      things immensely. The big V-8 has plenty of power on tap, and it sounds
      especially great when you bury your foot into the throttle. The 10-speed
      automatic is worlds better than the eight-speed, too. It feels modern and well
      sorted—basically the polar opposite of the eight-speed automatic. Its shifts
      are seamless and nearly unnoticeable, and it doesn't display the hunting
      behavior of the other transmission, either.29

      66.   An article published on thetruthaboutcars.com reported:

      The 1-2 shift sounds and feels like it’s going to rip the diff out of the axle,
      which is a common complaint about the eight-speed transmission in these

      29
         Christian Seabaugh, September 14, 2018
https://www.motortrend.com/cars/chevrolet/silverado-1500/2019/2019-chevrolet-
silverado-first-test-review/
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      vehicles. The AWD mode, which lives between 2WD and 4-High and which
      is basically the “4WD” in the Escalade/Denali, is laughably slow to respond
      to spinning rear wheels.30

      67.   An article on gmauthority.com reported:

      Improvements

      In a line buried deep within a previous announcement uncovered by GM
      Authority, Chevrolet states that the 8-speed Hydra-Matic in the 2019
      Silverado features “enhancements designed to improve shift quality, as well
      as a new centrifugal pendulum absorber torque converter that reduces
      vibrations to improve smoothness.”

      Criticisms

      In prior-generation, K2 platform Silverado and Sierra, the GM 8-speed was
      often criticized for its jerky and unexpected shifting behavior that ultimately
      worsened the satisfaction of driving and/or riding in the pickup. Whether the
      improvements made to the 8-speed gearbox in the all-new T1 platform 2019
      Sierra and Silverado will address these issues is unknown.

      G.    GM’s Knowledge of the Transmission Defect is Demonstrated by
            its Technical Service Bulletins

      68.   Over the three-year period beginning around October 2015 and up to

as recently as October 2018, GM issued a variety of additional PIs, TSBs, and

other bulletins related to the same issue: GM eight-speed automatic

transmissions—and specifically the GM 8L45 and 8L90—delayed and lurched,

shuddered, jerked, and chunked when the automatic transmission shifted gears.

      69.   Whether through customer complaints, dealer complaints, or its own



      30
         Jack Baruth, January 11, 2018
https://www.thetruthaboutcars.com/2018/01/long-term-test-2017-silverado-ltz-
10000-miles/
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testing, GM’s recognition of the Transmission Defect can be pinpointed to as at

least as early as October 13, 2015.

             1.    #PIP5337
      70.    On October 13, 2015, GM issued a preliminary information (“PI”)

bulletin to GM service personnel regarding issues with vehicles equipped with

8L90 transmissions. The PI, #PIP5337, entitled “Shake or Shudder on Acceleration

Excessive Engine RPM Fluctuation,” informed service personnel that this issue

would affect the following vehicles equipped with 8L90 transmissions: 2015-2016

Cadillac Escalades and Escalade ESVs; 2015-2016 Chevrolet Silverados; and

2015-2016 GMC Sierras, Yukons, and Yukon XLs. According to the PI, service

personnel could expect customers to report, among other things, “A shudder

feeling that may be described as driving over rumble strips or rough pavement.”

GM’s recommendation to service personnel was as follows: “These conditions

may be caused by an internal torque converter issue. A revised torque converter

that addresses these conditions will be available soon.”

      71.    #PIP5337 has been updated at least ten times since it was first issued.

On January 20, 2016, GM released #PIP5337A, which applied to the following

vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac Escalades and

Escalade ESVs; 2015-2016 Chevrolet Corvettes and Silverados; and 2015-2016

GMC Sierras, Yukons, and Yukon XLs. In this update, GM advised service

personnel to flush the transmission twice and replace the fluid using Dexron HP

(Part No.19300536), clean the transmission pan, and replace the pan and the filter.
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GM also noted, “If the condition is not resolved after completion of the second

transmission flush procedure the condition may be caused by an internal torque

converter issue. These conditions may be caused by an internal torque converter

issue. A revised torque converter that addresses these conditions will be available

soon.”

      72.    In February 2016, GM released #PIP5337B, which applied to the

following vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac

Escalades and Escalade ESVs; 2015-2016 Chevrolet Corvettes and Silverados; and

2015-2016 GMC Sierras, Yukons, and Yukon XLs. The update noted, “Equipped

with 8L90 Automatic Transmission (RPOs M5U) and the 6.2L (RPOs L86 and

LT1). Note: This information does not apply to Silverado and Sierra models with

the 5.3L (RPO L83). Please refer to PIE0353 for vehicles equipped with 5.3L

(RPO L83).” GM also noted that this update did not apply to vehicles experiencing

a shake or shudder “during vehicle launch from a stop,” “when the transmission is

shifting gears,” “when the vehicle is decelerating,” or “when TCC slip speed is

zero.” In this update, GM advised service personnel to replace the torque

converter.GM also advised service personnel to “[f]lush the cooler lines and cooler

using DT-45096 transmission oil cooling system flush and flow test tool,”

“[r]emove the transmission fluid pan and drain transmission fluid,” “[i]nstall a new

transmission filter, clean pan and magnet,” and “[i]nstall the transmission fluid pan

and refill with new transmission fluid following the fluid fill procedure in SI to


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obtain correct fluid level.” GM again instructed personnel to use Dexron HP fluid,

(Part No.19300536). In this update, GM explicitly contemplated that the Warranty

would apply to the transmission repair. At the bottom of the TSB, GM noted,

“Warranty Information. For vehicles repaired under warranty use: [Labor

Operation code] 8464810.”

      73.   On March 8, 2016, GM issued #PIP5337C, which applied to the

following vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac

Escalades and Escalade ESVs; 2015-2016 Chevrolet Corvettes and Silverados; and

2015-2016 GMC Sierras, Yukons, and Yukon XLs. The update noted, “Equipped

with 8L90 Automatic Transmission (RPOs M5U) and the 6.2L (RPOs L86 and

LT1). Note: This information does not apply to Silverado and Sierra models with

the 5.3L (RPO L83). Please refer to PIE0353 for vehicles equipped with 5.3L

(RPO L83).” #PIP5337C was substantively the same as #PIP5337B, except it

advised service personnel to use regular non-synthetic transmission fluid with part

number 19331925. In this update, GM explicitly contemplated that the Warranty

would apply to the transmission repair. At the bottom of the TSB, GM noted,

“Warranty Information. For vehicles repaired under warranty use: [Labor

Operation code] 8464810.”

      74.   On information and belief, GM issued #PIP5337D on June 3, 2016.

      75.   In August 2016, GM issued #PIP5337E, which applied to the

following vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac


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Escalades and Escalade ESVs built prior to November 1, 2015; 2015-2016

Chevrolet Corvettes and Silverados built prior to November 1, 2015; and 2015-

2016 GMC Sierras, Yukons, and Yukon XLs built prior to November 1, 2015. The

update noted, “Equipped with 8L90 Automatic Transmission (RPOs M5U) and the

6.2L (RPOs L86 and LT1). Note: This information does not apply to Silverado and

Sierra models with the 5.3L (RPO L83). Please refer to bulletin 16-NA-175 for

vehicles equipped with 5.3L (RPO L83).” In this update, GM explicitly

contemplated that the Warranty would apply to the transmission repair. At the

bottom of the TSB, GM noted, “Warranty Information. For vehicles repaired

under warranty use: [Labor Operation code] 8480518.” This version of the TSB

was also substantively the same as its predecessor, except it updated the Labor

Operation code at the bottom of the TSB.

      76.    In October 2016, GM issued #PIP5337F, which applied to the

following vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac

Escalades and Escalade ESVs built prior to November 1, 2015; 2015-2016

Chevrolet Corvettes and Silverados built prior to November 1, 2015; and 2015-

2016 GMC Sierras, Yukons, and Yukon XLs built prior to November 1, 2015. The

update noted, “Equipped with 8L90 Automatic Transmission (RPOs M5U) and the

6.2L (RPOs L86 and LT1). Note: This information does not apply to Silverado and

Sierra models with the 5.3L (RPO L83). Please refer to bulletin 16-NA-175 for

vehicles equipped with 5.3L (RPO L83).” #PIP5337F was substantively the same


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as #PIP5337E, except it advised service personnel to use synthetic transmission

fluid with part number 19353429. In this update, GM explicitly contemplated that

the Warranty would apply to the transmission repair. At the bottom of the TSB,

GM noted, “Warranty Information. For vehicles repaired under warranty use:

[Labor Operation code] 8464810.”

      77.    In November 2016, GM issued #PIP5337G, which applied to the

following vehicles equipped with 8L90 transmissions: 2015-2016 Cadillac

Escalades and Escalade ESVs built prior to November 1, 2015; 2015-2016

Chevrolet Corvettes and Silverados built prior to November 1, 2015; and 2015-

2016 GMC Sierras, Yukons, and Yukon XLs built prior to November 1, 2015. The

update noted, “Equipped with 8L90 Automatic Transmission (RPOs M5U) and the

6.2L (RPOs L86 and LT1). Note: This information does not apply to Silverado and

Sierra models with the 5.3L (RPO L83). Please refer to bulletin 16-NA-175 for all

other vehicles equipped with the 8L90 automatic transmission RPO (M5U) with

shudder concerns.” Unlike most of the previous versions, this version of #PIP5337

did not contain the qualification that it did not apply to vehicles experiencing a

shake or shudder “during vehicle launch from a stop,” “when the transmission is

shifting gears,” “when the vehicle is decelerating,” or “when TCC slip speed is

zero.” Instead, in this version, GM noted:

      Some customers may comment on any of the following conditions.




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      A shake and/or shudder during light throttle acceleration between 48
      and 104 km/h (30 and 65 mph) steady state driving when transmission
      is not actively shifting gears.

      A shudder feeling that may be described as driving over rumble strips
      or rough pavement.

      A shudder feeling that is evident in both Drive and M7 mode.

In the bulletin, GM provided instructions for diagnosing the shudder as a TCC

(torque converter clutch) shudder using picoscope and NVH software. GM noted,

“Vibrations not identified as shudder should be further investigated using the

[]Vehicle Vibration Diagnosis in SI as a starting point.” For vehicles diagnosed as

experiencing TCC shudder, GM advised service personnel to replace the torque

converter, flush the cooler lines and cooler using the DT-45096 transmission oil

cooling system flush and flow test tool, remove the transmission fluid pan and

drain the transmission fluid, install a new transmission filter, clean the pan and

magnet, install the transmission fluid pan, and refill the transmission fluid using

DEXRON HP Fluid (part number 19353429). GM further noted, “In the event that

the customer returns for a confirmed torque converter shudder after replacing the

torque converter please follow bulletin 16-NA-175.” In this update, GM explicitly

contemplated that the Warranty would apply to the transmission repair. At the

bottom of the TSB, GM noted, “Warranty Information. For vehicles repaired

under warranty use: [Labor Operation code] 8480518.”

      78.    In November 2016, GM issued #PIP5337H. This version was

substantively the same as its predecessor, but removed certain part number codes

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from a table at the bottom of the TSB. As in previous iterations of this bulletin,

GM explicitly contemplated that the Warranty would apply to the transmission

repair. At the bottom of the TSB, GM noted, “Warranty Information. For

vehicles repaired under warranty use: [Labor Operation code] 8480518.”

      79.    On information and belief, GM likely issued an update to this bulletin

numbered #PIP5337I.

      80.    On November 17, 2017, GM issued #PIP5337J, entitled “Shake or

Shudder on Acceleration.” This version applied to the following vehicles equipped

with 8L90 transmissions: 2015-2016 Cadillac Escalades and Escalade ESVs built

prior to November 1, 2015; 2015-2016 Chevrolet Corvettes and Silverados built

prior to November 1, 2015; and 2015-2016 GMC Sierras, Yukons, and Yukon XLs

built prior to November 1, 2015. GM noted, “Note: This information does not

apply to Silverado and Sierra models with the 5.3L (RPO L83). Please refer to

bulletin 16-NA-175 for all other vehicles equipped with the 8L90 automatic

transmission RPO (M5U) with shudder concerns.” In this version, GM noted:

      Some customers may comment on any of the following conditions.

      A shake and/or shudder during light throttle acceleration between 48
      and 104 km/h (30 and 65 mph) steady state driving when transmission
      is not actively shifting gears.

      A shudder feeling that may be described as driving over rumble strips
      or rough pavement.

      A shudder feeling that is evident in both Drive and M7 mode.



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In the bulletin, GM provided instructions for diagnosing the shudder as a TCC

(torque converter clutch) shudder using picoscope and NVH software. GM noted,

“Vibrations not identified as shudder should be further investigated using the

[]Vehicle Vibration Diagnosis in SI as a starting point.” For vehicles diagnosed as

experiencing TCC shudder, GM advised service personnel to replace the torque

converter, flush the cooler lines and cooler using the DT-45096 transmission oil

cooling system flush and flow test tool, remove the transmission fluid pan and

drain the transmission fluid, install a new transmission filter, clean the pan and

magnet, install the transmission fluid pan, and refill the transmission fluid using

Mobil 1 Synthetic LV ATF HP fluid. GM further noted, “In the event that the

customer returns for a confirmed torque converter shudder after replacing the

torque converter please follow bulletin 16-NA-175.” In this update, GM explicitly

contemplated that the Warranty would apply to the transmission repair. At the

bottom of the TSB, GM noted that the Labor Operation code to use if the vehicle is

under warranty is 8480518.

      81.    On October 4, 2018, GM issued #PIP5337K, entitled “Shake or

Shudder on Acceleration.” This version applied to the following vehicles equipped

with 8L90 transmissions: 2015-2016 Cadillac Escalades and Escalade ESVs built

prior to November 1, 2015; 2015-2016 Chevrolet Corvettes and Silverados built

prior to November 1, 2015; and 2015-2016 GMC Sierras, Yukons, and Yukon XLs

built prior to November 1, 2015. In this version of the bulletin, GM noted, “Please


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refer to bulletin 16-NA-175 for vehicles equipped with the 8L90 automatic

transmission RPO (M5U) with shudder concerns.” GM further noted, “Please

follow this diagnostic or repair process in Bulletin 16-NA-175, [sic] thoroughly

and complete each step If the condition exhibited is resolved without completing

every step, the remaining steps do not need to be performed.”[sic]”

             2.    Bulletin # 14-07-30-001

      82.    In September 2014, GM issued Service Bulletin #14-07-30-001,

entitled “Information on Transmission Adaptive Functions.” This bulletin applied

to the following vehicles equipped with 8L90 transmissions (RPO M5U): 2015

Cadillac Escalades and Escalade ESVs, 2015 Chevrolet Corvettes, and 2015 GMC

Yukons. In this bulletin, GM advised service personnel, “Some customers may

comment on low mileage vehicles with automatic transmission that shift feel to be

too firm (harsh) or may slip or flare. Customers should be advised that the

transmission makes use of an adaptive function that will help to refine the shift feel

while driving and improve shift quality.” In the bulletin, GM provided an

explanation of the 8-speed transmission’s adaptive learning functions, and advised

service personnel how to adapt the transmission’s learning functions “for a concern

with a 1-2 upshift” and “for a concern with a 3-1 coastdown (closed throttle) shift.”

      83.    In October 2014, GM issued Service Bulletin #14-07-30-001A,

entitled “Information on Transmission Adaptive Functions.” This bulletin applied

to the following vehicles equipped with 8L90 transmissions (RPO M5U): 2015

Cadillac Escalades and Escalade ESVs, 2015 Chevrolet Corvettes, and 2015 GMC
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Yukons. In this bulletin, GM noted, “This bulletin has been revised to add

information to the How to Adapt Your Transmission section. Please discard

Bulletin Number 14-07-30-001.” GM then provided an explanation of the Hydra-

Matic 8-speed transmission’s adaptive learning functions. GM also provided a

chart of shifts and their corresponding clutches, as well as detailed instructions for

teaching the transmission to “learn” each of these clutches.

      84.    In December 2014, GM issued Service Bulletin #14-07-30-001B,

entitled “Information on Transmission Adaptive Functions and Correcting Low

Mileage Harsh Shifts.” This bulletin applied to the following vehicles equipped

with 8L90 transmissions (RPO M5U): 2015 Cadillac Escalades and Escalade

ESVs, 2015 Chevrolet Corvettes and Silverados, and 2015 GMC Sierras, Yukons,

and Yukon XLs. In this bulletin, GM noted, “This bulletin has been revised to add

models and reference the Transmission Adaptive Values Learn procedure. Please

discard Corporate Bulletin Number 14-07-30-001A.” This bulletin was

substantially the same as its predecessor, except it also included instructions to

service personnel for resetting and “relearning” transmission adapts using the

Transmission Adaptive Values Learn procedure through GDS 2 (diagnostic

software), and noted that this software function would not resolve the issue in 2015

Corvettes built before September 29, 2014.

      85.    In January 2015, GM issued Service Bulletin #14-07-30-001C,

entitled “Information on Transmission Adaptive Functions and Correcting Low


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Mileage Harsh Shifts.” This bulletin applied to the following vehicles equipped

with 8L90 transmissions (RPO M5U): 2015 Cadillac Escalades and Escalade

ESVs, 2015 Chevrolet Corvettes and Silverados, and 2015 GMC Sierras, Yukons,

and Yukon XLs. In this bulletin, GM noted, “This Bulletin has been revised to add

a Note to the How to Adapt Your Transmission. Please discard Corporate Bulletin

Number 14-07-30-001B.” This bulletin was substantially the same as its

predecessor, except it also included the following note: “Note: The transmission

fluid temperature must be between 75°C (167°F) and 85°C (185°F) during the

drive procedure or adapts will not be learned.”

      86.    In May 2015, GM issued Service Bulletin #14-07-30-001D, entitled

“Information on Transmission Adaptive Functions and Correcting Low Mileage

Harsh Shifts.” This bulletin applied to the following vehicles equipped with 8L90

transmissions (RPO M5U): 2015 Cadillac Escalades and Escalade ESVs, 2015

Chevrolet Corvettes and Silverados, and 2015 GMC Sierras, Yukons, and Yukon

XLs. In this bulletin, GM included instructions to service personnel for resetting

and “relearning” transmission adapts using the Transmission Service Fast Learn

procedure through GDS 2, rather than the Transmission Adaptive Values Learn

procedure, as GM previously instructed.

      87.    In July 2015, GM issued Service Bulletin #14-07-30-001E, entitled

“Information on Transmission Adaptive Functions and Correcting Low Mileage

Harsh Shifts.” This bulletin applied to the following vehicles equipped with 8L90


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transmissions (RPO M5U): 2015 Cadillac Escalades and Escalade ESVs, 2015

Chevrolet Corvettes and Silverados, and 2015 GMC Sierras, Yukons, and Yukon

XLs. In this bulletin, GM noted, “This Bulletin has been revised to include

Warranty Information. Please discard Corporate Bulletin Number 14-07-30-001D.”

This bulletin was substantially the same as its predecessor, except in this version,

GM explicitly contemplated that the Warranty would apply to the transmission

repair. At the bottom of the bulletin, GM noted, “Warranty Information. For

vehicles repaired under the Powertrain coverage, use the following labor operation.

Reference the Applicable Warranties section of Investigate Vehicle History (IVH)

for coverage information,” and listed the applicable labor code as 8480318.

      88.    In March 2016, GM issued Service Bulletin #14-07-30-001F, entitled

“Information on Transmission Adaptive Functions and Correcting Low Mileage

Harsh Shifts.” This bulletin applied to the following vehicles equipped with 8L90

transmissions (RPO M5U): 2015 Cadillac Escalades and Escalade ESVs, 2015

Chevrolet Corvettes and Silverados, and 2015 GMC Sierras, Yukons, and Yukon

XLs. In this bulletin, GM advised service personnel, “Some customers may

comment on low mileage vehicles equipped with the 8L90 automatic transmission

with shifts that feel too firm (harsh), slips or flares. Customers should be advised

that the transmission makes use of an adaptive function that will help to refine the

shift feel and improve shift quality while driving. Clearing the shift adapts without

performing a Service Fast Learn should not be considered a repair procedure as the


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transmission will simply relearn the previous settings.” GM also instructed, “The

following should be used to determine what steps should be followed within this

document. The 8-Speed transmission utilizes a total of 5 clutches to obtain all the

ratios. Utilize the chart within this document to determine which clutch may

require additional adaptive learning.” GM then provided service personnel with

modified detailed instructions for diagnosing problematic shifts and performing the

appropriate “relearn” functions to adapt the clutches. In this bulletin, GM explicitly

contemplated that the Warranty would apply to the transmission repair. At the

bottom of the bulletin, GM noted, “Warranty Information. For vehicles repaired

under the Powertrain coverage, use the following labor operation. Reference the

Applicable Warranties section of Investigate Vehicle History (IVH) for coverage

information,” and listed the applicable labor code as 8480318.

      89.    In March 2017, GM issued Service Bulletin #14-07-30-001G, entitled

“Information on Transmission Adaptive Functions and Correcting Low Mileage

Harsh Shifts.” This bulletin applied only to 2015 Chevrolet Corvettes equipped

with 8L90 transmissions (RPO M5U). This bulletin was substantially the same as

its predecessors, except that GM advised service personnel, “For all truck and

utility applications with the 8L90 automatic transmission, refer to 16-NA-411 for

the latest information for correcting low mileage harsh shifts. This bulletin only

applies to the Corvette with 8L90 automatic transmission.” In this bulletin, GM

explicitly contemplated that the Warranty would apply to the transmission repair.


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At the bottom of the bulletin, GM noted, “Warranty Information. For vehicles

repaired under the Powertrain coverage, use the following labor operation.

Reference the Applicable Warranties section of Investigate Vehicle History (IVH)

for coverage information,” and listed the applicable labor code as 8480318.

             3.     TSB #16-NA-175

      90.    By at least May 31, 2016, GM knew that the 8L90 transmissions were

wearing away prematurely, causing metal shavings and debris to build up in the

transmission pan. TSB #16-NA-175, entitled “Shake and/or Shudder During Light

Throttle Acceleration, Between 48 and 104 KM/H (30 and 65 MPH) at a Steady

State,” applied to the following vehicles equipped with 8L90 transmissions (RPO

M5U): 2016 Cadillac Escalades, 2016 Chevrolet Silverados, 2016 GMC Sierras,

and 2016 GMC Yukons. In this TSB, GM advised service personnel as follows:

      Some customers may comment on any of the following conditions.

      A shake and/or shudder during light throttle acceleration between 48
      and 104 km/h (30 and 65 mph) steady state driving when transmission
      is not actively shifting gears.

      A shudder feeling that may be described as driving over rumble strips
      or rough pavement.

      A shudder feeling that is evident in both Drive and M7 mode.
In the bulletin, GM provided instructions for diagnosing the shudder as a TCC

(torque converter clutch) shudder. GM advised service personnel first to flush the

cooler lines and cooler, remove the transmission fluid pan, drain the transmission

fluid, “clean the pan/magnet if any metallic particles present and replac[ing] filter

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if debris is found,” and then install the transmission fluid pan and refill with new

transmission fluid. GM advised service personnel to drain and refill the

transmission fluid three times, removing and reinstalling the transmission fluid pan

each time. GM further noted that personnel should use “NEW DEXRON HP

Fluid” (GM Part No. 19331925).

      91.      On information and belief, GM issued an update to TSB #16-NA-175

on June 1, 2016, adding a breakpoint date.

      92.      On information and belief, GM issued an update to TSB #16-NA-175

on November 29, 2016, adding the 2017 model year and updated information to

service personnel, including graphics, in the diagnosis instructions.

      93.      On February 27, 2017, GM issued an update to TSB #16-NA-175.

This version applied to the following vehicles containing 8L90 (M5U, M5X) or

8L45 (M5T, M5N) transmissions: all GM passenger cars and trucks for model

years 2015-2017 and Cadillac, Chevrolet, and GMC brands. GM advised personnel

in this version:

      Some customers may comment on any of the following conditions.

            • A shake and/or shudder during light throttle acceleration
              between 48 and 104 km/h (30 and 65 mph) steady state driving
              when transmission is not actively shifting gears.

            • A shudder feeling that may be described as driving over rumble
              strips or rough pavement.

                   → For 2015-2016 vehicles, shudder feeling is evident in
                   both Drive and M7 mode.


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                → For 2017 vehicles, shudder feeling is evident in both
                Drive and L7 mode.

In this version of the TSB, GM provided detailed instructions for diagnosing the

shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

software. GM also provided instructions for performing the triple flush procedure

described in the first version of this TSB, noting that personnel should use Mobil 1

Synthetic LV ATF Dexron HP (Part No.19353429) fluid. GM further advised

personnel, “Shudder should improve directionally right away, but for full affect the

vehicle may need to be driven up to 200 miles (322 km). [sic] and at least two cold

to hot drive cycles before determining if the fluid flush corrected the condition or

not. Do not re-evaluate vehicle for additional customer shudder concerns until the

vehicle has been driven 200 miles (322 km).”

      94.    On information and belief, GM issued an update to TSB #16-NA-175

on April 18, 2017, updating the instructions to service personnel for testing to

determine whether the shudder is a TCC shudder.

      95.    On August 24, 2017, GM issued another update to TSB #16-NA-175,

entitled “Shake and/or Shudder During Light Throttle Acceleration Between 25

and 80 MPH (40 and 128 KM/H) at a Steady State.” This version applied to the

following vehicles containing 8L90 and 8L45 (RPOs M5U, M5T, M5N, M5X)

transmissions: all GM passenger cars and trucks for model years 2015-2017 and

Cadillac, Chevrolet, and GMC brands. GM advised personnel in this version:

      Some customers may comment on any of the following conditions.

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            • A shake and/or shudder during light throttle acceleration
              between 40 and 128 km/h (25 and 80 mph) steady state driving
              when transmission is not actively shifting gears.

            • A shudder feeling that may be described as driving over rumble
              strips or rough pavement.

            • Shudder feeling is evident in both Drive and M7 MY15-16 &
              L7 MY17 mode.

In this version of the TSB, GM provided detailed instructions for diagnosing the

shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

software. GM also provided instructions for performing the triple flush procedure

described in the first version of this TSB, using Dexron HP (Part No.19355656 –

Synthetic) fluid. GM further advised personnel, “Shudder should improve

directionally right away, but for full affect the vehicle may need to be driven up to

322 km (200 miles) and at least two cold to hot drive cycles before determining if

the fluid flush corrected the condition or not. Do not re-evaluate vehicle for

additional customer shudder concerns until the vehicle has been driven 322 km

(200 miles).” In this update, GM explicitly contemplated that the Warranty would

apply to the transmission repair. At the bottom of the TSB, GM noted, “For

vehicles repaired under the Powertrain coverage, use the following labor

operation,” listing the Labor Operation code as 8480478.

      96.      On September 19, 2017, GM issued an updated version of this TSB.

This version applied to the following vehicles containing 8L90 and 8L45 (RPOs

M5U, M5T, M5N, M5X) transmissions: all GM passenger cars and trucks for
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model years 2015-2017 and Cadillac, Chevrolet, and GMC brands. GM advised

personnel in this version:

      Some customers may comment on any of the following conditions.

         • A shake and/or shudder during light throttle acceleration
           between 40 and 128 km/h (25 and 80 mph) steady state driving
           when transmission is not actively shifting gears.

         • A shudder feeling that may be described as driving over rumble
           strips or rough pavement.

         • Shudder feeling is evident in both Drive and M7 MY15-16 &
           L7 MY17 mode.

In this version of the TSB, GM provided detailed instructions for diagnosing the

shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

software. In this version of the TSB, GM instructed service personnel to perform a

single flush and drain procedure for all vehicles except the 2017 Chevrolet

Colorado and the GMC Canyon. Specifically, GM instructed personnel to flush

and drain the cooler, clean the pan and magnet, replace the transmission filter if

needed, and circulate new transmission fluid. GM also instructed personnel to

“clean the pan/magnet if any metallic particles [are] present and replace

transmission filter is debris is found.” GM instructed personnel to use Mobil 1

Synthetic LV ATF DEXRON HP transmission fluid for this procedure. GM also

provided instructions for performing the triple flush procedure described in the first

version of this TSB for the 2017 Chevrolet Colorado and GMC Canyon. GM

instructed personnel to use Mobil 1 Synthetic LV ATF DEXRON HP transmission


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fluid for this procedure, but noted, “DEXRON VI transmission fluid may be used

to flow and flush the transmission cooling system.” For all vehicles, GM advised

personnel, “Shudder should improve directionally right away, but for full affect

[sic] the vehicle may need to be driven up to 322 km (200 miles) and at least two

cold to hot drive cycles before determining if the fluid flush corrected the condition

or not. Do not re-evaluate vehicle for additional customer shudder concerns until

the vehicle has been driven 322 km (200 miles).” In this update, GM explicitly

contemplated that the Warranty would apply to the transmission repair. At the

bottom of the TSB, GM noted, “For vehicles repaired under the Powertrain

coverage, use the following labor operation,” listing the Labor Operation code as

8480478.

      97.      On information and belief, GM issued an update to TSB #16-NA-175

on October 4, 2017, updating the VIN breakpoints.

      98.      On December 1, 2017, GM issued another update to this TSB. This

version applied to the following vehicles containing 8L90 and 8L45 (RPOs M5U,

M5T, M5N, M5X) transmissions: all GM passenger cars and trucks for model

years 2015-2018 and Cadillac, Chevrolet, and GMC brands. GM advised personnel

in this version:

      Some customers may comment on any of the following conditions.

            • A shake and/or shudder during light throttle acceleration
              between 40 and 128 km/h (25 and 80 mph) steady state driving
              when transmission is not actively shifting gears.


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          • A shudder feeling that may be described as driving over rumble
            strips or rough pavement.

          • Shudder feeling is evident in both Drive and M7 MY15-16 &
            L7 MY17 & MY18 mode.

In this version of the TSB, GM provided detailed instructions for diagnosing the

shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

software. In this version of the TSB, GM instructed service personnel to perform a

single flush and drain procedure for all vehicles except the 2017-2018 Chevrolet

Colorado and the GMC Canyon. Specifically, GM instructed personnel to use

filtered, compressed air to remove the transmission fluid from the transmission oil

cooler lines, remove the transmission fluid pan and drain the transmission fluid,

“clean the pan/magnet if any metallic particles [are] present and replace

transmission filter,” and install the transmission fluid pan and refill with new

Mobil 1 Synthetic LV ATF DEXRON HP transmission fluid. For the 2017-2018

Chevrolet Colorado and the GMC Canyon, the instructions were the same, except

that after refilling the transmission fluid, GM instructed service personnel to drain

the fluid and oil and re-install the transmission fluid pan and refill with new Mobil

1 Synthetic LV ATF DEXRON HP transmission fluid two more times. For the

2017-2018 Chevrolet Colorado and the GMC Canyon, GM also advised personnel,

“DEXRON VI transmission fluid may be used to flow and flush the transmission

cooling system. Compressed air should be used to remove any residual fluid from

transmission cooler lines.” For all vehicles, GM advised personnel, “Shudder

should improve directionally right away, but for full affect [sic] the vehicle may
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need to be driven up to 322 km (200 miles) and at least two cold to hot drive cycles

before determining if the fluid flush corrected the condition or not. Do not re-

evaluate vehicle for additional customer shudder concerns until the vehicle has

been driven 322 km (200 miles).” In this update, GM explicitly contemplated that

the Warranty would apply to the transmission repair. At the bottom of the TSB,

GM noted, “For vehicles repaired under the Powertrain coverage, use the following

labor operation,” listing the Labor Operation code as 8480478.

      99.      On December 13, 2017, GM issued another version of TSB #16-NA-

175. This version was substantially the same as its predecessor, except that GM

retracted its advice to personnel that DEXRON VI transmission fluid may be used

to flow and flush the transmission cooling system and that compressed air should

be used to remove any residual fluid from transmission cooler lines.

      100. On June 5, 2018, GM issued another version of TSB #16-NA-175.

This version applied to the following vehicles containing 8L90 and 8L45 (RPOs

M5U, M5T, M5N, M5X) transmissions: all GM passenger cars and trucks for

model years 2015-2018 and Cadillac, Chevrolet, and GMC brands except the

Chevrolet Colorado and GMC Canyon. GM advised personnel in this version:

      Some customers may comment on any of the following conditions.

            • A shake and/or shudder during light throttle acceleration
              between 25 and 80 mph (40 and 128 km/h) steady state driving
              when transmission is not actively shifting gears.

            • A shudder feeling that may be described as driving over rumble
              strips or rough pavement.
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          • Shudder feeling is evident in both Drive and M7 MY15-16 &
            L7 MY17 & MY18 mode.
In this version of the TSB, GM provided detailed instructions for diagnosing the

shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

software. In this version of the TSB, GM instructed service personnel to perform a

single flush and drain procedure for all vehicles except the 2017-2018 Chevrolet

Colorado and the GMC Canyon. Specifically, GM instructed personnel to use

filtered, compressed air to remove the transmission fluid from the transmission oil

cooler lines, remove the transmission fluid pan and drain the transmission fluid,

“clean the pan/magnet if any metallic particles [are] present and replace

transmission filter,” and install the transmission fluid pan and refill with new

Mobil 1 Synthetic LV ATF DEXRON HP transmission fluid. GM advised

personnel, “Shudder should improve directionally right away, but for full affect

[sic], the vehicle may need to be driven up to 200 miles (322 km) and a

minimum of two cold to hot drive cycles before determining if the fluid flush

corrected the condition or not. Do not re-evaluate vehicle for additional customer

shudder concerns until the vehicle has been driven 200 miles (322 km).” In this

update, GM explicitly contemplated that the Warranty would apply to the

transmission repair. At the bottom of the TSB, GM noted, “For vehicles repaired

under the Powertrain coverage, use the following labor operation,” listing the

Labor Operation code as 8480478.


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      101. On information and belief, GM issued an update to TSB #16-NA-175

on September 4, 2017, adding a “Parts Information” section.

      102. On October 11, 2018, GM issued the thirteenth version of TSB #16-

NA-175. This version applied to the following vehicles containing 8 speed

automatic transmissions: 2016-2019 Cadillac ATS (M5N, M5U); 2016-2018

Cadillac CT6 (M5N, M5U); 2016-2019 Cadillac CTS 9M5N, M5U); 2015-2017

Cadillac Escalades (M5U); 2016-2019 Chevrolet Camaros (M5T); 2016-2018

Chevrolet Camaros (M5U); 2019 Chevrolet Colorados (M5T); 2015-2019

Chevrolet Corvettes (M5U); 2015-2018 Chevrolet Silverados (M5U, M5X); 2015-

2017 GMC Yukons (M5U); 2019 GMC Canyons (M5T); 2015-2018 GMC Sierras

(M5U, M5X). GM advised personnel in this version:

      Some customers may comment on any of the following conditions.

         • A shake and/or shudder during light throttle acceleration
           between 25 and 80 mph (40 and 128 km/h) steady state driving
           when transmission is not actively shifting gears.

         • A shudder feeling that may be described as driving over rumble
           strips or rough pavement.

         • Shudder feeling is evident in both Drive and M7 MY15-16 &
           L7 MY17 & MY18 mode.

GM noted:

      Important: Do NOT replace the torque converter or transmission
      assembly for this condition. Engineer reviews have proven that
      replacing the torque converter does not provide a long-term
      solution to TCC shudder. A revised service procedure will be
      released in Q1 of 2019. If the vehicle experiences a repeat shudder
      condition, this document should be followed again.

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 In this version of the TSB, GM provided detailed instructions for diagnosing the

 shudder as a TCC (torque converter clutch) shudder using picoscope and NVH

 software. In this version of the TSB, GM instructed service personnel to perform a

 single flush and drain procedure. Specifically, GM instructed personnel to use

 filtered, compressed air to remove the transmission fluid from the transmission oil

 cooler lines, remove the transmission fluid pan and drain the transmission fluid,

 “clean the pan/magnet if any metallic particles [are] present,” and install the

 transmission fluid pan and refill with new Mobil 1 Synthetic LV ATF DEXRON

 HP transmission fluid. GM advised personnel, “Shudder should improve

 directionally right away, but for full affect [sic] the vehicle may need to be driven

 up to 200 miles (322 km) and at least two cold to hot drive cycles before

 determining if the fluid flush corrected the condition or not. Do not re-evaluate

 vehicle for additional customer shudder concerns until the vehicle has been driven

 200 miles (322 km).” In this update, GM explicitly contemplated that the Warranty

 would apply to the transmission repair. At the bottom of the TSB, GM noted, “For

 vehicles repaired under the Powertrain coverage, use the following labor

 operation,” listing the Labor Operation code as 8480478.

              4.     #PIP5405

       103. In June 2016, GM issued preliminary information service bulletin

 #PIP5405, with the subject line “Surge Misfire Feeling Sensation During Highway

 Steady State Driving.” It applied to the following vehicles with 5.3L or 6.2 L83,

 L86, LT1, and LT4 engines and MU5 8 speed automatic transmissions: 2014
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 Chevrolet Corvettes and Silverados; 2016 Chevrolet Camaros; 2014-2016 GMC

 Sierras; 2015-2016 Chevrolet Tahoes and Suburbans; 2015-2016 GMC Yukons

 and Yukon XLs; 2015-2016 Cadillac Escalades; and 2016 Cadillac CTS-Vs. In this

 bulletin, GM noted that customers might experience “[a] concern of surge misfire

 feeling sensation during highway steady state driving in manual mode or

 automatic, typically 6th, 7th, 8th gear accelerating 1000 to 2500 rpm under load.

 TCC engaged, no misfire data or P0300 codes present.” In the bulletin, GM

 advised that if these symptoms are presented, the vehicle “is operating as

 [d]esigned.” GM further advised:

       The normal operation of engines and transmissions generate various
       vibrations and engine and transmission mounts try to isolate those
       vibrations from the rest of the vehicle. While the mounts do a great
       job of isolating most vibrations there may still be certain engine loads
       and rpm's that generate vibrations that customers may feel in the
       vehicle. Changes in engine load or rpm will change the vibrations
       produced making it more or less apparent to occupants in the vehicle.
       When issues of this nature are encountered, like equipped vehicles
       should be compared, and if consistent results are identified, this
       should be considered a “normal” characteristic of the vehicle.
       104. GM issued another version of this bulletin, #PIP5405A, in June

 2016. This bulletin was substantively the same as its predecessor, except it

 applied to the following models with 6.2L, LT1 and LT4 transmissions and

 8-speed automatic transmissions: 2014-2016 Chevrolet Corevettes; 2016

 Chevrolet Camaros; and 2016 Cadillac CTS-Vs.

              5.    TSB #16-NA-014
       105. On June 28, 2016, GM issued TSB #16-NA-014, entitled “Delayed

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 Engagement After Sitting With Engine Off.” A note at the bottom of this TSB

 indicated that it was the third version of this TSB. Previous versions were released

 on Aprill 22, 2016, June 16, 2016, and November 17, 2016. This TSB applied to

 the following vehicles for model years 2015-2016: certain Cadillac Escalades and

 Escalade ESVs with 8L90 transmissions; certain Cadillac ATS and CTS with 8L45

 or 8L90 transmissions; certain Chevrolet Camaros with 8L45 or 8L90

 transmissions; certain Chevrolet Corvettes with 8L90 transmissions; certain

 Chevrolet Silverados with 8L90 transmissions; certain GMC Sierras with 8L90

 transmissions; certain GMC Yukons with 8L90 transmissions; and certain GMC

 Yukon XLs with 8L90 transmissions. GM advised personnel as follows:

       Some customers may comment on a condition of delayed engagement
       when the transmission is shifted from Park to Reverse or Park to
       Drive after the vehicle has been sitting with the engine off. This
       condition may typically occur after several hours or more commonly
       overnight.

       Customers may describe this condition as:
         • Vehicle delaying into gear.
         • Not wanting to move.
         • Feeling like the transmission is slipping.
         • Delayed engagement followed by a harsh engagement.

       Operation will be normal for the subsequent engagements throughout
       the day and the condition will not occur until the vehicle sits again
       with the engine off for several hours or overnight.
 GM noted, “This condition may be caused by the torque converter draining the

 transmission fluid back into the transmission pan.” GM recommended that service

 personnel address the problem by replacing parts of the transmission and/or the


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 transmission pan, depending on the symptoms described by the customer. In this

 update, GM explicitly contemplated that the Warranty would apply to the

 transmission repair. At the bottom of the TSB, GM noted that for vehicles repaired

 under the Warranty, service personnel should use Labor Operation code 8465020.

       106. GM issued another version of this TSB on November 17, 2016. This

 version was substantially the same as its predecessor, but contained updated

 instructions for replacing parts of the transmission and/or the transmission pan.

              6.     PIE0405

       107. On April 7, 2017, GM issued #PIE0405. This engineering information

 bulletin was entitled, “Engineering Information—Torque Converter Shudder.” It

 applied to the following vehicles for model year 2017 and VINs beginning on

 March 1, 2017, for transmissions 8L90 (M5U, M5X) and 8L45 (M5T, M5N):

 Cadillac ATS, CT6, CTS, and Escalades; Chevrolet Camaros, Colorados,

 Corvettes, and Silverados; and GMC Canyons, Sierras, and Yukons. In this

 bulletin, GM advised, “Some customers may comment on a shake or shudder while

 driving.” GM further advised service personnel, “GM Engineering is attempting to

 determine the root cause of the above condition. Engineering has a need to gather

 information on vehicles PRIOR to repair that may exhibit this condition. As a

 result, this information will be used to ‘root cause’ the customer’s concern and

 develop/validate a field fix.” In this bulletin, GM instructed service personnel, “If

 you encounter a vehicle with the above concern, refer to the diagnosis instructions

 outlined in Bulletin number 16-NA-175 to confirm torque converter shudder.” The
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 bulletin advised service personnel that once they had confirmed the torque

 converter shudder, they should contact one of two engineers to report on their

 findings. GM explicitly contemplated that the Warranty would apply to the

 transmission diagnosis. At the bottom of the bulletin, GM provided a Labor

 Operation code to use if the vehicle was under Warranty: Labor Code 8480618.

       108. On September 21, 2017, GM issued an updated version of this

 bulletin: #PIE0405A. This bulletin was substantively the same as its predecessor,

 except that it also applied to 2018 model year Cadillac ATS, CT6, CTS, and

 Escalades; 2018 model year Chevrolet Camaros, Colorados, Corvettes, and

 Silverados; and 2018 GMC Canyons and Sierras.

       109. GM then issued an updated version of this bulletin: #PIE0405B. This

 version was substantively the same as its predecessor, except it emphasized that it

 applied to vehicles built after March 1, 2017. It also included the following note:

 “If the vehicle you’re working on was built before March 1, 2017 use TSB 16-NA-

 175 for diagnostics.”

       110. On January 26, 2018, GM issued an updated version of this bulletin:

 #PIE0405C. This bulletin applied to the same vehicles as its predecessor, but

 instead of instructing GM personnel to diagnose the root cause of the shudder, the

 bulletin simply stated, “If you encounter a vehicle with the above condition, refer

 to the latest version of 16–NA-175.”

              7.    TSB #18-NA-355

       111. On January 17, 2019, GM issued TSB 18-NA-355, entitled “Shake
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 and/or Shudder During Light Throttle Acceleration Between 25 and 80 MPH (40

 and 128 KM/H) at Steady Speed,” which applied to the following vehicles

 equipped with 8L45 or 8L90 transmissions: 2016-2019 Cadillac ATS and CTS,

 2016-2018 Cadillac CT6, and 2015-2017 Cadillac Escalades; 2016-2019 Chevrolet

 Camaros, 2017-2019 Chevrolet Colorados, 2015-2019 Chevrolet Corvettes, 2015-

 2018 Chevrolet Silverados; 2017-2019 GMC Canyons, 2015-2018 GMC Sierras,

 and 2015-2017 GMC Yukons. In this TSB, GM advised its service personnel:

    Some customers may comment on any of the following conditions:

    • A shake and/or shudder during light throttle acceleration between 25 and 80
      mph (40 and 128 km/h) steady state driving when transmission is not
      actively shifting gears.

    • A shudder feeling that may be described as driving over rumble strips or
      rough pavement.

    Shudder feeling is evident in both Drive and M7 (MY15-16) and L7

 (MY17/MY18) mode.

 GM advised service personnel first to determine whether the vibration was “TCC

 [torque converter clutch] shudder” using a picoscope. GM advised that if the cause

 of the vibration is TCC shudder, service personnel should flush the transmission.

 The TSB issued by GM contained images of the transmission flush equipment that

 GM service personnel should use to flush the transmissions, and gave specific,

 illustrated instructions for triple flushing and exchanging the transmission fluid in

 the Colorado, Canyon, Silverado, Sierra, Yukon Denali and Escalade models with

 “new blue label Mobil 1 Synthetic LV ATF HP fluid.” GM further advised service

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 personnel to “[p]erform the Transmission Fluid Level and Condition Check

 outlined below in this procedure.”

       The TSB 18-NA-355 issued by GM also gave detailed, illustrated

 instructions for triple flushing and exchanging the transmission fluid in the

 Camaro, CTS and ATS models not equipped with a rear differential cooler. GM

 again noted, “The exchange process is required to obtain proper level of new blue

 label Mobile 1 Synthetic LV ATF HP fluid,” and advised personnel to “[p]erform

 the Transmission Fluid Level and Condition Check outlined below in this

 procedure.”

       The TSB 18-NA-355 issued by GM further gave detailed, illustrated

 instructions for triple flushing and exchanging the transmission fluid in the

 Camaro, CTS and ATS models equipped with a rear differential cooler. GM again

 noted, “The exchange process is required to obtain proper level of new blue label

 Mobile 1 Synthetic LV ATF HP fluid.”

       The TSB 18-NA-355 issued by GM further gave detailed, illustrated

 instructions for triple flushing and exchanging the transmission fluid in the

 Corvette and CT6 models. GM again noted, “The exchange process is required to

 obtain proper level of new blue label Mobile 1 Synthetic LV ATF HP fluid,” and

 further noted, “Important: The Drain and Fill Procedure Will Need to be

 Performed Three Times.” GM further advised service personnel to “[p]erform the

 Transmission Fluid Level and Condition Check outlined below in this procedure.”


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       The TSB contained instructions for performing the Transmission Fluid Level

 and Condition Check. It also provided parts information for service personnel to

 reference. Finally, GM explicitly contemplated that this TSB would apply to

 vehicles covered under the Warranty. GM noted in the TSB, “For vehicles repaired

 under the Powertrain coverage, use the following labor operation. Reference the

 Applicable Warranties section of Investigate Vehicle History (IVH) for coverage

 information.” The labor operation codes were set out in a table.

       112. For a period of time, GM advised its service personnel that because

 the 8-speed automatic transmissions are “adaptive,” they needed to “learn” the

 drivers’ individual driving habits in order to shift smoothly and predictably. But by

 October 11, 2018, GM admitted to its dealers that it had not yet developed a

 permanent solution to the Transmission Defect that affects all passenger cars and

 trucks equipped with the 8L45 or 8L90 transmissions, despite having been aware

 of the problem since at least October 2015.

              8.    Other Bulletins

       113. From at least September 30, 2015 to November 20, 2018, GM issued

 more than a dozen additional bulletins regarding the Transmission Defect.

       114. On January 25, 2016, GM issued TSB #16-NA-019, entitled

 “Information on Transmission Adaptive Functions and Correcting Low Mileage

 Harsh Shifts, Slips, or Flares.” This TSB applied to all 2016 passenger cars and

 trucks branded Buick, Cadillac, Chevrolet, or GMC, and equipped with 8L90 or

 8L45 automatic transmissions (RPOs M5U, M5T, M5N, M5X). GM noted in this
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 TSB, “Some customers may comment on low mileage vehicles with an automatic

 transmissions [sic] that they shifting may feel too firm (harsh), slips, or flares.

 Customers should be advised that the transmission makes use of an adaptive

 function that will help to refine the shift feel while driving and improve shift

 quality.” The bulletin then provided an explanation of the Hydra-Matic 8-speed

 transmission’s adaptive learning functions, as well as detailed instructions for

 resetting and “relearning” each shift. GM explicitly contemplated that this bulletin

 would apply to vehicles covered under the Warranty. GM noted that for vehicles

 under Warranty, service personnel should use Labor Operation code 8480318.

       115. On January 29, 2016, GM issued TSB #15-NA-007, entitled “Firm

 Garage Shifts, Start Up Clunk, DTC P16F3 (Reprogram TCM)31.” This TSB

 applied to the following vehicles from model years 2015-2016 with 8L90 (M5U)

 transmissions: Cadillac Escalades; Chevrolet Corvettes and Silverados; GMC

 Sierras; and GMC Yukons. In this TSB, GM advised personnel:

       Some customers may comment on any of the following conditions:

            • Firm garage shifts, Park to Drive or Park to Reverse after the vehicle

               has be [sic] sitting for several hours with the engine off.

            • A clunk noise that occurs as the engine starts or immediately after

               engine start.


       31
         “TCM” stands for “transmission control module” and is a computer that
 processes transmission signals to regulate the transmission’s gear shifting. Like
 most computers, it runs software and can be programmed.
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          • An Illuminated MIL where DTC Pl6F3 is found as an active or history

              DTC.

 GM advised personnel that a revised calibration had been developed to address

 these concerns, and further instructed, “Update the transmission control module

 (TCM) using the Service Programming System (SPS) with the latest software

 available on TIS2WEB.” GM explicitly contemplated that this bulletin would

 apply to vehicles covered under the Warranty. GM noted that for vehicles under

 Warranty, service personnel should use Labor Operation code 2810175. On

 information and belief, this was the fourth version of this TSB. Previous versions

 were released on September 30, 2015, October 21, 2015, and January 22, 2016.

       116. In February 2016, GM issued #PIE0353. This preliminary information

 bulletin was entitled, “Engineering Information—Shake or Shudder on Light

 Throttle Acceleration or Steady State Cruise.” It applied to the 2016 Chevrolet

 Silverados and the 2016 GMC Sierras equipped with the 8L90 (RPO M5U)

 transmission and 5.3 Engine (RPO L83). In this bulletin, GM advised, “Some

 customers may comment on a shake or shudder on light acceleration or steady state

 cruise.” GM further advised service personnel, “GM Engineering is attempting to

 determine the root cause of the above condition. Engineering has a need to gather

 information on vehicles PRIOR to repair that may exhibit this condition. As a

 result, this information will be used to ‘root cause’ the customer's concern and

 develop/validate a field fix.” The bulletin contained instructions for observing the


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 TCC (toque converter clutch) slip and advised service personnel to gather the

 resulting observations and contact one of two engineers to report on their findings.

 GM explicitly contemplated that the Warranty would apply to the transmission

 diagnosis. At the bottom of the bulletin, GM provided a Labor Operation code to

 use if the vehicle was under Warranty: Labor Code 8480428.

       117. On June 28, 2016, GM issued TSB #16-NA-213, entitled “Diagnostic

 Tip for Harsh Shifts After Mileage Accumulation Without Previous Transmission

 Repairs and/or Calibration Updates.” This TSB applied to the following 2015-2016

 vehicles equipped with 8L90 and 8L45 automatic transmissions (RPOs M5U,

 M5T, M5N): Cadillac Escalades; Cadillac ATS, ATS V, CTS, and CTS V;

 Chevrolet Corvettes and SIlverados; and GMC Sierras. In this bulletin, GM

 advised service personnel that customers may comment that the transmission “has

 developed a harsh shift.” GM further advised that some transmissions built

 between July 1, 2015 and September 14, 2015 may have “a suspect Clutch Control

 Solenoid,” and should have the valve body replaced.

       118. On November 15, 2016, GM issued bulletin #PIP5437A, entitled

 “8L45 8L90 Diagnostic Tips for Harsh Shifts. This bulletin applied to 2015-2017

 Cadillac Escalades and Escalade ESVs with 8L90 transmissions, 2016-2017

 Cadillac ATS, ATS-V, CTS, and CTS-Vs with 8L45 or 8L90 transmissions, 2015-

 2017 Chevrolet Corvettes and Silverados with 8L90 transmissions, 2016-2017

 Chevrolet Camaros with 8L45 and 8L90 transmissions, and 2015-2017 GMC


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 Sierras and Yukons with 8L90 transmissions. In this bulletin, GM noted, “Some

 customers may comment on the transmission in their vehicle is not shifting

 correctly,” and that “This condition may be caused by one or more clutch fill times

 not completely learned in the TCM.” GM proceeded to advise personnel to check

 for diagnostic trouble codes and complete a test drive with the vehicle in an

 attempt to duplicate the customer’s concern. Depending on the brand and model of

 vehicle, GM advised service personnel to perform various types of TCM

 calibrations. GM also advised service personnel to refer to various other bulletins

 for information on how to perform “relearn” processes on the transmissions’

 adaptive learning functions. GM further noted, “Transmissions that continue to

 experience shift quality issues in both Drive and Manual Mode 7th Gear after

 completing the learn process or developed a poor quality shift after mileage

 accumulation has developed should have the transmission pan removed and

 inspected for excessive clutch debris.” A note at the bottom of this bulletin

 indicated that it was the second version of this bulletin, and that a previous version

 had been released on November 14, 2016.

       119. On January 20, 2017, GM issued TSB #16-NA-411, entitled “Harsh

 1-2, Harsh 3-1 Decel Downshift, Harsh Downshifts Under Heavy Throttle, AFM

 Transition and Step In Clunk During Downshift.” This TSB applied to 2015-2016

 Cadillac Escalades, Chevrolet Silverados, and GMC Sierras and Yukons, all with

 L86 engines and 8L90 transmissions. In this TSB, GM noted that some customers


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 may comment that they are experiencing one or more of the following conditions

 regarding their transmission:

           • Harsh 1-2 upshift (except for the first 1-2 upshift of the day)

           • Harsh 3-1 downshift when de-accelerating to a stop

           • Harsh downshift under heavy throttle apply

           • Active Fuel Management (AFM) V4 to VB transition harshness

           • Coast down downshifts

 GM advised service personnel that new software had been developed to address

 these conditions, and further advised service personnel to install the new software

 and perform “relearn” procedures on the shifts. GM noted, “The transmission may

 exhibit poor shift quality until the clutch values are learned.” GM provided detailed

 instructions to service personnel for programming the transmission control module.

 However, GM also noted that this correction procedure would not correct several

 shifting-related complaints, including “Shift quality of the first 1-2 shift of the

 day,” “Power-On lift foot upshifts (Heavy throttle application followed by a closed

 throttle application which results in a transmission up shift),” “Engine or Chassis

 induced vibrations.” TCC Shudder (Refer to PIP5337 and Bulletin 16-NA-175),”

 “Delayed/slow engagement (Refer to Bulletins 16-NA-014 and 16-NA-364),” and

 “Engine or Chassis induced vibrations.” GM explicitly contemplated that this

 bulletin would apply to vehicles covered under the Warranty. GM noted, “For

 vehicles repaired under warranty, use” Labor Operation code 8480578. A note at

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 the bottom of this TSB indicated that it was the second version of the TSB. A

 previous version was issued on January 20, 2017.

       120. On March 3, 2017, GM issued Bulletin #14-07-30-001G, entitled

 “Information on Transmission Adaptive Functions and Correcting Low Mileage

 Harsh Shifts.” On information and belief, this was the seventh version of this

 bulletin. Bulletin #14-07-30-001G applied to the 2015 Chevrolet Corvette,

 equipped with the 8L90 transmission (RPO M5U). In this bulletin, GM noted,

 “Some customers may comment on low mileage vehicles equipped with the 8L90

 automatic transmission with shifts that feel too firm (harsh), slips or flares.

 Customers should be advised that the transmission makes use of an adaptive

 function that will help to refine the shift feel and improve shift quality while

 driving. Clearing the shift adapts without performing a Service Fast Learn should

 not be considered a repair procedure as the transmission will simply relearn the

 previous settings.” The bulletin then provided an explanation of the Hydra-Matic

 8-speed transmission’s adaptive learning functions, as well as detailed instructions

 for resetting and “relearning” each shift. GM explicitly contemplated that this

 bulletin would apply to vehicles covered under the Warranty. GM noted, “For

 vehicles repaired under the Powertrain coverage, use the following labor operation.

 Reference the Applicable Warranties section of Investigate Vehicle History (IVH)

 for coverage information,” and listed labor code 8480318.




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       121. In April 2017, GM issued TSB #16-NA-404, with the subject line

 “Harsh Shift, Delayed Shift, Unwanted Downshift, Transmission Stuck in One

 Gear, Erratic Shifting, Hesitation or Have a Malfunction Indicator Lamp (MIL)

 Illuminated - DTC P0747, P0777, P0797, P2715 or P2724 May Be Set Current or

 History in Transmission Control Module.” This TSB applied to the following 2017

 Cadillacs: ATS and CTS built before December 6, 2016, CT6 (Excluding RPO

 I16) built before November 17, 2016, and Escalades built before December 16,

 2016, all with automatic 8L45 and 8L90 transmissions (M5T, M5N, M5U, M5X).

 It also applied to the following 2017 Chevrolets: Camaros built before December

 6, 2016, Corvettes built before December 8, 2016, and Silverados, Suburbans

 (excluding RPO I16), and Tahoes (Excluding RPO I16) built before December 16,

 2016, all with automatic 8L45 and 8L90 transmissions (M5T, M5N, M5U, M5X).

 It also applied to 2017 GMC Sierras and Yukons (excluding RPO I16) built before

 December 16, 2016, with automatic 8L90 transmissions (M5U, M5X). GM noted

 that customers may comment that they are experiencing “one or more of the

 following conditions:”

          • Harsh shift

          • Delayed shift

          • Unwanted downshift

          • Transmission stuck in one gear

          • Erratic shifting

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            • Hesitation between shifts

            • MIL illuminated

 GM noted that service personnel might find that the affected vehicle’s computer

 displayed certain diagnostic codes. GM noted, “This condition may be caused by a

 calibration anomaly in the Transmission Control Module (TCM).” And advised

 personnel that the correction was to reprogram the TCM with the latest software.

 GM explicitly contemplated that this bulletin would apply to vehicles covered

 under the Warranty. GM noted, “For vehicles repaired under warranty, use” Labor

 Operation code 2810175. A note at the bottom of this bulletin indicated that this

 was the second version of this TSB. A previous version was issued on April 7,

 2017.

         122. On June 12, 2017, GM issued bulletin #PIE0419, entitled

 “Engineering Information - Proceed Only If Diagnostics and Root Cause Activities

 Have Determined A Transmission Assembly Replacement.” GM noted, “Proceed

 )111ith this El ONLY if the Technician has determined that a transmission

 replacement is required to repair the vehicle. If the Technician does not need to

 replace the transmission to repair the vehicle, disregard the PI and proceed with the

 repair as found in published service information.” This bulletin applied to 2017

 Cadillac ATS, CTS, and Escalades, 2017 Chevrolet Camaros, Colorados,

 Corvettes, Silverados, Suburbans, and Tahoes, and 2017 GMC Canyons, Sierras,

 and Yukons, containing any type of engine and 8L45, 8L90, 6L80 or 6L90


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 transmissions. GM noted, “Some customers may comment on harsh, delayed,

 and/or improper shifts,” and advised service personnel, “GM Engineering has a

 need to gather information on vehicles PRIOR to a transmission replacement. As a

 result, this information will be used to help determine a more robust ‘root cause’

 process.” GM instructed service personnel to contact a particular engineer if the

 problem is diagnosed in a vehicle with an 8-speed automatic transmission. GM

 explicitly contemplated that this bulletin would apply to vehicles covered under the

 Warranty. GM noted that for vehicles examined under warranty, use Labor

 Operation code 8480628.

       123. On July 21, 2017, GM issued TSB #16-NA-361, entitled “Information

 on Transmission Harsh 1-2 Shift Upon First Start Up/Shift of the Day Under Light

 Throttle.” This TSB applied to the following Cadillac models: 2016-2017 ATS,

 CTS, and CT6, and 2015-2017 Escalades, with automatic 8L45 and 8L90 (M5T,

 M5N, M5U, M5X) transmissions. It also applied to the following Chevrolet

 models: 2016-2017 Camaros, 2017 Colorados (VIN S, T), 2015-2017 Corvettes,

 and 2017 Expresses and Silverados, with automatic 8L45 and 8L90 (M5T, M5N,

 M5U, M5X) transmissions. It also applied to the following GMC models: 2017

 Canyons, 2017 Savanas, and 2015-2017 Sierras and Yukons, with automatic 8L45

 and 8L90 (M5T, M5U, M5X) transmissions. In this TSB, GM noted, “Some

 customers may comment that the transmission exhibits a harsh 1-2 shift on the first

 shift of the day, typically under light throttle.” GM further noted, “This condition


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 is due to the initial clutch fill time of the 2-3-4-6-8 (C4) clutch.” GM advised

 service personnel, “Important: Replacing transmission components or complete

 assemblies will not improve the condition.” GM proceeded to explain that “the first

 1-2 shift of the day may be harsh,” but that service personnel should not replace

 any parts for this condition. GM claimed, “This condition will not impact the

 designed performance or reliability of the vehicle.” A note at the bottom of this

 TSB indicated that this was the fourth version of this TSB. Previous versions were

 issued on November 18, 2016, April 6, 2017, and July 20, 2017.

       124. On June 5, 2018, GM issued TSB #18-NA-177, entitled “Shake

 and/or Shudder During Light Throttle Acceleration Between 25 and 80 MPH (40

 and 128 KM/H) at Steady Speed.” This TSB applied to 2017-2018 Chevrolet

 Colorados and GMC Canyons built before June 1, 2018 and equipped with 8L45

 (M5T) 8-speed automatic transmissions. In this TSB, GM noted that some

 customers may comment that they are experiencing the following conditions:

          • A shake and/or shudder during light throttle acceleration between 25
            and 80 mph (40 and 128 km/h) steady state driving when transmission
            is not actively shifting gears.

          • A shudder feeling that may be described as driving over rumble strips
            or rough pavement.

 GM noted, “Shudder feeling is evident in both Drive and M7 mode.” GM advised

 service personnel first to determine whether the vibration was “TCC [torque

 converter clutch] Shudder” using picoscope and NVH software. GM advised that if

 the cause of the vibration is TCC shudder, service personnel should replace the

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 torque converter assembly, remove the transmission oil pan and drain all fluid and

 discard, replace the transmission oil filter, clean the transmission oil pan and

 magnet, and reinstall the transmission oil pan and fill the transmission with Mobil

 1 Synthetic LV ATF DEXRON HP transmission fluid. In this update, GM

 explicitly contemplated that the Warranty would apply to the transmission repair.

 At the bottom of the TSB, GM noted, “For vehicles repaired under the Powertrain

 coverage, use the following labor operation,” listing the Labor Operation code as

 8480768.

       125. On September 11, 2018, GM issued TSB #18-NA-235, entitled

 “Information on Surge, Chuggle, Misfire, Fishbite, Shudder Feel During Driving

 Maneuvres.” This bulletin applied to the following vehicles: 2015-2017 Cadillac

 Escalades with 6.2L engines and 8L90 (M5U) transmissions; 2015-2018 Chevrolet

 Silverados with 5.3 (L83) and 6.2 (L86) engines and 8L90 (M5U, M5X)

 transmissions; 2019 Silverado 1500s (new models) with 5.3 (L84) engines and

 8L90 (MQE) transmissions; 2019 Chevrolet Suburbans with 5.3 (L83) and 6.2

 (L86) engines and 8L90 (M5U) transmissions; 2018-2019 Cevrolet Tahoes with

 5.3 (L83) and 6.2 (L86) engines and 8L90 (M5U) transmissions; 2015-2018 GMC

 Sierras with 5.3 (L83, L84) and 6.2 (L86) engines and 8L90 (M5U, M5X, MQE)

 transmissions; 2019 GMC Sierra 1500s (new models) with 5.3 (L84) engines and

 8L90 (MQE) transmissions; and 2015-2017 Yukons with 6.2 (L86) engines and

 8L90 (M5U) transmissions. In this TSB, GM noted that some customers may


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 comment on a surge, chuggle, misfire, fishbite, shudder concern while traveling

 under the following conditions:

          • A Steady road speed between approximately 35 and 55 mph (56-89

              km/h)

          • TCC applied

          • Light steady throttle conditions

          • TCC slip is steady (10-25 rpm)

 GM advised service personnel that “[i]f TCC slip is steady and there are no

 misfires, the condition should be considered characteristic of the vehicle and no

 repairs should be attempted.” A note at the bottom of the TSB indicated that this

 was the third version of this TSB. Previous version were released on July 20, 2018,

 August 8, 2018, and September 10, 2018.

       126. On November 20, 2018, GM released TSB #18-NA-356, entitled

 “Vibration and/or Noise Heard During Hard Acceleration at Speeds of 77 km/h (48

 mph) to 83 km/h (52 mph). This TSB applied to 2015-2018 Chevrolet Colorados

 and GMC Canyons with 3.6L (RPO LGZ) engines and 8L45 (RPO M5T)

 transmissions. In this TSB, GM noted, “Some customers may comment on a

 vibration and/or noise heard during hard acceleration at speeds of 77 km/h (48

 mph) to 83 km/h (52 mph).” GM advised service personnel, “This condition may

 be caused when the driveline angles get extreme during axle wind up resulting in

 2nd order vibration.” GM further advised personnel that this could be corrected by

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 installing a tapered shim between the axle and leaf spring to adjust the angle

 following the procedure below.” GM proceeded to provide detailed instructions to

 personnel on how to install the shim.

       H.     Despite Opportunities, GM Failed to Inform Potential Purchasers
              or Lessees of the Transmission Failure.
       127. Despite having a wide variety of options for informing potential

 purchasers or lessees of the Transmission Defect, GM has concealed its knowledge

 of the Defect and has never disclosed it. For example, GM has an extensive

 website for consumers interested in GM-brand vehicles. Under the tab “SHOP,”

 consumers can select the make and model of GM-brand car they wish to

 investigate. The webpages displayed when the consumer clicks on a particular type

 of vehicle do not inform consumers of the transmission defect.

       128. Within the “SHOP” tab, consumers can click on an “FAQ” tab. The

 FAQs contain no references to the Transmission Defect.

       129. The website also contains links to the websites of GM-owned brands,

 such as Chevrolet, GMC, and Cadillac. These websites do not contain any

 warnings to consumers or information about the Transmission Defect.

       130.   The websites for individual GM-owned brands contain tabs for

 consumers to locate a dealer. These dealers also have information about the 8L45

 and 8L90 transmissions, provided to them by GM. As detailed below, these dealers

 did not apprise Plaintiffs or similarly situated consumers about the Transmission

 Defect.

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       131. The websites for individual GM-owned brands also contain links to

 brochures to vehicle protection plans.32 While these protection plans list

 “transmission” as one of the car parts potentially covered under a warranty, the

 brochures do not and did not apprise Plaintiffs or similarly situated consumers

 about the Transmission Defect.

       132. Individual GM-owned brands, including Chevrolet and Cadillac, also

 have YouTube channels displaying their vehicles in action.33 These videos provide

 information about vehicles equipped with 8L45 and 8L90 transmissions that

 prospective purchasers could review. The videos on the GM-owned brand channels

 do not disclose any information about the Transmission Defect.

       I.       Plaintiffs’ Experiences

                1.    Richard Francis

       133. Plaintiff Richard Francis purchased his 2017 GMC Yukon Denali at

 an authorized Buick dealership—Glen Buege Buick GMC in Lansing, Michigan—

 on August 22, 2017. At the time of his purchase he had browsed vehicles in his

 authorized dealership and discussed his purchase with an authorized Buick dealer.

 At all times, Plaintiff Francis operated his vehicle properly and in a foreseeable

 manner.




       32
          See, e.g.,
 https://www.chevrolet.com/content/dam/chevrolet/na/us/english/index/owners/war
 ranty/02-pdfs/gmqd16clx70-chevy-protection-plan-brochure.pdf
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            See, e.g., https://www.youtube.com/user/cadillac
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       134. Almost immediately after Mr. Francis made his purchase, his Yukon

 Denali began jerking, harsh shifting, shuttering, and surging. In particular, Mr.

 Francis’ Yukon Denali lurches and downshifts hard.

       135. Mr. Francis has given his authorized GMC dealership notice of the

 Transmission Defect. When Mr. Francis brought his vehicle in for an oil change,

 he called and let the dealership know that he had been experiencing difficulty with

 his transmission. He also brought his vehicle to his authorized dealership on March

 25, 2019 to discuss the transmission issue. His dealership performed a software

 update, but this did not resolve the Transmission Defect. Mr. Francis’ vehicle has

 continued to show symptoms of the Transmission Defect. Mr. Francis’ vehicle is

 still covered by the Warranty.

       136. GM did not disclose the Transmission Defect to Mr. Francis at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, at its dealership, or to its dealers, Mr. Francis

 would have learned of that material information, and would not have purchased his

 Yukon Denali or paid the price he paid for it.

              2.     Wesley Won

       137. Plaintiff Wesley Won purchased his 2016 Cadillac Escalade at an

 authorized Cadillac dealership—Stewart Chevrolet Cadillac in Colma, California--

 on May 11, 2017. At the time of his purchase he had reviewed Cadillac marketing

 materials and also discussed his purchase with an authorized Cadillac dealer. At all

 times, Plaintiff Won operated his vehicle properly and in a foreseeable manner.
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       138. Approximately six months after Mr. Won purchased his Escalade, the

 vehicle began to shift hard between first and second gear, especially when the

 vehicle was cold. Mr. Won’s Escalade also sometimes hesitates around 1st or 2nd

 gear, as though it’s about to stall. When Mr. Won drives on the freeway, when the

 transmission is supposed to kick down, the transmission bogs down, as though it

 doesn’t know what to do. His vehicle also shudders and vibrates.

       139. When Mr. Won tries to accelerate but his Escalade hesitates between

 gears, Mr. Won feels unsafe on the road. For the moment when his transmission

 hesitates, his vehicle doesn’t have any power, and he doesn’t know whether the car

 is about to die or begin accelerating faster than he expects.

       140. Mr. Won has given his authorized Cadillac dealership notice of the

 Transmission Defect. On March 27, 2018, Mr. Won brought his Escalade back to

 the Stewart Chevrolet Cadillac dealership where he bought his for an oil change

 and to ask about the transmission. At that time, Mr. Won’s vehicle had 7,224 miles

 on the odometer and was covered by the Warranty. On the service invoice, the

 dealership noted, “Customer states at times getting on freeway under load

 transmission hits hard.” The dealership further noted, “Technician was unable to

 verify customer’s concern,” and “Technician performed scan check and noted no

 fault codes in system. Also no service bulletins for this concern. Technician road

 tested vehicle and was unable to verify concern. No repairs made at this time.

 Recomend [sic] customer come in and road test with technician.” However, this


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 did not resolve the Transmission Defect, and Mr. Won’s vehicle has continued to

 show symptoms of the Transmission Defect.

       141. GM did not disclose the Transmission Defect to Mr. Won at any time

 prior to his purchase of his vehicle. Had GM disclosed the Transmission Defect in

 its advertising materials, on its websites, or to its dealers, Mr. Won would have

 learned of that material information, and would not have purchased his Escalade or

 paid the price he paid for it.

              3.     Dennis Speerly

       142. Plaintiff Dennis Speerly purchased his 2017 GMC Canyon at an

 authorized Chevrolet dealership—Dekalb Sycamore Chevrolet in Sycamore, IL—

 on or around April 14, 2017. At the time of his purchase he had reviewed GMC

 marketing materials and also discussed his purchase with an authorized GMC

 dealer. At all times, Plaintiff Speerly operated his vehicle properly and in a

 foreseeable manner.

       143. Approximately 4 months after purchasing his vehicle, Mr. Speerly’s

 GMC Canyon began vibrating, shuttering, and surging, especially when the vehicle

 was driven at about 50 to 60 MPH. The vehicle would also make a knocking noise

 when Mr. Speerly began to drive after the engine had been off. The vehicle also

 hesitated upon acceleration, as though it were stuck in gear.

       144. Mr. Speerly has given his authorized Chevrolet dealership notice of

 the Transmission Defect. On January 13, 2018, Mr. Speerly brought his vehicle

 back to the authorized dealership where he purchased it in order to have the
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 transmission inspected. At that time, the vehicle had 13,482 miles on the odometer

 and was covered by the Warranty. Upon assessing Mr. Speerly’s vehicle, the

 dealership noted that it “verified” Mr. Speerly’s concern, and that service

 personnel consulted TSB 16-NA-175. Pursuant to that bulletin, the dealership

 flushed and drained the transmission fluid in Mr. Speerly’s Canyon. Dealership

 personnel also noted that they removed the transmission pan and changed the filter.

 However, this did not resolve the Transmission Defect.

       145. Mr. Speerly brought his vehicle back to Dekalb Sycamore Chevrolet

 to have his transmission inspected again on September 4, 2018. At that time, the

 vehicle had 30,669 miles on the odometer and was covered by the Warranty.

 Dealership personnel noted that they could confirm that the transmission vibrated,

 and that it “feels like TCC [torque converter clutch] shudder.” Dealership

 personnel also noted that when they “enable and disable TCC,” the “fault goes

 away.” Dealership personnel then replaced the torque converter and the filter.

 However, this did not resolve the Transmission Defect.

       146. Mr. Speerly brought his vehicle back to Dekalb Sycamore Chevrolet

 to have his transmission inspected again on December 3, 2018. At that time, the

 vehicle had 36,930 miles on the odometer and was covered by the Warranty.

 Dealership personnel noted that they “Inspect[ed] for vibration starting at 20 MPH,

 can feel it in shift knob.” Personnel further noted that the vehicle’s computers did




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 not display any diagnosis codes. Finally, personnel noted, “No repair available

 until quarter 1 in 2019.” This also did not resolve the Transmission Defect.

       147. GM did not disclose the Transmission Defect to Mr. Speerly at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, on its websites, or to its dealers, Mr. Speerly

 would have learned of that material information, and would not have purchased his

 Canyon or paid the price he paid for it.

              4.     Joseph Sierchio

       148. Plaintiff Joseph Sierchio purchased his 2016 Chevrolet Camaro at an

 authorized Chevrolet dealership—Schumacher Chevrolet in Little Falls, NJ—on

 July 9, 2016. At the time of his purchase he had reviewed Chevrolet marketing

 materials and also discussed his purchase with an authorized Chevrolet dealer. At

 all times, Plaintiff Sierchio operated his vehicle properly and in a foreseeable

 manner.

       149. In autumn of 2018, Mr. Sierchio’s Camaro began exhibiting signs of

 the Transmission Defect. When he was driving at high speeds, his Camaro began

 shuddering and slamming when the gears shifted. His Camaro would also shift into

 lower gears on flat roads when it was not supposed to, and would hesitate when

 shifting before slamming into gear. It also began vibrating.

       150. Mr. Sierchio has given his authorized GM dealership notice of the

 Transmission Defect. Mr. Sierchio first brought his vehicle in to his authorized

 GM dealership to address the Transmission Defect on or around October 5, 2018.
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 At that time, his vehicle was covered by the Warranty. The dealership’s personnel

 advised him that he needed to have his transmission fluids flushed, and they

 flushed and changed the transmission.

       151. On December 11, 2018, Mr. Sierchio brought his Camaro in to the

 dealership where he purchased his vehicle. At that time, the vehicle had 25,338

 miles on the odometer and was covered by the Warranty. Dealership personnel

 noted, “Customer states ongoing issue with transmission vibration is sues and

 weird shifting problems. Shifts are harsh and hesitates then bangs into gear. See

 history. Vibration from trans on highway is better. Shutter is felt more at lower

 speeds. Will also have trans braking come on when he feels it should not. Advised

 customer GM is aware of concern and a release date of late January/February to

 correct issue. No repair done at this time.” This did not resolve the Transmission

 Defect.

       152. GM did not disclose the Transmission Defect to Mr. Sierchio at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, on its websites, or to its dealers, Mr. Sierchio

 would have learned of that material information, and would not have purchased his

 Camaro or paid the price he paid for it.

              5.     Michael Plafker

       153. Plaintiff Michael Plafker leased his 2017 GMC Sierra Denali at an

 authorized GMC dealership—Vanburen GMC in Garden City, NY—on September

 8, 2017. At the time of his purchase he had reviewed GMC marketing materials
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 and also discussed his lease with an authorized GMC dealer. At all times, Plaintiff

 Plafker operated his vehicle properly and in a foreseeable manner.

       154. Shortly after leasing his vehicle, Mr. Plafker’s Sierra Denali began

 vibrating and surging forward, particularly in low speeds, when the vehicle shifts

 into first or second gear. The transmission would also clunk.

       155. Mr. Plafker has given his authorized GMC dealership notice of the

 Transmission Defect. Since leasing his Sierra Denali, Mr. Plafker has brought his

 vehicle back to an authorized GMC dealership to have the transmission inspected.

       156. He first brought his vehicle to Van Buren Buick GMC in Garden City

 Park, New York, where he asked service personnel to look into his transmission

 issue, and further asked whether there was a service bulletin that might address the

 problem. His vehicle was covered by the Warranty at that time. Dealership

 personnel drove Mr. Plafker’s Sierra Denali and advised him that the vehicle was

 driving normally. This did not resolve the Transmission Defect.

       157. Mr. Plafker also raised the issue of the transmission when he next

 brought his vehicle to the dealership for an oil change, but the dealership did not

 offer any solutions. Mr. Plafker’s vehicle was covered by the Warranty at that

 time. This did not resolve the Transmission Defect.

       158. Mr. Plafker’s vehicle still suffers from the Transmission Defect,

 which has not been resolved. His vehicle has approximately 22,000 miles on the

 odometer and is still covered by the Warranty.


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       159. GM did not disclose the Transmission Defect to Mr. Plafker at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, on its websites, or to its dealers, Mr. Plafker

 would have learned of that material information, and would not have leased his

 Sierra Denali or paid the price he paid for it.

              6.     Howard Young

       160. Plaintiff Howard Young purchased his 2015 Chevrolet Corvette at an

 authorized Chevrolet dealership—Paul Brown Chevrolet in Olean, NY—on or

 around May 18, 2015. At the time of his purchase he had discussed his purchase

 with an authorized GMC dealer. At all times, Plaintiff Young operated his vehicle

 properly and in a foreseeable manner.

       161. Shortly after purchasing his vehicle, Mr. Young’s Corvette began to

 hesitate and stutter. Particularly in the morning, Mr. Young’s Corvette shudders

 while shifting up or down, and the shudder during downshifts is growing worse.

 When Mr. Young drives his vehicle at slower speeds, the transmission jumps and

 shudders, and sometimes feels as though it’s about to break. When Mr. Young

 drives at faster speeds on interstates, at approximately 80-90 mph, the transmission

 sometimes nosedives without warning. Mr. Young is able to recover from the

 nosedive by shifting down, which allows the vehicle to begin moving again.

       162. Mr. Young has given authorized Chevrolet dealerships notice of the

 Transmission Defect. Since purchasing his Corvette, Mr. Young has brought his

 vehicle to at least four authorized dealerships to inquire about the transmission.
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       163. First, Mr. Young brought his Corvette back to the dealership where he

 purchased his vehicle, where he inquired about the transmission. His Corvette was

 still under warranty at that time. The dealership told him that there was nothing

 wrong with his Corvette, and that there were no recalls that applied to his vehicle.

 That dealership advised him that he needed to let the vehicle learn how he drives.

 This did not resolve the Transmission Defect.

       164. He also brought his Corvette into authorized Chevrolet dealerships in

 Pennsylvania and North Carolina. His Corvette was still under warranty at both of

 those times. At both dealerships, GM personnel informed Mr. Young that there

 was no problem with his vehicle.

       165. Mr. Young also brought his Corvette into an authorized Chevrolet

 dealership, All American Chevrolet in Odessa, TX, on December 21, 2016. At that

 time, the vehicle had 35,171 miles on the odometer and was covered by the

 Warranty. GM personnel noted, “Cust[omer] states trans[mission] jerks going into

 2nd and slips[.]” Personnel further noted, “out of calibration found updated

 software for transmission control module reprogrammed transmission control

 module and performed setup warranty codes 18BA9 and FD2CF[.]” However, this

 software update did not resolve the Transmission Defect.

       166. Mr. Young brought his Corvette into an authorized Chevrolet

 dealership, Rudolph Chevrolet in El Paso, TX, on March 13, 2018. During that

 visit, Mr. Young requested transmission services, so dealership personnel installed


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 a new transmission filter and replaced the transmission fluid. This did not resolve

 the Transmission Defect.

       167. Mr. Young’s vehicle still suffers from the Transmission Defect, which

 has not been resolved. His vehicle has approximately 70,000 miles on the

 odometer, so it is no longer covered by the Warranty. Since the Warranty expired

 on Mr. Young’s vehicle, he has spent approximately $2,500 out of pocket trying to

 repair the Transmission Defect, including by spending money on gas lines, cooling

 lines, and an inner cooler.

       168. GM did not disclose the Transmission Defect to Mr. Young at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, on its websites, or to its dealers, Mr. Young

 would have learned of that material information, and would not have purchased his

 Chevrolet Corvette or paid the price he paid for it.

              7.     Darrin Degrand
       169. Plaintiff Darrin Degrand purchased his 2018 GMC Canyon at an

 authorized GMC dealership—James Wood Buick GMC Denton--in Denton, Texas,

 on July 13, 2018. At the time of his purchase he had reviewed GMC marketing

 materials and also discussed his purchase with an authorized GMC dealer. At all

 times, Plaintiff Degrand operated his vehicle properly and in a foreseeable manner.

       170. By October 2018, Mr. Degrand’s vehicle started shuttering between

 second and third gears. Also, if Mr. Degrand’s vehicle stayed off for more than a


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 day and then Mr. Degrand put it into gear, the vehicle hesitated for a while before

 finally moving.

       171. Mr. Degrand took his vehicle back to the dealership where he

 purchased it to have the vehicle inspected on December 13, 2018. At that time, the

 vehicle had 7,058 miles on the odometer and was covered by the Warranty. GM

 personnel noted, “Customer states on cold start when shifting to drive it hesitates

 to engage and take off,” and further noted, “unable to duplicate.” GM personnel

 also noted, “Did a cold start 3 times. There are no codes and no updates available.

 No bulletins apply. TAC had no cases and suggested customer fill out 01-00-89-

 010L to aid in transmission diagnostics. I was unable to duplicate concern at this

 time.” Mr. Degrand’s case was assigned the TAC Case #9-4957409255. This did

 not resolve the Transmission Defect.

       172. GM did not disclose the Transmission Defect to Mr. Degrand at any

 time prior to his purchase of his vehicle. Had GM disclosed the Transmission

 Defect in its advertising materials, on its websites, or to its dealers, Mr. Degrand

 would have learned of that material information, and would not have purchased his

 Canyon or paid the price he paid for it.

                              CLASS ALLEGATIONS

       173. Plaintiffs re-allege and incorporate by reference herein all of the

 allegations contained in paragraphs 1 through 172.

       174. Pursuant to Fed. R. Civ. P. 23(b)(2), (b)(3) or (c)(4), Plaintiffs assert


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 classes based on upon the applicable State law of the Plaintiffs:

        a) Michigan Class: All residents of Michigan who purchased or leased a

           GM passenger vehicle equipped with a GM 8L45 or 8L90 transmission

           from April 10, 2015 to the present.

        b) California Class: All residents of California who purchased or leased a

           GM passenger vehicle equipped with a GM 8L45 or 8L90 transmission

           from April 10, 2015 to the present.

        c) Illinois Class: All residents of Illinois who purchased or leased a GM

           passenger vehicle with a GM 8L45 or 8L90 transmission from April 10,

           2015 to the present.

        d) New Jersey Class: All residents of New Jersey who purchased or leased

           a GM passenger vehicle equipped with a GM 8L45 or 8L90 transmission

           from April 10, 2013 to the Present.

        e) New York Class: All residents of New York who purchased or leased a

           GM passenger vehicle equipped with a GM 8L45 or 8L90 transmission

           from April 10, 2015 to the Present.

        f) Texas Class: All residents of Texas who purchased or leased a GM

           passenger vehicle equipped with a GM 8L45 or 8L90 transmission from

           April 10, 2015 to the present.

       175. Excluded from the Class are the Defendant, any entity in which

 Defendant has a controlling interest, and Defendant’s officers, directors, legal


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 representatives, successors, subsidiaries, and assigns. Also excluded from the Class

 is any judge, justice, or judicial officer presiding over this matter and the members

 of their immediate families and judicial staff.

         176. This action has been brought and may properly be maintained as a

 class action as it satisfies the numerosity, commonality, typicality, adequacy, and

 superiority requirements. Plaintiffs seek to represent an ascertainable Class, as

 determining inclusion in the Class can be done through the Defendant’s own

 records, or that of Defendant’s dealers.

         177. Plaintiffs reserve the right to amend the Class definition if discovery

 and further investigation reveal that the Class should be expanded, divided into

 subclasses, or modified in any other way.

         178. Although the precise number of Class members is unknown and can

 only be determined through appropriate discovery, Plaintiffs believe, and on that

 basis allege, that the proposed Class is so numerous that joinder of all members

 would be impracticable as Defendant has sold hundreds of thousands of affected

 vehicles nationwide during the proposed class period.

         179. Questions of law and fact common to the Plaintiff Class exist that

 predominate over questions affecting only individual members, including inter

 alia:

         a.    Whether the GM 8L45 and 8L90 transmissions suffer from a common

 defect;


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       b.     When Defendant knew of the Transmission Defect;

       c.     Whether Defendant omitted material facts about the Transmission

 Defect at the time of sale;

       d.     Whether the Transmission can be fixed or must be replaced;

       e.     Whether Defendant breached the implied warranty of merchantability

 by selling vehicles equipped with transmissions that created uncomfortable and

 unsafe driving conditions and that eroded prematurely due to the Transmission

 Defect;

       f.     Whether the Defendant’s conduct was unconscionable, nullifying

 durational limits in the express warranties; and

       g.     Whether the Defendant’s conduct was purposefully or recklessly

 indifferent to class members purchasing or leasing vehicles equipped with GM

 8L45 or 8L90 transmissions.

       180. Plaintiffs are members of the putative Class. The claims asserted by

 the Plaintiffs in this action are typical of the claims of the members of the putative

 Class, as the claims arise from the same course of conduct by the Defendant and

 the relief sought is common.

       181. Plaintiffs will fairly and adequately represent and protect the interests

 of the members of the putative Class, as their interests coincide with, and are not

 antagonistic to, the other Class members. Plaintiffs have retained counsel

 competent and experienced in both consumer protection and class action litigation.


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       182. Certification of the Class is appropriate pursuant to Fed. R. Civ. P.

 23(b)(3) because questions of law or fact common to the respective members of the

 Class predominate over questions of law or fact affecting only individual members.

 This predominance makes class litigation superior to any other method available

 for the fair and efficient adjudication of these claims including consistency of

 adjudications. Absent a class action it would be highly unlikely that the members

 of the Class would be able to protect their own interests because the cost of

 litigation through individual lawsuits might exceed the expected recovery.

       183. A class action is a superior method for the adjudication of the

 controversy in that it will permit a large number of claims to be resolved in a single

 forum simultaneously, efficiently, and without the unnecessary hardship that would

 result from the prosecution of numerous individual actions and the duplication of

 discovery, effort, expense, and the burden of the courts that individual actions

 would create.

       184. The benefits of proceeding as a class action, including providing a

 method for obtaining redress for claims that would not be practical to pursue

 individually, outweigh any difficulties that might be argued with regard to the

 management of the class action.

       185. Plaintiffs also seek class certification under Fed. R. 23(b)(2) to hold

 that the warranty limitation on the express and implied warranty is unconscionable

 in light of Defendant’s knowledge of the latent defect, and the likelihood of it to


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 continue to manifest after the 5 year/60,000 mile limitation powertrain warranty. A

 class-wide ruling striking that limitation would allow class members to obtain

 additional relief from Defendant resulting from the Transmission Defect.

       186. To the extent the Court finds class certification under 23(b)(3) not

 tenable, Plaintiffs seek issue class certifications regarding the following common

 issues, whose resolution would materially advance the litigation:

                a. Whether the GM 8L45 and 8L90 transmissions suffer from a

                   common defect;

                b. When Defendant knew of the Transmission Defect;

                c. Whether Defendant omitted material facts about the

                   Transmission Defect at the time of sale;

                d. Whether the Transmission can be fixed or must be replaced;

                e. Whether the Defendant’s conduct was unconscionable, nullifying

                   durational limits in the express warranties.

                                CAUSES OF ACTION

                                       COUNT I

  BREACH OF WRITTEN WARRANTY UNDER THE MAGNUSON-MOSS
                     WARRANTY ACT
                    15 U.S.C. § 2301 et seq.
                       (By All Plaintiffs)

       187. Plaintiffs incorporate the allegations set forth above in paragraphs 1

 through 172 as if fully set forth herein.



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       188. Plaintiffs and the members of each State subclass are “consumers”

 within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

       189. GM is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

 § 2301(4)-(5).

       190. The Subject Vehicles are “consumer products” within the meaning of

 15 U.S.C. § 2301(1).

       191. GM’s Warranty is a “written warranty” within the meaning of 15

 U.S.C. § 2301(6).

       192. GM breached the express warranty by:

                  a. Providing a 3 year/36,000 miles New Vehicle Limited Warranty

                     with the purchase or lease of Subject Vehicles, thereby

                     warranting to repair or replace any defective part at no cost to the

                     owner or lessee;

                  b. Providing a 5 year/60,000 miles Powertrain Warranty with the

                     purchase or lease of Subject Vehicles, thereby warranting to

                     repair or replace any defective drivetrain part at no cost to the

                     owner or lessee;

                  c. Selling and leasing Subject Vehicles with defective

                     transmissions, requiring repair or replacement within the

                     warranty period; and




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                 d. Refusing and/or failing to honor the express warranties by

                     repairing or replacing, free of charge, the defective transmissions.

          193. Plaintiffs and the prospective class members relied on the existence

 and length of the express warranties in deciding whether to purchase or lease the

 Subject Vehicles.

          194. GM’s breach of the express warranties has deprived Plaintiffs of the

 benefit of their bargain. It has also led them to purchase vehicles of diminished

 value.

          195. The amount in controversy of Plaintiffs’ individual claims meets or

 exceeds the sum or value of $25.00. In addition, the amount in controversy meets

 or exceeds the sum or value of $25.00 (exclusive of interests and costs) computed

 on the basis of all claims to be determined in this suit.

          196. GM has been afforded a reasonable opportunity to cure its breach of

 the written warranties by Plaintiffs and the other class members. Further, GM’s

 position conveyed through TSBs or through authorized dealers, is that no

 permanent fix to the Transmission Defect exists, making any further opportunity to

 fix the defect futile. Defendant was also on notice of the Transmission Defect from

 the complaints and service requests it received from Plaintiffs or class members, as

 well as from its own warranty claims, customer complaint data, parts sales data,

 and/or TSBs and other service bulletins.




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       197. As a direct and proximate cause of GM’s breach of the written

 warranties, Plaintiffs and class members sustained damages and other losses in an

 amount to be determined at trial. GM’s conduct damaged Plaintiffs and class

 members, who are entitled to recover actual damages, consequential damages,

 specific performance, diminution in value, costs, including statutory attorney fees,

 and/or other relief as deemed appropriate.

                                       COUNT II

                     BREACH OF EXPRESS WARRANTY
                         Michigan Comp. Laws § 440.2313
           (By Plaintiff Francis on Behalf of All Michigan Purchasers)

       198. Michigan Plaintiff and the Michigan Class incorporate the allegations

 set forth above in paragraphs 1 through 172 as if fully set forth herein.

       199. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under Michigan UCC § 440.2313 to conform the 8L45 and

 8L90 transmissions to the express warranties.

       200. When Michigan Plaintiff and the members of the Michigan Class

 purchased and/or leased their vehicles with 8L45 or 8L90 transmissions (either as

 new vehicles or as used vehicles with remaining warranty coverage), GM

 expressly warranted under its Warranty that it would correct any correct any

 vehicle defect found within the warranty period, and cover all towing, parts, and

 labor needed to correct the defect.




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        201. The defect at issue in this litigation was present at the time vehicles

 equipped with 8L45 or 8L90 transmissions were sold and leased to Michigan

 Plaintiff and members of the Michigan Class.

        202. GM breached its express warranties (and continues to breach these

 express warranties) because it did not (and has not) corrected the defect with the

 8L45 and 8L90 transmissions.

        203. Pursuant to its express warranties, GM was obligated to correct the

 defect in the 8L45 and 8L90 transmissions in the vehicles owned or leased by

 Michigan Plaintiff and the Michigan Class members.

        204. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the transmissions are

 adequate under the terms of the Warranty, as the attempted fixes did not cure the

 defect.

        205. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        206. Michigan Plaintiff and the members of the Michigan Class have

 performed each and every duty required of them under the terms of the warranties,

 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s conduct as described throughout this Complaint.


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       207. GM received timely notice regarding the problems from Michigan

 Plaintiff when he brought his vehicle to his dealership. GM also received notice

 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.

       208. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would exclude or limit coverage for the defect in the 8L45 and 8L90

 transmissions would be unconscionable. GM’s warranties were adhesive, and did

 not permit negotiation, or the inclusion of defects. GM possessed superior

 knowledge of the Transmission Defect prior to offering the Subject Vehicles for

 sale. GM concealed and did not disclose this defect, and GM did not remedy the

 defect prior to sale (or afterward). Any effort to otherwise limit liability for the

 defect is null and void.

       209. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.

       210. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.




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       211. Michigan Plaintiff and the Michigan Class members have suffered

 damages caused by GM’s breach of its express warranties and are entitled to

 recover damages, including but not limited to diminution of value.

                                     COUNT III

      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                        Mich. Comp. Laws § 440.2314
         (By Plaintiff Francis on Behalf of All Michigan Purchasers)

       212. Michigan Plaintiff and the Michigan Class incorporate the allegations

 set forth above in paragraphs 1 through 172 as if fully set forth herein.

       213. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom Michigan Plaintiff and the

 Michigan Class members bought or leased their vehicles, for the intended purpose

 of consumers purchasing the vehicles. GM knew that the vehicles equipped with

 8L45 and 8L90 transmissions would and did pass unchanged from the authorized

 dealers to Michigan Plaintiff and the Michigan Class members, with no

 modification to the transmission.

       214. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to Mich. Comp. Laws § 440.2314.




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       215. GM impliedly warranted that vehicles equipped with the 8L45 and

 8L90 transmissions were of good and merchantable condition and quality—fit and

 safe for their ordinary intended use, namely providing reliable transportation.

       216. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold and at all times thereafter, were not in merchantable

 condition or quality and were not fit for their ordinary intended purpose.

       217. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       218. Michigan Plaintiff and the Michigan Class members have been

 damaged as a direct and proximate result of GM’s breach of the implied warranty.

       219. Michigan Plaintiff and the Michigan Class members have performed

 each and every duty required of them under the terms of the warranties, except as

 may have been excused or prevented by the conduct of GM or by operation of law

 in light of GM’s unconscionable conduct.

       220. GM received timely notice regarding the problems from Michigan

 Plaintiff when he brought his vehicle to his dealership. GM also received notice

 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.




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       221. Michigan Plaintiff and the Michigan Class members have had

 sufficient dealings with either GM or its agents (authorized GM dealerships and

 repair facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because Michigan Plaintiff and the Michigan Class members

 are intended third-party beneficiaries of contracts between GM and its dealers;

 specifically, they are intended beneficiaries of GM’s implied warranties. The

 dealers were not intended to be the ultimate consumers of vehicles equipped with

 the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       222. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, Michigan Plaintiff and the Michigan Class members

 were caused to suffer economic damage, including paying a price premium for

 defective vehicles and diminution in value of the vehicles equipped with 8L45 or

 8L90 transmissions, as well as the monies spent and to be spent to repair and/or

 replace their vehicles.

                                       COUNT IV

    VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                         Mich. Comp. Laws § 445.902
         (By Plaintiff Francis on Behalf of All Michigan Purchasers)

       223. Michigan Plaintiff and the Michigan Class incorporate the allegations

 set forth above in paragraphs 1 through 172 as if fully set forth herein.


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       224. GM’s business acts and practices alleged herein constitute unfair,

 unconscionable and/or deceptive methods, acts or practices under the Michigan

 Consumer Protection Act (“MCPA”).

       225. At all relevant times, Michigan Plaintiff and all members of the

 Michigan Class were “persons” within the meaning of the MCPA, Michigan

 Comp. Laws § 445.902(1)(d).

       226. At all relevant times, GM was a “person” engaged in “trade or

 commerce” within the meaning of the MCPA, Mich. Comp. Laws § 445.902(1)(d)

 and (g).

       227. The practices of GM, described above, violate the MCPA for, inter

 alia, one or more of the following reasons:

              a. GM represented that goods or services have sponsorship, approval,

                 characteristics, uses, and benefits that they do not have;

              b. GM provided, disseminated, marketed, and otherwise distributed

                 uniform false and misleading advertisements, technical data and

                 other information to consumers regarding the performance,

                 reliability, quality and nature of the 8L45 and 8L90 transmissions

                 and vehicles equipped with the 8L45 and 8L90 transmissions;

              c. GM represented that goods or services were of a particular

                 standard, quality, or grade, when they were of another;




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             d. GM advertised the 8L45 and 8L90 transmissions and vehicles

                equipped with the 8L45 and 8L90 transmissions with an intent not

                to sell them as advertised;

             e. GM engaged in unconscionable commercial practices in failing to

                reveal material facts and information about the Subject

                Transmissions, which did, or tended to, mislead Michigan Plaintiff

                and the Michigan Class about facts that could not reasonably be

                known by the consumer;

             f. GM failed to reveal facts that were material to the transactions in

                light of representations of fact made in a positive manner;

             g. GM caused Michigan Plaintiff and the Michigan Class members to

                suffer a probability of confusion and a misunderstanding of legal

                rights, obligations and/or remedies by and through its conduct;

             h. GM failed to reveal material facts to Michigan Plaintiff or

                Michigan Class members with the intent that they rely upon the

                omissions;

             i. GM made material representations and statements of fact to

                Michigan Plaintiff and the Michigan Class that resulted in them

                reasonably believing the represented or suggested state of affairs to

                be other than what they actually were; and




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               j. GM intended that Michigan Plaintiff and the Michigan Class

                  members rely on GM’s misrepresentations and omissions, so that

                  Michigan Plaintiff and other Michigan Class members would

                  purchase vehicles equipped with 8L45 and 8L90 transmissions.

       228. The foregoing acts, omissions and practices proximately caused

 Michigan Plaintiff and the other members of the Michigan Class to suffer actual

 damages in the form of, inter alia, diminution in value of the vehicles equipped

 with 8L45 and 8L90 transmissions, and are entitled to recover such damages,

 together with all other appropriate damages, attorneys’ fees and costs of suit.

                                      COUNT V

                  RESTITUTION FOR UNJUST ENRICHMENT
             (By Plaintiff Francis on Behalf of All Michigan Purchasers)

       229. Michigan Plaintiff and the Michigan Class incorporate the allegations

 set forth above in paragraphs 1 through 172 as if fully set forth herein.

       230. Michigan Plaintiff and the Michigan Class seek restitution in quasi

 contract.

       231. The Subject Transmissions were defective at the time GM sold the

 Subject Vehicles to Michigan Plaintiff and the members of the Michigan Class.

 Despite knowing about the Transmission Defect, and knowing that it could not be

 fixed, GM did not disclose this information to Michigan Plaintiff and the members

 of the Michigan Class. As a result, Michigan Plaintiff and the members of the



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 Michigan Class paid GM more for their vehicles than they would otherwise have

 paid.

         232. GM knew about, accepted, and benefited from Michigan Plaintiff’s

 and the members of the Michigan Class’s purchase of these vehicles.

         233. Under the circumstances, it would be inequitable for GM to benefit

 from its sale of Subject vehicles containing defective and unfixable transmissions.

         234. To avoid injustice, Michigan Plaintiff and the members of the

 Michigan Class accordingly seek restitution and/or disgorgement of profits in an

 amount to be proven at trial.

                                      COUNT VI

                      BREACH OF EXPRESS WARRANTY
                        California Commercial Code § 2313
                  (By Plaintiff Won for All California Purchasers)

         235. Plaintiff Won (“California Plaintiff”) and the California Class re-

 allege and incorporate by reference herein all of the allegations contained in

 paragraphs 1 through 172.

         236. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under California Commercial Code § 2313 to conform the 8L45

 and 8L90 transmissions to the express warranties.

         237. When California Plaintiff and the members of the California Class

 purchased and/or leased their vehicles equipped with 8L45 or 8L90 transmissions

 (either as new vehicles or as used vehicles with remaining warranty coverage), GM


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 expressly warranted under its Warranty that it would correct any correct any

 vehicle defect found within the warranty period, and cover all towing, parts, and

 labor needed to correct the defect.

        238. The Transmission Defect at issue in this litigation was present at the

 time vehicles equipped with 8L45 or 8L90 transmissions were sold and leased to

 California Plaintiff and members of the California Class.

        239. GM breached its express warranties (and continues to breach these

 express warranties) because it did not and has not corrected the Transmission

 Defect affected vehicles equipped with 8L45 or 8L90 transmissions.

        240. Pursuant to its express warranties, GM was obligated to correct any

 defect in the 8L45 and 8L90 transmissions in the vehicles owned or leased by the

 California Plaintiff and the California Class members.

        241. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the Transmission

 Defect are adequate under the terms of the Warranty, as they did not cure the

 Defect.

        242. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.




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       243. California Plaintiff and the members of the California Class have

 performed each and every duty required of them under the terms of the warranties,

 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s conduct as described throughout this Complaint.

       244. GM received timely notice regarding the problems from Plaintiff

 when he brought his vehicle to his dealership. GM also received notice through

 complaints made by other consumers. Notwithstanding such notice, GM has failed

 and refused to offer an effective remedy.

       245. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would enforce the 5 year/60,000 mile limit would be unconscionable. GM’s

 warranties were adhesive, and did not permit negotiation, or the inclusion of

 defects. GM possessed superior knowledge of the defect in the 8L45 and 8L90

 transmissions prior to offering the vehicles equipped with these transmissions for

 sale. GM concealed and did not disclose this defect, and GM did not remedy the

 defect prior to sale (or afterward). Any effort to otherwise limit liability for the

 defect is null and void.

       246. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.


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       247. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.

       248. California Plaintiff and the California Class members have suffered

 damages caused by GM’s breach of its express warranties and are entitled to

 recover damages, including but not limited to diminution of value.

                                      COUNT VII

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     California Commercial Code § 2314
          (By Plaintiff Won on Behalf of All California Purchasers)

       249. California Plaintiff and the California Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       250. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom California Plaintiff and the

 California Class members bought or leased their vehicles, for the intended purpose

 of consumers purchasing the vehicles. GM knew that the vehicles equipped with

 8L45 and 8L90 transmissions would and did pass unchanged from the authorized

 dealers to California Plaintiff and the California Class members, with no

 modification to the transmission.




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       251. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to California Commercial Code § 2314.

       252. GM impliedly warranted that vehicles equipped with the 8L45 and

 8L90 transmissions were of good and merchantable condition and quality – fit and

 safe for their ordinary intended use, namely providing reliable transportation.

       253. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold and at all times thereafter, were not in merchantable

 condition or quality and were not fit for their ordinary intended purpose.

       254. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       255. California Plaintiff and the California Class members have been

 damaged as a direct and proximate result of GM’s breach of the implied warranty.

       256. California Plaintiff and the California Class members have performed

 each and every duty required of them under the terms of the warranties, except as

 may have been excused or prevented by the conduct of GM or by operation of law

 in light of GM’s unconscionable conduct.

       257. GM received timely notice regarding the problems at issue in this

 litigation through presentations of Plaintiff Won’s vehicle at his dealer for repair.


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 GM also received noticed of breach of warranty through the numerous additional

 complaints noted in paragraphs 1-172 above, and additional comments made in

 online forums, to the NHTSA, to dealers, or directly to GM. Notwithstanding such

 notice, GM has failed and refused to offer an effective remedy.

       258. Plaintiff Won and the California Class members have had sufficient

 dealings with either GM or its agents (authorized GM dealerships and repair

 facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because California Plaintiff and the California Class members

 are intended third-party beneficiaries of contracts between GM and its dealers;

 specifically, they are intended beneficiaries of GM’s implied warranties. The

 dealers were not intended to be the ultimate consumers of vehicles equipped with

 the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       259. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, California Plaintiff and the California Class members

 were caused to suffer economic damage, including paying a price premium for

 defective vehicles and diminution in value of the vehicles equipped with 8L45 or

 8L90 transmissions, as well as the monies spent and to be spent to repair and/or

 replace their vehicles.

                                      COUNT VIII


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               VIOLATION OF UNFAIR COMPETITION LAW
                     Cal. Bus. & Prof. Code - § 17200, et seq.
             (By Plaintiff Won on Behalf of All California Purchasers)
       260. California Plaintiff and the California Class re-allege and incorporate

 by reference herein all of the allegations contained in paragraphs 1 through 172.

       261. California Business and Professions Code § 17200, et seq. prohibits

 “any unlawful, unfair or fraudulent business act or practice.” CAL. BUS. & PROF.

 CODE § 17200. GM has engaged in unlawful, fraudulent, and unfair business acts

 and practices in violation of this Law.

       262. GM has violated the unlawful prong of § 17200 by its violations of

 the various warranty statutes, as set forth in Counts VI and VII and violation of the

 CLRA.

       263. GM has violated the fraudulent prong of § 17200 because the

 omissions regarding the defective nature of the 8L45 and 8L90 transmissions, as

 set forth in this Complaint, were likely to deceive a reasonable consumer, and the

 information would be material to a reasonable consumer. GM owed California

 Plaintiff and similarly situated Californians a duty to disclose the defective nature

 of the Subject Transmissions because GM possessed exclusive and superior

 information regarding the manufacture of the Subject Transmissions and Subject

 Vehicles, the complaints received, the testing of the products, and development of

 technical service bulletins and other information bulletins. GM could have related

 information about the defect to customers via its website, product brochures, and

 notices provided to its authorized dealers. GM’s failure to inform consumers of the
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 Transmission Defect was likely to deceive reasonable consumers. Had GM

 conveyed information about the Transmission Defect through those channels,

 California Plaintiff would have learned of the Defect and would not have made the

 purchase or paid as much as he did for his vehicle.

       264. GM also had a duty to disclose the Transmission Defect because it

 presented a safety hazard to consumers.

       265. Had California Plaintiff known about the Transmission Defect, he

 would not have made the purchase or paid as much as he did for his vehicle.

       266. GM has violated the unfair prong of § 17200 because the acts and

 practices set forth in the Complaint, including the manufacture and sale of the

 defective 8L45 and 8L90 transmissions, GM’s failure to adequately disclose and

 remedy that defect, and GM’s misrepresentations regarding the defective nature of

 the 8L45 and 8L90 transmissions offend established public policy and are

 unethical, unscrupulous, and substantially injurious to consumers, and because the

 harm these acts and practices cause to consumers greatly outweighs any benefits

 associated with those practices. GM’s conduct has also impaired competition

 within the heavy duty on-highway vehicles market and has prevented California

 Plaintiff and the California Class from making fully informed decisions about

 whether to purchase or lease vehicles equipped with 8L45 and 8L90 transmissions

 and/or the price to be paid to purchase or lease those vehicles.




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       267.      California Plaintiff has standing to pursue this claim on behalf of the

 California Class because he has suffered an injury in fact, including the loss of

 money or property, as a result of and in reliance on GM’s unfair, unlawful, and

 deceptive practices. As set forth above regarding California Plaintiff, had GM

 disclosed the defect with the 8L45 and 8L90 transmissions prior to his purchases,

 he would not have purchased vehicles equipped with an 8L45 or 8L90

 transmission or not have paid as much for his vehicle. In addition, the California

 Plaintiff has expended money related to the Transmission Defect and has suffered

 a diminution in value of his vehicle.

       268. All of the wrongful conduct alleged herein occurred, and continues to

 occur, in the conduct of GM’s business. GM’s wrongful conduct is part of a pattern

 or generalized course of conduct that is still perpetuated and repeated in the State

 of California

       269. California Plaintiff and the California Class request that this Court

 enter such orders or judgments as may be necessary to enjoin GM from continuing

 its unfair, unlawful, and/or deceptive practices and to restore to California Plaintiff

 and the California Class any money GM acquired by unfair competition, including

 restitution, as provided in California Business and Professions Code § 17203 and

 California Civil Code § 3345, and for such other relief set forth below.

                                       COUNT IX

       VIOLATION OF THE CALIFORNIA LEGAL REMEDIES ACT
                      Cal. Civ. Code - § 1750

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             (By Plaintiff Won on Behalf of All California Purchasers)

       270. California Plaintiff and the California Class re-allege and incorporate

 by reference herein all of the allegations contained in paragraphs 1 through 172.

       271. GM is a person as defined by California Civil Code § 1761(c).

       272. The Subject Vehicles are goods within the meaning of California Civil

 Code § 1761(a).

       273. California Plaintiff and the California Class are consumers within the

 meaning of California Civil Code § 1761(d), and the sale of the Subject Vehicles to

 consumers constitutes a transaction under California Civil Code § 1761(e).

       274. Through its fraudulent omissions of the Transmission Defect, GM

 violated California Civil Code § 1770(a)(7) by representing that goods are of a

 particular standard, quality, or grade that they did not have.

       275. The information regarding the Transmission Defect withheld from

 California Plaintiff and the California Class was material information that would

 impact the ordinary consumer making a transaction.

       276. GM owed California Plaintiff and similarly situated Californians a

 duty to disclose the defective nature of the Subject Transmissions because GM

 possessed exclusive and superior information regarding the manufacture of the

 Subject Transmissions and Subject Vehicles, the complaints received, the testing

 of the products, and development of technical service bulletins and other

 information bulletins. GM could have related information about the defect to

 customers via its website, product brochures, and notices provided to its authorized
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 dealers. GM’s failure to inform consumers of the Transmission Defect was likely

 to deceive reasonable consumers. Had GM conveyed information about the

 Transmission Defect through those channels, California Plaintiff would have

 learned of the Defect and would not have made the purchase or paid as much as he

 did for his vehicle.

       277. GM also had a duty to disclose the Transmission Defect because it

 presented a safety hazard to consumers.

       278. Had California Plaintiff known about the Transmission Defect, he

 would not have made the purchase or paid as much as he did for his vehicle.

       279. As a result of GM’s conduct, California Plaintiff and the California

 Class have suffered actual damages. California Plaintiff and the California Class

 purchased vehicles that they would not have, or overpaid for vehicles they

 purchased, if they had known the material information about the Transmission

 Defect.

       280. In addition, California Plaintiff and the California Class paid too

 much for their vehicles, as GM’s omissions allowed it to artificially inflate the

 value of the Subject Vehicles.

       281. California Plaintiff and the California Class seek an order requiring

 GM to disgorge all ill-gotten gains and provide full restitution of all monies it

 wrongfully obtained from California Plaintiff and the California Class through the

 scheme described herein. See California Civil Code § 1780(a).


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       282. Consistent with California Civil Code § 1782(a), Plaintiff’s, counsel

 provided a notice of claims to GM on December 19, 2018. That notice was

 delivered and signed for on December 24, 2018. The notice period has expired, and

 GM has not corrected the Defect nor provided relief to all similarly situated

 California Class members.

       283. California Plaintiff and the California Class seek an award of actual

 damages under California Civil Code § 1780(a).

       284. California Plaintiff and the California Class seek an award of

 attorneys’ fees under California Civil Code § 1780(e).

                                      COUNT X

                    BREACH OF EXPRESS WARRANTY
                           810 Ill. Comp. Stat. 5/2-313
            (By Plaintiff Speerly on Behalf of All Illinois Purchasers)


       285. Plaintiff Speerly (“Illinois Plaintiff”) and the Illinois Class incorporate

 the allegations set forth above in paragraphs 1 through 172 as if fully set forth

 herein.

       286. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under 810 Ill. Comp. Stat. 5/2-313 to conform the 8L45 and

 8L90 transmissions to the express warranties.

       287. When Illinois Plaintiff and the members of the Illinois Class

 purchased and/or leased their vehicles with 8L45 or 8L90 transmissions (either as

 new vehicles or as used vehicles with remaining warranty coverage), GM

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 expressly warranted under its Warranty that it would correct any correct any

 vehicle defect found within the warranty period, and cover all towing, parts, and

 labor needed to correct the defect.

        288. The Transmission Defect at issue in this litigation was present at the

 time vehicles equipped with 8L45 or 8L90 transmissions were sold and leased to

 Illinois Plaintiff and members of the Illinois Class.

        289. GM breached its express warranties (and continues to breach these

 express warranties) because it did not and has not corrected the defect with the

 8L45 and 8L90 transmissions.

        290. Pursuant to its express warranties, GM was obligated to correct the

 defect in the 8L45 and 8L90 transmissions in the vehicles owned or leased by the

 Illinois Plaintiff and the Illinois Class members.

        291. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the transmissions are

 adequate under the terms of either the Warranty, as they did not cure the defect.

        292. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        293. Illinois Plaintiff and the members of the Illinois Class have performed

 each and every duty required of them under the terms of the warranties, except as


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 may have been excused or prevented by the conduct of GM or by operation of law

 in light of GM’s conduct as described throughout this Complaint.

       294. GM received timely notice regarding the problems from Illinois

 Plaintiff when he brought his vehicle to his dealership. GM also received notice

 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.

       295. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would exclude or limit coverage for the defect in the 8L45 and 8L90

 transmissions would be unconscionable. GM’s warranties were adhesive, and did

 not permit negotiation, or the inclusion of defects. GM possessed superior

 knowledge of the Transmission Defect prior to offering vehicles equipped with the

 8L45 or 8L90 transmissions for sale. GM concealed and did not disclose this

 defect, and GM did not remedy the defect prior to sale (or afterward). Any effort to

 otherwise limit liability for the defect is null and void.

       296. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.




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       297. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.

       298. Illinois Plaintiff and the Illinois Class members have suffered

 damages caused by GM’s breach of its express warranties and are entitled to

 recover damages, including but not limited to diminution of value.

                                       COUNT XI

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                 801 Ill. Comp. Stat. 5/2-314 and 5/2A-212.
          (By Plaintiff Speerly on Behalf of All Illinois Purchasers)

       299. Illinois Plaintiff and the Illinois Class incorporate the allegations set

 forth above in paragraphs 1 through 172 as if fully set forth herein.

       300. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom Illinois Plaintiff and the Illinois

 Class members bought or leased their vehicles, for the intended purpose of

 consumers purchasing the vehicles. GM knew that the vehicles equipped with

 8L45 and 8L90 transmissions would and did pass unchanged from the authorized

 dealers to Illinois Plaintiff and the Illinois Class members, with no modification to

 the transmission.




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       301. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to 801 Ill. Comp. Stat. 5/2-314 and 5/2A-212.

       302. GM impliedly warranted that vehicles equipped with the 8L45 and

 8L90 transmissions were of good and merchantable condition and quality – fit and

 safe for their ordinary intended use, namely providing reliable transportation.

       303. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold and at all times thereafter, were not in merchantable

 condition or quality and were not fit for their ordinary intended purpose.

       304. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       305. Illinois Plaintiff and the Illinois Class members have been damaged as

 a direct and proximate result of GM’s breach of the implied warranty.

       306. Illinois Plaintiff and the Illinois Class members have performed each

 and every duty required of them under the terms of the warranties, except as may

 have been excused or prevented by the conduct of GM or by operation of law in

 light of GM’s unconscionable conduct.

       307. GM received timely notice regarding the problems from Illinois

 Plaintiff when he brought his vehicle to his dealership. GM also received notice


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 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.

       308. Illinois Plaintiff and the Illinois Class members have had sufficient

 dealings with either GM or its agents (authorized GM dealerships and repair

 facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because Illinois Plaintiff and the Illinois Class members are

 intended third-party beneficiaries of contracts between GM and its dealers;

 specifically, they are intended beneficiaries of GM’s implied warranties. The

 dealers were not intended to be the ultimate consumers of vehicles equipped with

 the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       309. As a direct and proximate result of GM’s breach of warranties, Illinois

 Plaintiff and the Illinois Class members were caused to suffer economic damage,

 including paying a price premium for defective vehicles and diminution in value of

 the vehicles equipped with 8L45 or 8L90 transmissions, as well as the monies

 spent and to be spent to repair and/or replace their vehicles.

                                      COUNT XII

      VIOLATION OF ILLINOIS CONSUMER FRAUD AND UNIFORM
                DECEPTIVE TRADE PRACTICES ACTS,
                    815 ILCS 505/2 and 815 ILCS 510/2.
          (By Plaintiff Speerly on Behalf of All Illinois Purchasers)



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       310. Illinois Plaintiff and the Illinois Class incorporate the allegations set

 forth above in paragraphs 1 through 172 as if fully set forth herein.

       311. The Illinois Plaintiff and the Illinois Class members are consumers

 under the Illinois Consumer Fraud and Uniform Deceptive Trade Practices Act and

 Defendant is a “person” within the meaning of 815 Ill. Comp. Stat. 510/1(5).

       312. GM engaged, and continues to engage, in the wrongful conduct

 alleged herein in the course of trade and commerce, as defined in 815 ILCS 505/2

 and 815 ILCS 510/2.

       313. 815 ILCS 505/2 (Illinois Consumer Fraud Act) prohibits “[u]nfair

 methods of competition and unfair or deceptive acts or practices, including but not

 limited to the use or employment of any deception, fraud, false pretense, false

 promise, misrepresentation or the concealment, suppression or omission of any

 material fact, with intent that others rely upon the concealment, suppression or

 omission of such material fact, or the use or employment of any practice described

 in Section 2 of the “Uniform Deceptive Trade Practices Act,” approved August 5,

 1965, in the conduct of any trade or commerce are hereby declared unlawful

 whether any person has in fact been misled, deceived or damaged thereby. In

 construing this section consideration shall be given to the interpretations of the

 Federal Trade Commission and the federal courts relating to Section 5(a) of the

 Federal Trade Commission Act.”




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       314. 815 ILCS 510/2 provides that a “person engages in a deceptive trade

 practice when, in the course of his or her business, vocation, or occupation,” the

 person does any of the following: “(2) causes likelihood of confusion or of

 misunderstanding as to the source, sponsorship, approval, or certification of goods

 or services; … (5) represents that goods or services have sponsorship, approval,

 characteristics, ingredients, uses, benefits, or quantities that they do not have...; (7)

 represents that goods or services are of a particular standard, quality, or grade… if

 they are not; … [and] (12) engages in any other conduct which similarly creates a

 likelihood of confusion or misunderstanding.”

       315. GM represented that goods or services have sponsorship, approval,

 characteristics, uses, and benefits that they do not have.

       316. GM provided, disseminated, marketed, and otherwise distributed

 uniform false and misleading advertisements, technical data and other information

 to consumers regarding the performance, reliability, quality and nature of the 8L45

 and 8L90 transmissions.

       317. GM represented that goods or services were of a particular standard,

 quality, or grade, when they were of another.

       318. GM engaged in unconscionable commercial practices in failing to

 reveal material facts and information about the 8L45 and 8L90 transmissions,

 which did, or tended to, mislead Illinois Plaintiff and the Illinois Class about facts

 that could not reasonably be known by the consumer.


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       319. GM failed to reveal facts that were material to the transactions in light

 of representations of fact made in a positive manner.

       320. GM caused Illinois Plaintiff and the Illinois Class to suffer a

 probability of confusion and a misunderstanding of legal rights, obligations, and/or

 remedies by and through its conduct.

       321. GM deliberately withheld material facts to Illinois Plaintiff and the

 Illinois Class with the intent that Illinois Plaintiff and the Illinois Class members

 rely upon the omission.

       322. GM made material representations and statements of fact to Illinois

 Plaintiff and the Illinois Class members that resulted in Illinois Plaintiff and the

 Illinois Class reasonably believing the represented or suggested state of affairs to

 be other than what they actually were.

       323. GM intended that Illinois Plaintiff and the other members of the

 Illinois Class members rely on their misrepresentations and omissions, so that

 Illinois Plaintiff and other Illinois Class members would purchase vehicles

 equipped with 8L45 or 8L90 transmissions.

       324. Had GM disclosed the omitted material, Illinois Plaintiff and other

 members of the Illinois Class would not have purchased or leased vehicles

 equipped with 8L45 or 8L90 transmissions or would have paid less for them.

       325. The foregoing acts, omissions and practices proximately caused

 Illinois Plaintiff and the other members of the Illinois Class to suffer actual


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 damages in the form of, inter alia, diminution in value of the vehicles equipped

 with 8L45 or 8L90 transmissions.

       326. GM’s conduct was knowing and intentional and with malice and

 demonstrated a complete lack of care and recklessness and was in conscious

 disregard for the rights of Illinois Plaintiff and the Illinois Class Members.

       327. As a result of this wrongful conduct, Illinois Plaintiff and the Illinois

 Class have been damaged in an amount to be proven at trial, including, but not

 limited to, actual damages, punitive damages, equitable relief, diminution of value,

 and reasonable attorneys’ fees.

       328. GM’s conduct as aforesaid was unfair as offensive to public policy,

 unscrupulous, unethical and immoral, and caused substantial injury to consumers.

       329. As a direct and proximate result of GM’s deceptive, misleading,

 unfair, or unconscionable practices, as set forth above, Illinois Plaintiff and the

 other Illinois Class members sustained substantial and ascertainable damages in an

 amount to be determined at trial, including interest on all liquidated sums.

                                     COUNT XIII

                     BREACH OF EXPRESS WARRANTY
                               N.J. Stat. §12A:2-313
          (By Plaintiff Sierchio on Behalf of All New Jersey Purchasers)

       330. Plaintiff Sierchio (“New Jersey Plaintiff”) and the New Jersey Class

 incorporate the allegations set forth above in paragraphs 1 through 172 as if fully

 set forth herein.


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       331. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under N.J. Stat. §12A:2-313 to conform the 8L45 and 8L90

 transmissions to the express warranties.

       332. When New Jersey Plaintiff and the members of the New Jersey Class

 purchased and/or leased their vehicles with 8L45 or 8L90 transmissions (either as

 new vehicles or as used vehicles with remaining warranty coverage), GM

 expressly warranted under its Warranty that it would correct any correct any

 vehicle defect found within the warranty period, and cover all towing, parts, and

 labor needed to correct the defect.

       333. The defect at issue in this litigation was present at the time vehicles

 equipped with 8L45 or 8L90 transmissions were sold and leased to New Jersey

 Plaintiff and members of the New Jersey Class.

       334. GM breached its express warranties (and continues to breach these

 express warranties) because it did not (and has not) corrected the defect with the

 8L45 and 8L90 transmissions.

       335. Pursuant to its express warranties, GM was obligated to correct the

 defect in the 8L45 and 8L90 transmissions in the vehicles owned or leased by the

 New Jersey Plaintiff and the New Jersey Class members.

       336. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the transmissions are




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 adequate under the terms of the Warranty, as the attempted fixes did not cure the

 defect.

        337. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        338. New Jersey Plaintiff and the members of the New Jersey Class have

 performed each and every duty required of them under the terms of the warranties,

 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s conduct as described throughout this Complaint.

        339. GM received timely notice regarding the problems from New Jersey

 Plaintiff when he brought his vehicle to his dealership. GM also received notice

 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.

        340. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would exclude or limit coverage for the defect in the 8L45 and 8L90

 transmissions would be unconscionable. GM’s warranties were adhesive, and did

 not permit negotiation, or the inclusion of defects. GM possessed superior

 knowledge of the Transmission Defect prior to offering the Subject Vehicles for

 sale. GM concealed and did not disclose this defect, and GM did not remedy the


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 defect prior to sale (or afterward). Any effort to otherwise limit liability for the

 defect is null and void.

       341. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.

       342. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.

       343. New Jersey Plaintiff and the New Jersey Class members have suffered

 damages caused by GM’s breach of its express warranties and are entitled to

 recover damages, including but not limited to diminution of value.

                                      COUNT XIV

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              N.J. Stat. §12A:2-314
         (By Plaintiff Sierchio on Behalf of All New Jersey Purchasers)

       344. New Jersey Plaintiff and the New Jersey Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       345. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom New Jersey Plaintiff and the

 New Jersey Class members bought or leased their vehicles, for the intended
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 purpose of consumers purchasing the vehicles. GM knew that the vehicles

 equipped with 8L45 and 8L90 transmissions would and did pass unchanged from

 the authorized dealers to New Jersey Plaintiff and the New Jersey Class members,

 with no modification to the transmission.

       346. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to N.J. Stat. §12A:2-314.

       347. GM impliedly warranted that vehicles equipped with the 8L45 and

 8L90 transmissions were of good and merchantable condition and quality—fit and

 safe for their ordinary intended use, namely providing reliable transportation.

       348. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold and at all times thereafter, were not in merchantable

 condition or quality and were not fit for their ordinary intended purpose.

       349. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       350. New Jersey Plaintiff and the New Jersey Class members have been

 damaged as a direct and proximate result of GM’s breach of the implied warranty.

       351. New Jersey Plaintiff and the New Jersey Class members have

 performed each and every duty required of them under the terms of the warranties,


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 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s unconscionable conduct.

       352. GM received timely notice regarding the problems from New Jersey

 Plaintiff when he brought his vehicle to his dealership. GM also received notice

 through complaints made by other consumers. Notwithstanding such notice, GM

 has failed and refused to offer an effective remedy.

       353. New Jersey Plaintiff and the New Jersey Class members have had

 sufficient dealings with either GM or its agents (authorized GM dealerships and

 repair facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because New Jersey Plaintiff and the New Jersey Class

 members are intended third-party beneficiaries of contracts between GM and its

 dealers; specifically, they are intended beneficiaries of GM’s implied warranties.

 The dealers were not intended to be the ultimate consumers of vehicles equipped

 with the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       354. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, New Jersey Plaintiff and the New Jersey Class

 members were caused to suffer economic damage, including paying a price

 premium for defective vehicles and diminution in value of the vehicles equipped




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 with 8L45 or 8L90 transmissions, as well as the monies spent and to be spent to

 repair and/or replace their vehicles.

                                     COUNT XV
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
                                  DEALING
        (By Plaintiff Sierchio on Behalf of All New Jersey Purchasers)

       355. New Jersey Plaintiff and the New Jersey Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       356. New Jersey Plaintiff and the New Jersey Class entered into

 agreements to purchase vehicles equipped with 8L45 or 8L90 transmissions, or

 otherwise were in contractual privity with GM as a result of the express warranties

 described herein.

       357. The contracts and warranties were subject to the implied covenant that

 GM would conduct business with New Jersey Plaintiff and the Class in good faith

 and would deal fairly with them.

       358. GM breached those implied covenants by selling New Jersey Plaintiff

 and members of the New Jersey Class vehicles equipped with defective

 transmissions, when it knew, or should have known, that the contracts and/or

 warranties were unconscionable and by abusing its discretion in the performance of

 the contract or by intentionally subjecting New Jersey Plaintiff and the members of

 the New Jersey Class to a risk beyond that which they would have contemplated at

 the time of purchase as well as by failing to provide for proper parts and service of

 the Subject Vehicles it sold.
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       359. GM also breached the implied covenants by not placing terms in the

 contracts and/or warranties that conspicuously stated to New Jersey Plaintiff and

 the Class that the 8L45 and 8L90 transmissions were defective as described herein.

       360. As a direct and proximate result of GM’s breach of its implied

 covenants, New Jersey Plaintiff and the New Jersey Class have been damaged in

 an amount to be determined at trial.

                                     COUNT XVI

         VIOLATIONS OF NEW JERSEY CONSUMER FRAUD ACT
                             N.J. Stat. § 56:8-1, et seq.
          (By Plaintiff Sierchio on Behalf of All New Jersey Purchasers)

       361. New Jersey Plaintiff and the New Jersey Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       362. GM’s business acts and practices alleged herein constitute unfair,

 unconscionable and/or deceptive methods, acts or practices under the New Jersey

 Consumer Fraud Act, N.J. Stat. § 56:8-1, et seq. (“NJCFA”).

       363. Plaintiff Sierchio and GM are “persons” within the meaning of the

 NJCFA.

       364. Plaintiff Sierchio and the members of the New Jersey Class are

 “consumers” within the meaning of the NJCFA.

       365. At all relevant times material hereto, GM conducted trade and

 commerce in New Jersey and elsewhere within the meaning of the NJCFA.




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       366. The NJCFA is, by its terms, a cumulative remedy, such that remedies

 under its provisions can be awarded in addition to those provided under separate

 statutory schemes.

       367. The practices of GM, described above, violate the NJCFA for, inter

 alia, one or more of the following reasons:

              a. GM represented that goods or services have sponsorship, approval,

                 characteristics, uses, and benefits that they do not have;

              b. GM provided, disseminated, marketed, and otherwise distributed

                 uniform false and misleading advertisements, technical data and

                 other information to consumers regarding the performance,

                 reliability, quality and nature of the 8L45 or 8L90 transmissions

                 and vehicles equipped with 8L45 or 8L90 transmissions;

              c. GM represented that goods or services were of a particular

                 standard, quality, or grade, when they were of another;

              d. GM engaged in unconscionable commercial practices in failing to

                 reveal material facts and information about the 8L45 or 8L90

                 transmissions and vehicles equipped with 8L45 or 8L90

                 transmissions, which did, or tended to, mislead New Jersey

                 Plaintiff and the New Jersey Class about facts that could not

                 reasonably be known by the consumer;




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             e. GM failed to reveal facts that were material to the transactions in

                 light of representations of fact made in a positive manner;

             f. GM caused New Jersey Plaintiff and the New Jersey Class to

                 suffer a probability of confusion and a misunderstanding of legal

                 rights, obligations, and/or remedies by and through its conduct;

             g. GM deliberately withheld material facts to New Jersey Plaintiff

                 and the New Jersey Class with the intent that New Jersey Plaintiff

                 and the New Jersey Class members rely upon the omission;

             h. GM intended that New Jersey Plaintiff and the other members of

                 the New Jersey Class members rely on their misrepresentations

                 and omissions, so that New Jersey Plaintiff and other New Jersey

                 Class members would purchase vehicles equipped with 8L45 or

                 8L90 transmissions.

       368. Had GM disclosed the omitted material, New Jersey Plaintiff and

 other members of the New Jersey would not have purchased or leased vehicles

 equipped with 8L45 or 8L90 transmissions or would have paid less for them.

       369. The foregoing acts, omissions and practices proximately caused New

 Jersey Plaintiff and the other members of the New Jersey Class to suffer actual

 damages in the form of, inter alia, the payment of a price premium for the vehicles,

 diminution in value of the vehicles equipped with 8L45 and 8L90 transmissions,

 and are entitled to recover such damages, including treble damages under § 56:8-


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 19, New Jersey Statutes, together with all other appropriate damages, attorneys’

 fees and costs of suit.

                                       COUNT XVII
                     BREACH OF EXPRESS WARRANTY
                                N.Y. UCC § 2-313
    (By Plaintiffs Plafker and Young on Behalf of All New York Purchasers)

       370. Plaintiff Plafker and Plaintiff Young (“New York Plaintiffs”) and the

 New York Class incorporate the allegations set forth above in paragraphs 1

 through 172 as if fully set forth herein.

       371. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under N.Y. UCC § 2-313 to conform the 8L45 and 8L90

 transmissions to the express warranties.

       372. When New York Plaintiffs and the members of the New York Class

 purchased and/or leased their vehicles with 8L45 and 8L90 transmissions (either as

 new vehicles or as used vehicles with remaining warranty coverage), GM

 expressly warranted under its Warranty that it would correct any correct any

 vehicle defect found within the warranty period, and cover all towing, parts, and

 labor needed to correct the defect.

       373. The defect at issue in this litigation was present at the time vehicles

 equipped with 8L45 or 8L90 transmissions were sold and leased to New York

 Plaintiffs and members of the New York Class.




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        374. GM breached its express warranties (and continues to breach these

 express warranties) because it did not (and has not) corrected the defect with the

 8L45 and 8L90 transmissions.

        375. Pursuant to its express warranties, GM was obligated to correct any

 defect in the 8L45 and 8L90 transmissions in the vehicles owned or leased by New

 York Plaintiffs and the New York Class members.

        376. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the transmissions are

 adequate under the terms of the Warranty, as they did not cure the defect.

        377. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        378. New York Plaintiffs and the members of the New York Class have

 performed each and every duty required of them under the terms of the warranties,

 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s conduct as described throughout this Complaint.

        379. GM received timely notice regarding the problems from New York

 Plaintiffs when they brought their vehicles to authorized dealerships. GM also

 received notice through complaints made by other consumers. Notwithstanding

 such notice, GM has failed and refused to offer an effective remedy.


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       380. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would exclude or limit coverage for the defect in the 8L45 and 8L90

 transmissions would be unconscionable. GM’s warranties were adhesive, and did

 not permit negotiation, or the inclusion of defects. GM possessed superior

 knowledge of the defect in its transmissions prior to offering vehicles equipped

 with the 8L45 or 8L90 transmissions for sale. GM concealed and did not disclose

 this defect, and GM did not remedy the defect prior to sale (or afterward). Any

 effort to otherwise limit liability for the defect is null and void.

       381. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.

       382. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.

       383. New York Plaintiffs and the New York Class members have suffered

 damages caused by GM’s breach of its express warranties and are entitled to

 recover damages, including but not limited to diminution of value.

                                     COUNT XVIII
       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               N.Y. UCC § 2-314.
         (By Plaintiff Plafker on Behalf of All New York Purchasers)
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       384. New York Plaintiffs and the New York Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       385. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom New York Plaintiffs and the

 New York Class members bought or leased their vehicles, for the intended purpose

 of consumers purchasing the vehicles. GM knew that the vehicles equipped with

 8L45 and 8L90 transmissions would and did pass unchanged from the authorized

 dealers to New York Plaintiffs and the New York Class members, with no

 modification to the transmission.

       386. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to N.Y. UCC § 2-314.

       387. GM impliedly warranted that vehicles equipped with the 8L45 and

 8L90 transmissions were of good and merchantable condition and quality – fit and

 safe for their ordinary intended use, namely providing reliable transportation.

       388. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold or leased and at all times thereafter, were not in

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 merchantable condition or quality and were not fit for their ordinary intended

 purpose.

       389. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       390. New York Plaintiffs and the New York Class members have been

 damaged as a direct and proximate result of GM’s breach of the implied warranty.

       391. New York Plaintiffs and the New York Class members have

 performed each and every duty required of them under the terms of the warranties,

 except as may have been excused or prevented by the conduct of GM or by

 operation of law in light of GM’s unconscionable conduct.

       392. GM received timely notice regarding the problems from New York

 Plaintiffs when they brought their vehicles to their authorized dealerships. GM also

 received notice through complaints made by other consumers. Notwithstanding

 such notice, GM has failed and refused to offer an effective remedy.

       393. New York Plaintiffs and the New York Class members have had

 sufficient dealings with either GM or its agents (authorized GM dealerships and

 repair facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because New York Plaintiffs and the New York Class

 members are intended third-party beneficiaries of contracts between GM and its

 dealers; specifically, they are intended beneficiaries of GM’s implied warranties.

 The dealers were not intended to be the ultimate consumers of vehicles equipped


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 with the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       394. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, New York Plaintiffs and the New York Class

 members were caused to suffer economic damage, including paying a price

 premium for defective vehicles and diminution in value of the vehicles equipped

 with 8L45 or 8L90 transmissions, as well as the monies spent and to be spent to

 repair and/or replace their vehicles.

                                     COUNT XIX

                  VIOLATION OF NY GENERAL BUS. LAW
                         N.Y. Gen. Bus. Law § 349, et seq.
           (By Plaintiff Plafker on Behalf of All New York Purchasers)

       395. New York Plaintiffs and the New York Class incorporate the

 allegations set forth above in paragraphs 1 through 172 as if fully set forth herein.

       396. GM’s business acts and practices alleged herein constitute deceptive

 acts or practices under the New York General Business Law, Deceptive Acts and

 Practices, N.Y. Gen. Bus. Law § 349, et seq. (“NYGBL”).

       397. The practices of GM, described throughout this Complaint, violate the

 NYGBL for, inter alia, one or more of the following reasons:

              a. GM engaged in deceptive, unfair and unconscionable commercial

                 practices in failing to reveal material facts and information about

                 the 8L45 and 8L90 transmissions, which did, or tended to, mislead
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                 New York Plaintiffs and the New York Class about facts that could

                 not reasonably be known by the consumers;

              b. GM failed to reveal facts that were material to the transactions in

                 light of representations of fact made in a positive manner;

              c. GM failed to reveal material facts to New York Plaintiffs and the

                 New York Class with the intent that New York Plaintiffs and the

                 New York Class members rely upon the omission;

              d. GM intended that New York Plaintiffs and the other members of

                 the New York Class rely on its omissions, so that New York

                 Plaintiffs and other New York Class members would purchase or

                 lease vehicles equipped with 8L45 or 8L90 transmissions; and

              e. Under all of the circumstances, GM’s conduct in employing these

                 unfair and deceptive trade practices was malicious, willful,

                 wanton, and outrageous such as to shock the conscience of the

                 community and warrant punitive damages.

       398. GM’s actions impact the public interest because New York Plaintiffs

 and members of the New York Class were injured in exactly the same way as

 thousands of others purchasing and/or leasing vehicles equipped with 8L45 or

 8L90 transmissions as a result of and pursuant to GM’s generalized course of

 deception.




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       399. Had New York Plaintiffs and other members of the New York Class

 known of the defective nature of the 8L45 and 8L90 transmissions, they would not

 have purchased or leased vehicles equipped with these transmissions or would

 have paid less for them.

       400. The foregoing acts, omissions and practices proximately caused New

 York Plaintiffs and the other members of the New York Class to suffer actual

 damages in the form of, inter alia, paying a price premium for defective vehicles,

 diminution in value of the vehicles equipped with 8L45 or 8L90 transmissions, and

 are entitled to recover such damages, together with all other appropriate damages,

 attorneys’ fees and costs of suit.

                                      COUNT XX

                    BREACH OF EXPRESS WARRANTY
                        Tex. Bus. & Com. Code § 2.313
        (Brought by Plaintiff Degrand on Behalf of All Texas Purchasers)

       401. Plaintiff Degrand (“Texas Plaintiff”) and the Texas Class incorporate

 the allegations set forth above in paragraphs 1 through 172 as if fully set forth

 herein.

       402. As an express warrantor and manufacturer and merchant, GM had

 certain obligations under Texas Bus. Comm. Code § 2.313 to conform the 8L45

 and 8L90 transmissions to the express warranties.

       403. When Texas Plaintiff and the members of the Texas Class purchased

 and/or leased their vehicles with 8L45 or 8L90 transmissions (either as new

 vehicles or as used vehicles with remaining warranty coverage), GM expressly
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 warranted under its Warranty that it would correct any correct any vehicle defect

 found within the warranty period, and cover all towing, parts, and labor needed to

 correct the defect.

        404. The defect at issue in this litigation was present at the time vehicles

 equipped with 8L45 or 8L90 transmissions were sold and leased to Texas Plaintiff

 and members of the Texas Class.

        405. GM breached its express warranties (and continues to breach these

 express warranties) because it did not and has not corrected the defect with the

 8L45 and 8L90 transmissions.

        406. Pursuant to its express warranties, GM was obligated to correct any

 defect in the 8L45 or 8L90 transmissions in the vehicles owned or leased by Texas

 Plaintiff and the Texas Class members.

        407. Although GM was obligated to correct the defect with the 8L45 and

 8L90 transmissions, none of the purported, attempted fixes to the transmissions are

 adequate under the terms of the Warranty, as they did not cure the defect.

        408. GM and its agent dealers have failed and refused to conform the 8L45

 and 8L90 transmissions to the express warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        409. Texas Plaintiff and the members of the Texas Class have performed

 each and every duty required of them under the terms of the warranties, except as


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 may have been excused or prevented by the conduct of GM or by operation of law

 in light of GM’s conduct as described throughout this Complaint.

       410. GM received timely notice regarding the problems from Texas

 Plaintiff when he brought his vehicle to his GM dealership. GM also received

 notice through complaints made by other consumers. Notwithstanding such notice,

 GM has failed and refused to offer an effective remedy.

       411. In its capacity as a supplier and/or warrantor, and by the conduct

 described herein, any attempt by GM to limit its express warranties in a manner

 that would enforce the 5-year/60,000 mile limit would be unconscionable. GM’s

 warranties were adhesive, and did not permit negotiation, or the inclusion of

 defects. GM possessed superior knowledge of the defect in the 8L45 and 8L90

 transmissions prior to offering the vehicles equipped with these transmissions for

 sale. GM concealed and did not disclose this defect, and GM did not remedy the

 defect prior to sale (or afterward). Any effort to otherwise limit liability for the

 defect is null and void.

       412. Because GM, through its conduct and exemplified by the TSBs and

 other bulletins, has covered repairs of the Transmission Defect as if appropriately

 covered under the Warranty, GM cannot now deny that the Warranty covers the

 Transmission Defect.




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       413. Further, because GM has not been able remedy the Transmission

 Defect, any limitation on remedies included in the Warranty causes the Warranty

 to fail its essential purpose and is null and void.

       414. Texas Plaintiff and the Texas Class members have suffered damages

 caused by GM’s breach of its express warranties and are entitled to recover

 damages, including but not limited to a price premium paid on the defective

 vehicles, and diminution of value.

                                      COUNT XXI

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                        Tex. Bus. & Com. Code § 2.314
        (Brought by Plaintiff Degrand on Behalf of All Texas Purchasers)

       415. Texas Plaintiff and the Texas Class incorporate the allegations set

 forth above in paragraphs 1 through 172 as if fully set forth herein.

       416. GM is and was at all relevant times a merchant with respect to

 vehicles equipped with the 8L45 and 8L90 transmissions. GM directly sold and

 marketed vehicles equipped with the 8L45 and 8L90 transmissions to customers

 through authorized dealers, like those from whom Texas Plaintiff and the Texas

 Class members bought or leased their vehicles, for the intended purpose of

 consumers purchasing the vehicles. GM knew that the vehicles equipped with

 8L45 and 8L90 transmissions would and did pass unchanged from the authorized

 dealers to Texas Plaintiff and the Texas Class members, with no modification to

 the transmission.


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       417. A warranty that vehicles equipped with the 8L45 and 8L90

 transmissions were in merchantable quality and condition is implied by law

 pursuant to Texas Bus. & Com. Code § 2.314.

       418. GM impliedly warranted that vehicles equipped with 8L45 or 8L90

 transmissions were of good and merchantable condition and quality – fit and safe

 for their ordinary intended use, namely providing reliable transportation.

       419. Vehicles equipped with the 8L45 and 8L90 transmissions were

 defective at the time they left the possession of GM. GM knew of this defect at the

 time these transactions occurred. Thus, vehicles equipped with the 8L45 and 8L90

 transmissions, when sold and at all times thereafter, were not in merchantable

 condition or quality and were not fit for their ordinary intended purpose.

       420. By virtue of the conduct described herein and throughout this

 Complaint, GM breached the implied warranty of merchantability.

       421. Texas Plaintiff and the Texas Class members have been damaged as a

 direct and proximate result of GM’s breach of the implied warranty.

       422. Texas Plaintiff and the Texas Class members have performed each

 and every duty required of them under the terms of the warranties, except as may

 have been excused or prevented by the conduct of GM or by operation of law in

 light of GM’s unconscionable conduct.

       423. GM received timely notice regarding the problems from Texas

 Plaintiff when he brought his vehicle to his GM dealership. GM also received


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 notice through complaints made by other consumers. Notwithstanding such notice,

 GM has failed and refused to offer an effective remedy.

       424. Texas Plaintiff and the Texas Class members have had sufficient

 dealings with either GM or its agents (authorized GM dealerships and repair

 facilities) to establish privity of contract. Notwithstanding this, privity is not

 required in this case because Texas Plaintiff and the Texas Class members are

 intended third-party beneficiaries of contracts between GM and its dealers;

 specifically, they are intended beneficiaries of GM’s implied warranties. The

 dealers were not intended to be the ultimate consumers of vehicles equipped with

 the 8L45 and 8L90 transmissions and have no rights under the warranty

 agreements provided with Subject Vehicles. The warranty agreements were

 designed for and intended to benefit the ultimate consumers only.

       425. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, Texas Plaintiff and the Texas Class members were

 caused to suffer economic damage, including paying a price premium for defective

 vehicles and diminution in value of the vehicles equipped with 8L45 or 8L90

 transmissions, as well as the monies spent and to be spent to repair and/or replace

 their vehicles.

                                     COUNT XXII

              TEXAS DECEPTIVE TRADE PRACTICES ACT
                     Tex. Bus. & Com. Code § 17.41 et seq.
        (Brought by Plaintiff Degrand on Behalf of All Texas Purchasers)


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       426. Texas Plaintiff and the Texas Class incorporate the allegations set

 forth above in paragraphs 1 through 172 as if fully set forth herein.

       427. GM’s business acts and practices alleged herein constitute unfair,

 unconscionable and/or deceptive methods, acts or practices under the Texas

 Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41 et seq.

 (“TDTPA”).

       428. At all relevant times, Texas Plaintiff and all members of the Texas

 Class were “consumers” within the meaning of the TDTPA.

       429. GM’s conduct, as set forth herein, occurred in the conduct of “trade or

 commerce” within the meaning of the TDTPA.

       430. The practices of GM, described above, violate the TDTPA for, inter

 alia, one or more of the following reasons: GM breached express and implied

 warranties to Texas Plaintiff and the Class, as set forth herein, and is therefore

 liable to Texas Plaintiff and the Texas Class for damages under the TDTPA. GM’s

 actions also constitute an unconscionable action or course of conduct under the

 TDTPA.

       431. GM’s actions impact the public interest because Texas Plaintiff and

 members of the Texas Class were injured in exactly the same way as thousands of

 others purchasing and/or leasing the vehicles with 8L45 or 8L90 transmissions as a

 result of and pursuant to GM’s generalized course of deception.




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         432. Had Texas Plaintiff and other members of the Texas Class known of

 the defective nature of the 8L45 and 8L90 transmissions, they would not have

 purchased or leased vehicles equipped with the Engines or would have paid less for

 them.

         433. The foregoing practices proximately caused Texas Plaintiff and the

 other members of the Texas Class to suffer actual damages in the form of, inter

 alia, diminution in value of the vehicles equipped with 8L45 or 8L90

 transmissions, and are entitled to recover such damages, together with all other

 appropriate damages, attorneys’ fees and costs of suit.

         WHEREFORE, Plaintiffs request judgment against the Defendant for

 themselves and the members of the class as follows:

               A.    Certification of the requested Classes pursuant to Fed. R. Civ.

 P. 23(b)(2) and 23(b)(3);

               B.    Restitution of all charges paid by Plaintiffs and the Class;

               C.    Disgorgement to Plaintiffs and the Class of all monies

 wrongfully obtained and retained by Defendant;

               D.    Compensatory and actual damages in an amount according to

 proof at trial;

               E.    Statutory damages, penalties, treble damages, as provided by

 law;

               F.    Prejudgment interest commencing on the date of payment of the


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 charges and continuing through the date of entry of judgment in this action;

              G.    Costs and fees incurred in connection with this action,

 including attorney’s fees, expert witness fees, and other costs as provided by law;

              H.    Equitable Relief;

              I.    Punitive Damages; and

              J.    Granting such other relief as the Court deems proper.

                                 Respectfully submitted,

                                 By: /s/ Michael L. Pitt
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                                 Beth M. Rivers (P33614)
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                              Attorneys for Plaintiffs
 Dated: April 10, 2019




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  RICHARD FRANCIS, WESLEY
  WON, DENNIS SPEERLY, JOSEPH                           CLASS ACTION
  SIERCHIO, MICHAEL PLAFKER,
  HOWARD YOUNG, and DARRIN                              CASE NO.
  DEGRAND, individually and on
  behalf of others similarly situated,

        Plaintiffs,

              v.

  GENERAL MOTORS, LLC,

        Defendant.

 ______________________________________________________________/

                              JURY TRIAL DEMAND

       Plaintiffs hereby request a jury trial for all issues so triable.

                                   Respectfully submitted,

                                   By: /s/ Michael L. Pitt
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 Dated: April 10, 2019




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